                                       Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 1 of 33 Page ID
                                                                        #:2716

                                                                                            EXHIBIT A
Primary Artist   Song                           Involved Defendants                                                                             Basis of Infringement
Daddy Yankee     Te Ves Bien                    GPC, and Daddy Yankee                                                                           Sample that copies composition and copied composition
Daddy Yankee     Camuflash                      GPC, and Daddy Yankee                                                                           Sample that copies composition and copied composition
Daddy Yankee     Latigazo                       El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Cuentame                       El Cartel, GPC, Daddy Yankee, Luny Tunes                                                        Sample that copies composition and copied composition
Daddy Yankee     Dale Caliente                  El Cartel, GPC, Daddy Yankee, and DJ Urba                                                       Sample that copies composition and copied composition
Daddy Yankee     El Empuje                      El Cartel, GPC, Daddy Yankee, and DJ Urba                                                       Sample that copies composition and copied composition
Daddy Yankee     Dos Mujeres                    El Cartel, GPC, Daddy Yankee, and Luny Tunes                                                    Sample that copies composition and copied composition
Daddy Yankee     King Daddy                     El Cartel, GPC, Daddy Yankee, and Luny Tunes                                                    Sample that copies composition and copied composition
Daddy Yankee     No Me Dejes Solo               El Cartel, GPC, Daddy Yankee, Wisin, Yandel, and DJ Urba                                        Sample that copies composition and copied composition
Daddy Yankee     Que Vas Hacer                  El Cartel, GPC, Daddy Yankee and DJ Urba                                                        Sample that copies composition and copied composition
Daddy Yankee     Machete                        El Cartel, GPC, Daddy Yankee and DJ Urba                                                        Sample that copies composition and copied composition
Daddy Yankee     Rompe                          El Cartel, GPC, Daddy Yankee and DJ Urba                                                        Sample that copies composition and copied composition
Daddy Yankee     Gangsta Zone                   El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Desafio                        El Cartel, GPC, Daddy Yankee, Luny, and Tunes                                                   Sample that copies composition and copied composition
Daddy Yankee     Llegamos a la Disco            El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Guaya                          El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Perros Salvajes                El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     After Party                    El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Le Rompe Carros                El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Po Encima                      El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Quiero Decirte                 El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Nada Ha Cambiado               El Cartel, GPC, and Daddy Yankee                                                                Sample that copies composition and copied composition
Daddy Yankee     Alerta Roja                    El Cartel, GPC, Daddy Yankee, Chris Jeday, and Gaby Music                                       Sample that copies composition and copied composition

Daddy Yankee     Adictiva                       UMG, UMP, El Cartel, Warner, Kobalt, GPC, Daddy Yankee, Chris Jeday, Gaby Music, and Anuel AA   Copied Composition
Daddy Yankee     Con Calma                      UMG, El Cartel, GPC, Warner, Daddy Yankee, Play, and Skillz                                     Copied Composition
Daddy Yankee     Definitivamente                UMG, UMP, El Cartel, GPC, SONY, Daddy Yankee, Sech, and Luny                                    Copied Composition
Daddy Yankee     Don Don                        UMG, UMP, Warner, El Cartel, GPC, Sony, Daddy Yankee, and Anuel AA                              Copied Composition
Daddy Yankee     Dura                           UMG, Kobalt, El Cartel, GPC, Daddy Yankee, Warner, DJ Urba and Gaby Music                       Copied Composition
Daddy Yankee     El Pony                        El Cartel, GPC, Daddy Yankee, UMG, Warner, Chris Jeday, and Gaby Music.                         Copied Composition
Daddy Yankee     Gasolina                       El Cartel, GPC, Daddy Yankee, UMG, SONY, Luny, and Tunes                                        Copied Composition
Daddy Yankee     Hula Hoop                      El Cartel, GPC, Daddy Yankee, UMG, Kobalt, Sony, SONY, DJ Urba                                  Copied Composition
Daddy Yankee     La Rompe Corazones             El Cartel, GPC, Daddy Yankee, UMG, SONY, Warner, Ozuna, Chris Jeday, and Gaby Music             Copied Composition
Daddy Yankee     Lo Que Paso                    El Cartel, GPC, Daddy Yankee, UMG, Sony, SONY, Luny, and Tunes.                                 Copied Composition
Daddy Yankee     Metele Al Perreo               El Cartel, GPC, Daddy Yankee, UMG, SONY, Luny, and Tunes.                                       Copied Composition
Daddy Yankee     Muevelo                        El Cartel, GPC, Daddy Yankee, UMG, Warner, Sony, Kobalt, Nicky Jam, Play-n-Skillz, and SONY     Copied Composition
Daddy Yankee     Problema                       El Cartel, GPC, Daddy Yankee, UMG, UMP, SONY, and Sony                                          Copied Composition
Daddy Yankee     Que Tire Pa' 'Lante            El Cartel, GPC, Daddy Yankee, UMG, SONY, Warner, Kobalt, DJ Urba                                Copied Composition
Daddy Yankee     Shaky Shaky                    El Cartel, GPC, SONY, Daddy Yankee, UMG, Sony, Kobalt, Gaby Music, DJ Urba                      Copied Composition
Daddy Yankee     Sigueme y Te Sigo              El Cartel, GPC, Daddy Yankee, UMG, SONY, Sony, Warner, Chris Jeday, and Gaby Music              Copied Composition
Daddy Yankee     Si Supieras                    El Cartel, GPC, Daddy Yankee, UMG, Warner, Sony, Tainy, Luny, SONY, Wisin, and Yandel           Copied Composition
Daddy Yankee     Zum Zum                        El Cartel, GPC, Daddy Yankee, UMG, Warner, Sony, Kobalt, Luny, Tunes                            Copied Composition
                                                                                                                                                Sample that copies composition and copied composition and
Daddy Yankee     Golpe de Estado                El Cartel, GPC, Daddy Yankee, UMG, Yandel, Luny, and Tunes                                      interpolates Dem Bow
                                                                                                                                                Sample that copies composition and copied composition and
Daddy Yankee     Calenton                       El Cartel, GPC, Daddy Yankee, and Yandel                                                        interpolates Dem Bow

Abraham Mateo    A Cámara Lenta                 SONY, SonyATV, SMP, SOLAR, Kobalt, Abraham Mateo, Eric Duars, O'Neill                           Copied Composition
Abraham Mateo    ESTA CUARENTENA                SONY, SonyATV, SMP, SOLAR, UMP, Abraham Mateo                                                   Copied Composition
Abraham Mateo    Loco Enamorado                 SONY, SonyATV, SMP, SOLAR, Kobalt, Warner, Abraham Mateo, Gaby Music, Farruko                   Sample that copies composition and copied composition
Abraham Mateo    Me Vuelvo Loco                 SONY, SonyATV, SMP, SOLAR, Kobalt, Warner, Abraham Mateo, CNCO, Andres Torres                   Sample that copies composition and copied composition
Abraham Mateo    No Encuentro Palabras          SONY, SonyATV, SMP, SOLAR, Kobalt, Warner, Abraham Mateo, Manuel Turizo                         Sample that copies composition and copied composition
Abraham Mateo    ¿Qué Ha Pasao'?                SONY, SonyATV, SMP, SOLAR, UMP, Peermusic, Abraham Mateo                                        Copied Composition
Abraham Mateo    Se Acabó el Amor               SONY, SonyATV, SMP, SOLAR, Kobalt, Abraham Mateo, Yandel, O'Neill, Tainy                        Copied Composition
                                     Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 2 of 33 Page ID
                                                                      #:2717

Abraham Mateo    Tiempo Pa Olvidar            SONY, SonyATV, SMP, SOLAR, Abraham Mateo, Becky G                                                   Copied Composition

Alex Sensation   Dame Un Chance               UMG, Silvestre Dangond                                                                              Copied Composition
Alex Sensation   La Calle                     UMG, Myke Towers, Jhay Cortez, Arcangel, De La Ghetto                                               Copied Composition
Alex Sensation   La Diabla                    UMG, Nicky Jam                                                                                      Copied Composition
Alex Sensation   La Mala Y La Buena           UMG, Gente De Zona                                                                                  Copied Composition
Alex Sensation   Pa' Lante                    UMG, Anitta, Luis Fonsi                                                                             Copied Composition
Alex Sensation   Que Va                       UMG, Ozuna                                                                                          Copied Composition

Anitta           Downtown                     WARNER, SonyATV, SMP, UMP, Anitta, J Balvin, Sky, Justin Quiles                                     Copied Composition
Anitta           Goals                        WARNER, Sony ATV, SMP, Anitta, Pharrel Williams                                                     Copied Composition
Anitta           Juego                        WARNER, Sony ATV, Warner, Peermusic, Pulse, Anitta, DVLP, Sky, Jhay Cortez                          Copied Composition
Anitta           Loco                         WARNER, Sony ATV, Pulse, Anitta, UMG                                                                Copied Composition
Anitta           Medicina                     WARNER, Sony ATV, UMP, Warner, Anitta, Mau, Andy Clay                                               Copied Composition
Anitta           Paradinha                    WARNER, Sony ATV, UMP, SMP, Anitta                                                                  Copied Composition
Anitta           Si O No                      WARNER, Sony ATV, SMP, Peermusic, Warner, UMP, Anitta, Maluma                                       Copied Composition
Anitta           Sim Ou Não                   WARNER, Sony ATV, SMP, Peermusic, Warner, UMP, Anitta, Maluma                                       Copied Composition
Anitta           Sin Miedo                    WARNER, Sony ATV, Kobalt, SMP, Anitta, Mambo Kingz, DJ Luian                                        Copied Composition
Anitta           Some Que Ele Vem Atrás       WARNER, Sony ATV, Warner, Anitta                                                                    Copied Composition
Anitta           Terremoto                    WARNER, Sony ATV, Anitta                                                                            Copied Composition
Anitta           Tócame                       WARNER, Sony ATV, Peermusic, SMP, Anitta, Arcangel, De La Ghetto, El Dandee, Andres Torres          Copied Composition
Anitta           Tu Y Yo                      WARNER, Sony ATV, UMP, Anitta, Dimelo Flow                                                          Copied Composition
Anitta           Veneno                       WARNER, Sony ATV, Anitta, Tainy, Camilo                                                             Copied Composition

Anuel AA         3 Some                       WARNER, Maybach, Anuel AA                                                                           Copied Composition
Anuel AA         Amanece                      UMG, Warner, SMP, Kobalt, SonyATV, Cinq, Anuel AA, Jhay Cortez                                      Sample that copies composition and copied composition
Anuel AA         ARMAOS 100PRE ANDAMOS        WARNER, Maybach, Anuel AA                                                                           Sample that copies composition and copied composition
Anuel AA         Así Soy Yo                   SONY, RHLM, Kobalt, Anuel AA, Warner, SonyATV, UMP, Chris Jeday, Gaby Music                         Sample that copies composition and copied composition
Anuel AA         Ayer                         Neflow, Kobalt, SonyATV, SMP, Anuel AA, DJ Luian, DJ Nelson                                         Sample that copies composition and copied composition
Anuel AA         Ayer 2                       Neflow, Kobalt, SonyATV, SMP, Anuel AA, DJ Luian, DJ Nelson, J Balvin, Nicky Jam                    Sample that copies composition and copied composition
Anuel AA         Bandido                      SONY, RHLM, Kobalt, Warner, UMP, Anuel AA, Chris Jeday y Gaby Music, J Balvin, Sky                  Copied Composition
Anuel AA         Bandolera                    SONY, RHLM, Kobalt, SonyATV, SMP, Warner, Anuel AA, Chris Jeday y Gaby Music                        Sample that copies composition and copied composition
Anuel AA         Ceniza En Cenicero           Cinq, RHLM, Kobalt, Anuel AA, SonyATV, SMP, Warner, Mambo Kingz, DJ Luian                           Sample that copies composition and copied composition

Anuel AA         China                        SONY, RHLM, Kobalt, Royalty, SMP, Warner, Tainy, Anuel AA, Daddy Yankee, Karol G, J Balvin, Ozuna   Copied Composition
Anuel AA         CRISTINIANDO                 Carbon Fiber, Kobalt, SMP, SonyATV, Anuel AA, Farruko, DJ Nelson                                    Sample that copies composition and copied composition
Anuel AA         Demonia                      Kobalt, Anuel AA                                                                                    Sample that copies composition and copied composition
Anuel AA         El Manual                    SONY, RHLM, Kobalt, Anuel AA, UMP                                                                   Copied Composition
Anuel AA         El Problema                  SONY, RHLM, Kobalt, Warner, SonyATV, Anuel AA, Chris Jeday, Gaby Music                              Copied Composition
Anuel AA         Ella Quiere Beber            SONY, RHLM, Kobalt, Warner, SonyATV, Anuel AA, Chris Jeday y Gaby Music                             Copied Composition
Anuel AA         Espina                       SONY, RHLM, Warner, Anuel AA, Chris Jeday y Gaby Music                                              Sample that copies composition and copied composition
Anuel AA         Fútbol y Rumba               SONY, RHLM, Kobalt, Anuel AA, Enrique Iglesias                                                      Copied Composition

Anuel AA         Hasta Que Dios Diga          SONY, RHLM, Kobalt, Warner, SonyATV, Anuel AA, UMP, Rimas, Chris Jeday, Gaby Music, Bad Bunny       Copied Composition
Anuel AA         Hipócrita                    SONY, RHLM, Kobalt, Warner, SonyATV, Anuel AA, Zion, Chris Jeday, Gaby Music                        Copied Composition
Anuel AA         Jangueo                      SONY, RHLM, Kobalt, Warner, SonyATV, Anuel AA, Chris Jeday y Gaby Music                             Copied Composition
Anuel AA         Keii                         SONY, RHLM, Kobalt, Warner, SonyATV, Anuel AA, Chris Jeday, Gaby Music                              Sample that copies composition and copied composition
Anuel AA         LA BELLA Y LA BESTIA         Cinq, Kobalt, Anuel AA                                                                              Copied Composition
Anuel AA         Nacimos Pa Morir             Maybach, RHLM, UMG, Warner, Kobalt, Anuel AA, Tainy                                                 Sample that copies composition and copied composition
Anuel AA         Naturaleza                   SONY, RHLM, Kobalt, Warner, Anuel AA, Chris Jeday, Gaby Music                                       Copied Composition
Anuel AA         No Love                      Cinq, Kobalt, UMP, Warner, Anuel AA, Tainy                                                          Sample that copies composition and copied composition
Anuel AA         Pensando En Tí               SONY, RHLM, Kobalt, Warner, Anuel AA, Chris Jeday, Gaby Music, Wisin                                Copied Composition
Anuel AA         Que Se Joda                  SONY, RHLM, Kobalt, SMP, Anuel AA, Chris Jeday, Gaby Music, Farruko, Zion, Lennox                   Copied Composition
Anuel AA         Reggaetonera                 SONY, RHLM, Kobalt, Warner, UMP, Anuel AA, Chris Jeday, Gaby Music                                  Sample that copies composition and copied composition
Anuel AA         Secreto                      SONY, RHLM, Kobalt, UMP, SMP, SonyATV, Anuel AA, Karol G                                            Copied Composition
                                      Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 3 of 33 Page ID
                                                                       #:2718

                                               SONY, RHLM, Kobalt, Warner, SonyATV, SMP, UMP, Anuel AA, Daddy Yankee, Wisin, Farruko, Tainy,
Anuel AA           Sola Remix                  Zion, Lennox                                                                                    Copied Composition
Anuel AA           Sola                        SONY, RHLM, Kobalt, SonyATV, SMP, UMP, Anuel AA, Tainy                                          Copied Composition
Anuel AA           Street Poem                 Cinq, Kobalt, Anuel AA, Tainy                                                                   Copied Composition
Anuel AA           Súbelo                      SONY, UMG, RHLM, Kobalt, SMP, SonyATV, Anuel AA, Myke Towers, Jhay Cortez                       Copied Composition
Anuel AA           Te Necesito                 SONY, RHLM, UMP, Anuel AA, Chris Jeday, Gaby Music                                              Copied Composition
Anuel AA           Tocándote                   SONY, RHLM, Kobalt, Anuel AA                                                                    Copied Composition

Anuel AA & Ozuna   100                         RHLM, Aura, SONY, SMP, Warner, Kobalt, SonyATV, Ozuna, Anuel AA, Tainy, Jhay Cortez             Copied Composition
Anuel AA & Ozuna   ANTES                       RHLM, Aura, SONY, Kobalt, Ozuna, Anuel AA                                                       Copied Composition
Anuel AA & Ozuna   DIME TÚ                     RHLM, Aura, SONY, Kobalt, SonyATV, SMP, Ozuna, Anuel AA, Tainy                                  Copied Composition
Anuel AA & Ozuna   NENA BUENA                  RHLM, Aura, SONY, Kobalt, SonyATV, SMP, Rimas, Ozuna, Anuel AA, Subelo NEO                      Copied Composition
Anuel AA & Ozuna   NUNCA                       RHLM, Aura, SONY, Kobalt, Ozuna, Anuel AA                                                       Copied Composition
Anuel AA & Ozuna   PERREO                      RHLM, Aura, SONY, Kobalt, SonyATV, SMP, Ozuna, Anuel AA, Tainy                                  Copied Composition

Bad Bunny          A Tu Merced                 SONY, Rimas, SMP, SonyATV, UMP, Bad Bunny                                                       Copied Composition
Bad Bunny          BAD CON NICKY               SONY, Rimas, Warner, SonyATV, SMP, UMP, Bad Bunny, Gaby Music & Chris Jedi, Nicky Jam           Sample that copies composition and copied composition
Bad Bunny          Bellacoso                   SONY, Rimas, Kobalt, UMP, SonyATV, SMP, Bad Bunny, Residente, Urba                              Copied Composition
Bad Bunny          Bichiyal                    SONY, Rimas, UMP, Bad Bunny, Nesty, Subelo NEO                                                  Copied Composition
Bad Bunny          BYE ME FUI                  SONY, Rimas, UMP, Bad Bunny, Subelo NEO                                                         Copied Composition
Bad Bunny          Callaíta                    SONY, Rimas, UMP, SonyATV, SMP, Bad Bunny, Tainy, Zion, Lennox, Luny Tunes                      Copied Composition
Bad Bunny          CANCIÓN CON YANDEL          SONY, Rimas, Kobalt, UMP, SonyATV, SMP, Bad Bunny, Yandel                                       Copied Composition
Bad Bunny          CÓMO SE SIENTE (Remix)      SONY, Rimas, Kobalt, UMP, SonyATV, SMP, Bad Bunny, Jhay Cortez, Tainy                           Copied Composition
Bad Bunny          Cuando Perriabas            SONY, Rimas, Kobalt, UMP, SonyATV, SMP, Bad Bunny, Tainy, Daddy Yankee, Chenco Corleone         Sample that copies composition and copied composition
Bad Bunny          Efecto                      SONY, Rimas, Warner, UMP, Bad Bunny                                                             Copied Composition
Bad Bunny          Ignorantes                  SONY, Rimas, UMP, Bad Bunny, Sech, Dimelo Flow                                                  Copied Composition
Bad Bunny          LA CANCIÓN                  SONY, Rimas, Warner, SonyATV, UMP, Bad Bunny, Tainy, Sky, J Balvin                              Copied Composition
Bad Bunny          La Corriente                SONY, Rimas, Kobalt, UMP, SonyATV, SMP, Bad Bunny, Tainy, Subelo NEO                            Sample that copies composition and copied composition
Bad Bunny          La Difícil                  SONY, Rimas, UMP, Bad Bunny, Bad Bunny, Subelo NEO                                              Sample that copies composition and copied composition
Bad Bunny          La Noche de Anoche          SONY, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, Gaby Music & Chris Jedi, Tainy, Rosalia      Copied Composition
Bad Bunny          La Romana                   SONY, Rimas, Kobalt, UMP, SonyATV, SMP, Warner, Bad Bunny, El Alfa, Tainy                       Copied Composition
Bad Bunny          La Santa                    SONY, Rimas, UMP, SonyATV, SMP, Bad Bunny, Daddy Yankee, Tainy                                  Copied Composition
Bad Bunny          La Zona                     SONY, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, Gaby Music, Chris Jedi                       Sample that copies composition and copied composition
Bad Bunny          MÁS DE UNA CITA             SONY, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, Zion, Lennox                                 Sample that copies composition and copied composition
Bad Bunny          Me Porto Bonito             SONY, Rimas, UMP, Warner, Bad Bunny, Tainy, Subelo NEO, Chenco Corleone                         Sample that copies composition and copied composition
                                               WARNER, OVO, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, Bad Bunny, Drake, DJ Luian,
Bad Bunny          Mia                         Mambo Kingz                                                                                     Copied Composition
Bad Bunny          Moscow Mule                 SONY, Rimas, UMP, Warner, Bad Bunny                                                             Copied Composition
Bad Bunny          Ojitos Lindos               SONY, Rimas, UMP, SonyATV, SMP, Bad Bunny, Tainy                                                Copied Composition
Bad Bunny          PA' ROMPERLA                SONY, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, , Tainy, Jhay Cortez                         Sample that copies composition and copied composition
Bad Bunny          Party                       SONY, Rimas, UMP, SMP, Warner, Bad Bunny, Tainy, Rauw Alejandro                                 Sample that copies composition and copied composition
Bad Bunny          Que Malo                    SONY, Rimas, UMP, Kobalt, Bad Bunny, Bad Bunny                                                  Sample that copies composition and copied composition
Bad Bunny          Safaera                     SONY, Rimas, UMP, SonyATV, SMP, Warner, Kobalt, Peermusic, Bad Bunny, Tainy                     Copied Composition
Bad Bunny          Si Estuviésemos Juntos      SONY, Rimas, UMP, SonyATV, SMP, Bad Bunny, Tainy, Camilo                                        Copied Composition
Bad Bunny          Soliá                       SONY, Rimas, UMP, Bad Bunny, Subelo NEO                                                         Copied Composition
Bad Bunny          Solo De Mi                  SONY, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, Tainy                                        Copied Composition
Bad Bunny          Tarot                       SONY, Rimas, UMP, SMP, Warner, Hipgnosis, Bad Bunny, Tainy, Jhay Cortez                         Copied Composition
Bad Bunny          Tití Me Preguntó            SONY, Rimas, UMP, Global, Warner, Bad Bunny                                                     Copied Composition
Bad Bunny          Un Coco                     SONY, Rimas, UMP, Warner, Bad Bunny                                                             Copied Composition
Bad Bunny          Un Ratito                   SONY, Rimas, UMP, SonyATV, SMP, Bad Bunny, Tainy                                                Copied Composition
Bad Bunny          Una Vez                     SONY, Rimas, UMP, Warner, Bad Bunny, Subelo Neo                                                 Copied Composition
Bad Bunny          VETE                        SONY, Rimas, UMP, SonyATV, SMP, Warner, Bad Bunny, Subelo NEO, Mambo Kingz                      Copied Composition
Bad Bunny          Yo Perreo Sola              SONY, Rimas, UMP, SonyATV, SMP, Bad Bunny, Tainy, Subelo NEO                                    Copied Composition
Bad Bunny          Yonaguni                    SONY, Rimas, UMP, Kobalt, Global, Bad Bunny, Tainy                                              Copied Composition

Becky G            24/7                        SONY, Kemosabe, SMP, Kobalt, Warner, SonyATV, Becky G, DJ Luian, Mambo Kingz                    Copied Composition
                                     Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 4 of 33 Page ID
                                                                      #:2719

Becky G            Bella Ciao                 SONY, Kemosabe, SMP, Becky G                                                                    Copied Composition
Becky G            Cuando Te Besé             SONY, SMP, Kobalt, Warner, SonyATV, Becky G, Ovy on the Drums, Paulo Londra                     Copied Composition
Becky G            EN MI CONTRA               SONY, Kemosabe, SMP, Kobalt, UMP, SMP, SonyATV, Becky G, DJ Luian, Mambo Kingz                  Copied Composition
Becky G            GUAPA                      SONY, Kemosabe, SMP, Kobalt, Warner, SonyATV, Becky G                                           Copied Composition
Becky G            La Respuesta               SONY, Kemosabe, SMP, Warner, SonyATV, Becky G, Maluma                                           Sample that copies composition and copied composition
Becky G            MALA SANTA                 SONY, Kemosabe, SMP, UMP, SonyATV, Kobalt, Becky G, DJ Luian, Mambo Kingz                       Copied Composition
Becky G            MAMIII                     SONY, Kemosabe, SMP, Warner, Kobalt, UMP, Becky G, Ovy on the Drums, Justin Quiles, Karol G     Copied Composition
Becky G            Mayores                    SONY, Kemosabe, SMP, SonyATV, Warner, Kobalt, UMP, Becky G, Bad Bunny                           Sample that copies composition and copied composition

Becky G            ME ACOSTUMBRÉ              SONY, Kemosabe, SMP, SonyATV, Warner, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz, Mau, Ricky   Sample that copies composition and copied composition
Becky G            MEJOR ASÍ                  SONY, Kemosabe, SMP, SonyATV, Warner, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz               Copied Composition
Becky G            Next To You                SONY, Kemosabe, SMP, SonyATV, Warner, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz               Copied Composition
Becky G            NI DE TI NI DE NADIE       SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz                       Copied Composition
Becky G            No Drama                   SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, DJ Luian, Hydro, Ozuna                      Sample that copies composition and copied composition
Becky G            No Te Pertenezco           SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz, Hydro                Copied Composition
Becky G            SI SI                      SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz, Hydro                Copied Composition
                                              SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Hipgnosis, Peermusic, Becky G, Daddy Yankee, Gaby
Becky G            Sin Pijama                 Music, Natti Natasha, Camilo, Mau, Ricky                                                        Sample that copies composition and copied composition
Becky G            Sola                       SONY, Kemosabe, Concord, Kobalt, UMP, Peermusic, Becky G                                        Copied Composition
Becky G            Subiendo                   SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz, Dalex                Copied Composition
                                              SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, DJ Luian, Mambo Kingz, Hydro, Farruko,
Becky G            Te Superé                  Zion y Lennox                                                                                   Copied Composition
Becky G            Todo Cambio                SONY, Kemosabe, SMP, SonyATV, Kobalt, UMP, Becky G, Justin Quiles                               Copied Composition
Becky G            VÁMONOS                    SONY, Kemosabe, SMP, Kobalt, UMP, Becky G, Becky G, Dimelo Flow, Justin Quiles, Sech            Copied Composition
Becky G            Zooted                     SONY, Kemosabe, SMP, SonyATV, Becky G, Tainy, Farruko                                           Copied Composition

Cali Y El Dandee   Ay Corazón                 UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Besos Tristes              UMG, Warner, SonyATV, Cali, El Dandee                                                           Copied Composition
Cali Y El Dandee   Borracho De Amor           UMG, Warner, SonyATV, SMP, UMP, Cali, El Dandee, Reik                                           Copied Composition
Cali Y El Dandee   BYL (Borracha Y Loca)      UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Coldplay                   UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Colegio                    UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Contigo                    UMG, UMP, Warner, Cali, El Dandee                                                               Copied Composition
Cali Y El Dandee   Despiértate                UMG, Warner, SonyATV, Cali, El Dandee, Mau, Ricky                                               Copied Composition
Cali Y El Dandee   Gol                        SMP, SonyATV, Warner, Cali, El Dandee                                                           Copied Composition
Cali Y El Dandee   Juega                      UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Locura                     UMG, Warner, UMP, Cali, El Dandee, Sebastián Yatra                                              Copied Composition
Cali Y El Dandee   Lumbra                     UMG, Warner, SMP, UMP, Cali, El Dandee                                                          Copied Composition
Cali Y El Dandee   Malibu                     UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Nada                       UMG, Cali, El Dandee, Danna Paola                                                               Copied Composition
Cali Y El Dandee   Perdóname                  UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Por Ella                   UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Por Fin Te Encontré        UMG, Warner, UMP, Sebastian Yatra                                                               Copied Composition
Cali Y El Dandee   Sirena                     UMG, Warner, Peermusic, Cali, El Dandee                                                         Copied Composition
Cali Y El Dandee   Tequila Sunrise            UMG, Warner, Cali, El Dandee, Rauw Alejandro                                                    Copied Composition
Cali Y El Dandee   Tu Nombre                  UMG, Warner, Cali, El Dandee, Mike Bahía                                                        Copied Composition
Cali Y El Dandee   Un Tiempo                  UMG, Warner, Cali, El Dandee                                                                    Copied Composition
Cali Y El Dandee   Voy Por Ti                 UMG, Warner, SonyATV, Peermusic, Cali, El Dandee                                                Copied Composition
Cali Y El Dandee   Yo No Te Olvido            UMG, Warner, Cali, El Dandee, Luis Fonsi                                                        Copied Composition

Camilo             El Mismo Aire              SONY, SMP, SonyATV, Warner, UMP, Camilo                                                         Copied Composition
Camilo             Favorito                   SONY, SonyATV, SMP, Warner, Camilo                                                              Copied Composition
Camilo             Machu Picchu               SONY, SonyATV, SMP, UMP, Camilo                                                                 Copied Composition
Camilo             Mareado                    SONY, SonyATV, SMP, Camilo                                                                      Copied Composition
Camilo             Millones                   SONY, SonyATV, SMP, Camilo, Tainy, Mau y Ricky                                                  Copied Composition
Camilo             No Te Vayas                SONY, SonyATV, SMP, UMP, Peermusic, Camilo, Tainy, Mau, Ricky                                   Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 5 of 33 Page ID
                                                                    #:2720

Camilo          Por Primera Vez             SONY, SonyATV, SMP, UMP, Warner, Camilo                                                         Copied Composition
Camilo          Rolex                       SONY, SonyATV, SMP, UMP, Camilo, Mau, Ricky, Tainy                                              Copied Composition
Camilo          Ropa Cara                   SONY, SonyATV, SMP, Camilo                                                                      Copied Composition
Camilo          Si Estoy Contigo            SONY, SonyATV, SMP, UMP, Warner, Camilo                                                         Copied Composition
Camilo          Tutu                        SONY, SonyATV, SMP, Warner, Camilo                                                              Sample that copies composition and copied composition

Carlos Vives    Al Filo de Tu Amor          SONY, SonyATV, SMP, Kobalt, Carlos Vives, Ricky Martin                                          Sample that copies composition and copied composition
Carlos Vives    Canción Bonita              SONY, SMP, SonyATV, UMP, Kobalt, Warner, Carlos Vives, Andres Torres, El Dandee                 Copied Composition
Carlos Vives    El Mar de Sus Ojos          SONY, SOLAR, Kobalt, Carlos Vives                                                               Copied Composition
Carlos Vives    For Sale                    SONY, UMP, Kobalt, Carlos Vives, Alejandro Sanz                                                 Copied Composition
Carlos Vives    Hechicera                   SONY, Kobalt, Warner, Carlos Vives                                                              Copied Composition
Carlos Vives    La Bicicleta                SONY, SonyATV, SMP, Kobalt, Warner, Carlos Vives                                                Copied Composition
Carlos Vives    La Tierra Prometida         SONY, Warner, Kobalt, Carlos Vives                                                              Copied Composition
Carlos Vives    Los Consejos del Difunto    SONY, Warner, Kobalt, Carlos Vives                                                              Copied Composition
Carlos Vives    Monsieur Bigoté             SONY, Kobalt, Carlos Vives                                                                      Copied Composition
Carlos Vives    No Te Vayas                 SONY, UMP, Kobalt, Carlos Vives, Manuel Turizo                                                  Copied Composition
Carlos Vives    Nuestro Secreto             SONY, SonyATV, SMP, Kobalt, Carlos Vives                                                        Copied Composition
Carlos Vives    Pescaíto                    SONY, SonyATV, SMP, Kobalt, Carlos Vives                                                        Copied Composition
Carlos Vives    Robarte Un Beso             SONY, Warner, UMP, Kobalt, Carlos Vives, Sebastian Yatra, Andres Torres, El Dandee              Copied Composition
Carlos Vives    Si Me Das Tu Amor           SONY, SonyATV, SMP, Kobalt, Carlos Vives, Wisin, Los Legendarios                                Sample that copies composition and copied composition
Carlos Vives    Todo Me Gusta               SONY, Kobalt, Carlos Vives                                                                      Copied Composition
Carlos Vives    Vitamina En Rama            Sony, Kobalt, Carlos Vives                                                                      Copied Composition

Casper Magico   Cuentale                    Vydia, Flow La Movie, Glad Empire, Kobalt, Warner, Casper Magico, Urba, Anuel AA                Copied Composition
Casper Magico   Desilusion                  Glad Empire, Flow La Movie, Kobalt, Warner, Casper Magico                                       Copied Composition
Casper Magico   En Otra Piel                Glad Empire, Flow La Movie, Casper Magico                                                       Copied Composition
Casper Magico   Encendia                    SONY, Flow La Movie, Glad Empire, Casper Magico                                                 Copied Composition
Casper Magico   Fantasmita                  SONY, Warner, Flow La Movie, Glad Empire, Casper Magico                                         Copied Composition
Casper Magico   Fantasmita Remix            SONY, Warner, Flow La Movie, Glad Empire, Casper Magico                                         Copied Composition
Casper Magico   Groupie Remix               SONY, Warner, UMP, Flow La Movie, Glad Empire, Casper Magico                                    Copied Composition
Casper Magico   Groupie                     SONY, Warner, UMP, Flow La Movie, Glad Empire, Casper Magico                                    Copied Composition
Casper Magico   H.P.T.A                     SONY, Warner, SMP, Flow La Movie, Glad Empire, Casper Magico, Nio Garcia                        Copied Composition
Casper Magico   Karma                       SONY, SonyATV, SMP, Flow La Movie, Glad Empire, Casper Magico                                   Copied Composition
Casper Magico   La Mas Linda                SONY, Warner, UMP, Flow La Movie, Glad Empire, Casper Magico, Rauw Alejandro                    Copied Composition
Casper Magico   Loco                        Vydia, SMP, Warner, Glad Empire, Flow La Movie, Casper Magico                                   Copied Composition
Casper Magico   Me Pichea                   SONY, Glad Empire, Flow La Movie, Casper Magico                                                 Copied Composition
Casper Magico   No Me Hables De Amor        Vydia, Kobalt, Warner, Flow La Movie, Glad Empire, Casper Magico, Anuel AA                      Copied Composition
Casper Magico   No Te Veo (Remix)           SONY, Warner, Flow La Movie, Glad Empire, Casper Magico, Anuel AA                               Copied Composition
Casper Magico   No Te Veo                   SONY, Warner, Flow La Movie, Glad Empire, Casper Magico                                         Copied Composition

Casper Magico   Sola & Vacía                SONY, UMP, Kobalt, Warner, Flow La Movie, Glad Empire, Casper Magico, Anuel AA, Ovy On The Drums Copied Composition

CNCO            Amor Narcótico              SONY, UMP, El Dandee, Andres Torres, CNCO                                                       Copied Composition
CNCO            Beso                        SONY, Warner, SonyATV, SMP, CNCO                                                                Copied Composition
CNCO            Bonita                      SONY, Warner, SonyATV, SMP, Pulse, UMP, Kobalt, Peermusic, Royalty, CNCO, Feid                  Copied Composition
CNCO            De Cero                     SONY, Warner, SonyATV, SMP, Pulse, UMP, Kobalt, Peermusic, CNCO, Feid, Mosty                    Copied Composition
CNCO            De Mí                       SONY, Warner, Kobalt, CNCO                                                                      Copied Composition
CNCO            Dejaría Todo                SONY, SMP, SonyATV, El Dandee, Andres Torres, CNCO                                              Copied Composition
CNCO            Demuéstrame                 SONY, CNCO                                                                                      Copied Composition
CNCO            Devuélveme Mi Corazón       SONY, SMP, SonyATV, SOLAR, CNCO, Wisin, Los Legendarios                                         Copied Composition
CNCO            El Amor de Mi Vida          SONY, SonyATV, UMP, CNCO                                                                        Copied Composition
CNCO            Entra en Mi Vida            SONY, SMP, Peermusic, CNCO, Sky                                                                 Copied Composition
CNCO            Estoy Enamorado de Ti       SONY, CNCO                                                                                      Copied Composition
CNCO            Fiesta en Mi Casa           SONY, SMP, SonyATV, Peermusic, Kobalt, SOLAR, CNCO, Yandel, Tainy                               Copied Composition
CNCO            Hey DJ                      SONY, SMP, SonyATV, Kobalt, SOLAR, CNCO                                                         Copied Composition
CNCO            Honey Boo                   SONY, SMP, SonyATV, Kobalt, SOLAR, CNCO, Natti Natasha                                          Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 6 of 33 Page ID
                                                                    #:2721

CNCO          Imagíname Sin Ti              SONY, UMP, CNCO                                                                                 Copied Composition
CNCO          La Ley                        SONY, SMP, SonyATV, SOLAR, CNCO                                                                 Copied Composition
CNCO          La Quiero a Morir             SONY, Warner, El Dandee, Andres Torres, CNCO                                                    Copied Composition
CNCO          Llegaste Tú                   SONY, SMP, SonyATV, SOLAR, Kobalt, CNCO, Prince Royce, Play-N-Skillz                            Copied Composition
CNCO          Mala Actitud                  SONY, Warner, Kobalt, Peermusic, CNCO                                                           Copied Composition
CNCO          Mamita                        SONY, Kobalt, UMP, CNCO, Feid                                                                   Copied Composition
CNCO          Mi Medicina                   SONY, Peermusic, CNCO                                                                           Copied Composition
CNCO          Mis Ojos Lloran por Ti        SONY, UMP, CNCO, Sky                                                                            Copied Composition
CNCO          My Boo                        SONY, SMP, SonyATV, SOLAR, CNCO                                                                 Copied Composition
CNCO          No Entiendo                   SONY, SMP, SonyATV, SOLAR, Warner, UMP, CNCO, Wisin, Los Legendarios                            Copied Composition
CNCO          No Me Sueltes                 SONY, SMP, UMP, Kobalt, SOLAR, CNCO, Feid                                                       Copied Composition
CNCO          Noche Inolvidable             SONY, SMP, SonyATV, Warner, SOLAR, CNCO                                                         Copied Composition
CNCO          Para Enamorarte               SONY, SMP, UMP, Warner, SOLAR, CNCO, Wisin, Los Legendarios, El Dandee, Sebastián Yatra         Copied Composition
CNCO          Pegao                         SONY, SonyATV, SMP Warner, CNCO, Manuel Turizo                                                  Copied Composition
CNCO          Primera Cita                  SONY, SMP, SonyATV, Peermusic, CNCO                                                             Copied Composition
CNCO          Qué Va a Ser de Mí            SONY, UMP, Warner, SonyATV, CNCO, Wisin, Los Legendarios                                        Copied Composition
CNCO          Quisiera                      SONY, SMP, SonyATV, UMP, Peermusic, CNCO, Wisin, Los Legendarios, Maluma                        Copied Composition
CNCO          Reggaetón Lento               SONY, Pulse, Peermusic, Kobalt, SOLAR, CNCO                                                     Copied Composition
CNCO          Reggaetón Lento (Remix)       SONY, Pulse, Kobalt, CNCO                                                                       Copied Composition
CNCO          Se Vuelve Loca                SONY, Kobalt, SonyATV, SMP, CNCO                                                                Copied Composition
CNCO          Solo Importas Tú              SONY, Warner, CNCO                                                                              Copied Composition
CNCO          Sólo Yo                       SONY, SMP, SonyATV, SOLAR, Royalty, UMP, CNCO                                                   Copied Composition
CNCO          Tan Enamorados                SONY, SMP, Peermusic, El Dandee, Andres Torres, CNCO                                            Copied Composition
CNCO          Tan Fácil                     SONY, SMP, SonyATV, SOLAR, CNCO, Wisin, Los Legendarios                                         Copied Composition
CNCO          Volverte a Ver                SONY, SMP, SonyATV, SOLAR, Peermusic, CNCO, Wisin, Los Legendarios                              Copied Composition

Dalex         Bellaquita                    UMG, Rich Music, Kobalt, SOLAR, SonyATV, UMP, SMP, Dalex, Lenny Tavarez, Dimelo Flow            Copied Composition
                                            UMG, Rich Music, Kobalt, SOLAR, SonyATV, UMP, SMP, Dalex, Lenny Tavarez, Dimelo Flow, Anitta,
Dalex         Bellaquita (Remix)            Farruko, Natti Natasha, Justin Quiles                                                           Copied Composition
Dalex         Fantasia                      UMG, Rich Music, Concord, UMP, SMP, Dalex                                                       Copied Composition
Dalex         Feeling                       UMG, Rich Music, SOLAR, SonyATV, UMP, SMP, Dalex, Dimelo Flow                                   Copied Composition
Dalex         Hola                          UMG, Rich Music, UMP, Dalex, Dimelo Flow                                                        Copied Composition
Dalex         Hola Remix                    UMG, Rich Music, SonyATV, UMP, SMP, Dalex, Dimelo Flow, Lenny Tavarez, Chencho Corleone         Copied Composition
Dalex         Indomable                     UMG, Rich Music, SonyATV, UMP, SMP, Dalex                                                       Copied Composition
Dalex         Jockey                        UMG, Rich Music, SonyATV, UMP, SMP, SOLAR, Kobalt, Dalex, Dimelo Flow, Lenny Tavarez            Copied Composition
Dalex         +Linda                        UMG, Rich Music, SonyATV, UMP, SMP, Dalex, Dimelo Flow                                          Copied Composition
Dalex         Lo Que Te Gusta               UMG, Rich Music, Dalex, Dimelo Flow, Rike Music                                                 Copied Composition
Dalex         Matemáticas                   UMG, Rich Music, SonyATV, SMP, UMP, SOLAR, Dalex, Dimelo Flow, Rike Music                       Copied Composition
Dalex         Mejor                         UMG, Rich Music, SonyATV, SMP, UMP, SOLAR, Dalex, Dimelo Flow, Lenny Tavarez, Sech, Feid        Copied Composition
Dalex         Mi Cama                       UMG, Rich Music, UMP, Dalex                                                                     Copied Composition
Dalex         Perfume                       UMG, Rich Music, UMP, SOLAR, Dalex, Dimelo Flow, Sech, Justin Quiles                            Copied Composition
Dalex         Prendía                       UMG, Rich Music, UMP, Peermusic, Dalex, Dimelo Flow, Rike Music                                 Copied Composition
Dalex         Qué Tal                       UMG, Rich Music, SonyATV, SMP, UMP, SOLAR, Dalex                                                Copied Composition
Dalex         Rompe                         UMG, Rich Music, SonyATV, SMP, UMP, SOLAR, Dalex, Lenny Tavarez, Dimelo Flow                    Copied Composition
Dalex         Yo No Me Enamoro              UMG, Rich Music, UMP, Dalex, Justin Quiles, Rike Music                                          Copied Composition

Danna Paola   Cachito                       UMG, Warner, SMP, SOLAR, UMP, Danna Paola, Mau y Ricky                                          Sample that copies composition and copied composition
Danna Paola   Final Feliz                   UMG, SonyATV, SOLAR, SMP, Peermusic, Danna Paola, Peermusic                                     Copied Composition
Danna Paola   Friend De Semana              UMG, UMP, Warner, Danna Paola, Aitana                                                           Copied Composition
Danna Paola   Kaprichosa                    UMG, Danna Paola                                                                                Copied Composition
Danna Paola   Mala Fama                     UMG, Warner, SMP, SonyATV, UMP, Danna Paola                                                     Sample that copies composition and copied composition
Danna Paola   Mala Fama (Remix)             UMG, Warner, SMP, SonyATV, UMP, Danna Paola, Greeicy, Andy Clay                                 Sample that copies composition and copied composition
Danna Paola   MIA                           UMG, Danna Paola                                                                                Copied Composition
Danna Paola   No Bailes Sola                UMG, Warner, UMP, Danna Paola, Sebastián Yatra, Andres Torres, El Dandee                        Copied Composition
Danna Paola   Oye Pablo                     UMG, SMP, SonyATV, UMP, Danna Paola                                                             Copied Composition
Danna Paola   Polo A Tierra                 UMG, Warner, Danna Paola                                                                        Copied Composition
                                 Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 7 of 33 Page ID
                                                                  #:2722

Danna Paola    Sodio                      UMG, Warner, Danna Paola                                                                     Sample that copies composition and copied composition
Danna Paola    TQ Y YA                    UMG, UMP, Warner, Danna Paola                                                                Sample that copies composition and copied composition

Danny Ocean    ADO                        WARNER, Warner, SMP, Danny Ocean                                                             Copied Composition
Danny Ocean    Apartamento                WARNER, SOLAR, SMP, Danny Ocean                                                              Copied Composition
Danny Ocean    Baby I Won't               WARNER, SMP, UMP, SOLAR, Danny Ocean                                                         Copied Composition
Danny Ocean    Báilame                    Sony, Danny Ocean                                                                            Copied Composition
Danny Ocean    Cuando Me Acerco A Ti      WARNER, SOLAR, SonyATV, SMP, Danny Ocean                                                     Copied Composition
Danny Ocean    Cuántas veces              WARNER, SMP, SonyATV, Kobalt, SOLAR, Danny Ocean, Justin Quiles                              Copied Composition
Danny Ocean    Dembow                     WARNER, SMP, SonyATV, SOLAR, Danny Ocean                                                     Copied Composition
Danny Ocean    Dorito & Coca-Cola         WARNER, SMP, Danny Ocean                                                                     Copied Composition
Danny Ocean    Epa Wei                    WARNER, Hipgnosis, SMP, SonyATV, Kobalt, PeerMusic, Danny Ocean                              Copied Composition
Danny Ocean    Fuera del mercado          WARNER, SMP, SonyATV, Danny Ocean                                                            Copied Composition
Danny Ocean    Istanbul                   WARNER, Warner, SMP, SonyATV, Danny Ocean                                                    Copied Composition
Danny Ocean    Me Rehúso                  WARNER, UMP, SOLAR, SonyATV, SMP, Danny Ocean                                                Copied Composition
Danny Ocean    Tú no me conoces           WARNER, SonyATV, SMP, Danny Ocean                                                            Copied Composition

De La Ghetto   Acércate                   WARNER, SonyATV, UMP, Kobalt, PeerMusic, De La Ghetto, Sky                                   Copied Composition
De La Ghetto   Ahí Ahí Ahí                Warner, PeerMusic, De La Ghetto                                                              Copied Composition
De La Ghetto   Amantes                    WARNER, Concord, De La Ghetto, Zion, Lennox                                                  Copied Composition
De La Ghetto   Bienvenido Al Bellakeo     WARNER, SMP, Peermusic, De La Ghetto                                                         Copied Composition
De La Ghetto   Caliente                   UMG, UMP, Warner, SMP, Kobalt, PeerMusic, De La Ghetto, Sky, J Balvin                        Copied Composition
De La Ghetto   Chica Mala                 SONY, De La Ghetto, Tainy                                                                    Copied Composition
De La Ghetto   Cogelo Pa' Ti              WARNER, UMP, Peermusic, De La Ghetto, Chencho Corleone, Plan B                               Copied Composition
De La Ghetto   Como Baila                 WARNER, De La Ghetto                                                                         Copied Composition
De La Ghetto   Cuando Será                WARNER, De La Ghetto                                                                         Copied Composition
De La Ghetto   Dices                      WARNER, Peermusic, UMP, Kobalt, De La Ghetto                                                 Copied Composition
De La Ghetto   Dices (Remix)              WARNER, Peermusic, UMP, Kobalt, De La Ghetto, Wisin                                          Copied Composition
De La Ghetto   El Que Se Enamora Pierde   WARNER, Peermusic, UMP, Kobalt, De La Ghetto                                                 Copied Composition
De La Ghetto   El Volante                 WARNER, De La Ghetto                                                                         Copied Composition
De La Ghetto   Exitandonos                WARNER, Peermusic, UPMG, De La Ghetto, Tainy                                                 Copied Composition
De La Ghetto   Frío Olímpico              WARNER, SMP, Peermusic, De La Ghetto, Mambo Kingz                                            Copied Composition
De La Ghetto   Loco Por Perrearte         SONY, Peermusic, De La Ghetto                                                                Copied Composition
De La Ghetto   Loco Por Perrearte Remix   SONY, Peermusic, Kobalt, De La Ghetto, Rauw Alejandro                                        Copied Composition
De La Ghetto   Mami                       WARNER, De La Ghetto, Sky                                                                    Copied Composition
De La Ghetto   Me Acostumbre              WARNER, SMP, UMP, Kobalt, PeerMusic, Warner, De La Ghetto                                    Copied Composition
De La Ghetto   Me Parece                  WARNER, De La Ghetto                                                                         Copied Composition
De La Ghetto   Mi Fanatica                Cinq, De La Ghetto                                                                           Copied Composition
De La Ghetto   Mi Fanatica (Remix)        SMP, SonyATV, Peermusic, SOLAR, Luny Tunes, De La Ghetto                                     Copied Composition
De La Ghetto   Mírala                     WARNER, Peermusic, UMP, De La Ghetto, Zion, Farruko                                          Copied Composition
De La Ghetto   No Me Digas Que No         SONY, De La Ghetto                                                                           Copied Composition
De La Ghetto   Perdida                    WARNER, Peermusic, De La Ghetto                                                              Copied Composition
De La Ghetto   Se Te Nota                 SONY, De La Ghetto                                                                           Copied Composition
De La Ghetto   Selfie                     WARNER, Peermusic, Warner, UPMG, De La Ghetto                                                Copied Composition
De La Ghetto   Sin Perse                  WARNER, De La Ghetto                                                                         Copied Composition
De La Ghetto   Sube La Music              WARNER, SonyATV, SMP, SOLAR, PeerMusic, De La Ghetto, Nicky Jam                              Copied Composition
De La Ghetto   Subelo                     WARNER, Peermusic, UMP, Kobalt, SMP, De La Ghetto, Urba                                      Copied Composition
De La Ghetto   Todas En Fila              De La Ghetto, DJ Luian, Mambo Kingz                                                          Copied Composition
De La Ghetto   Todas En Fila (Remix)      HearThisMusic, WARNER, Rimas, De La Ghetto, Ozuna                                            Copied Composition
                                          WARNER, SonyATV, SMP, UMP, Kobalt, PeerMusic, De La Ghetto, Mambo Kingz, DJ Luian, Maluma,
De La Ghetto   Todo el Amor               Wisin                                                                                        Copied Composition

Dímelo Flow    Crazy                      Rich Music, UMG, UMP, Dímelo Flow, Wisin, Ozuna, Arcángel, Lenny Tavárez, Jay Wheeler        Copied Composition
Dímelo Flow    Dime Ave                   Rich Music, UMG, UMP, Kobalt, Dímelo Flow, Mariah Angeliq, Justin Quiles                     Copied Composition
Dímelo Flow    Doble Cara                 Rich Music, UMG, UMP, Dímelo Flow, Dalex                                                     Copied Composition
Dímelo Flow    El Favor                   Rich Music, UMG, UMP, Warner, SonyATV, Dímelo Flow, Nicky Jam, Zion, Sech, Rike Music        Copied Composition
                                        Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 8 of 33 Page ID
                                                                         #:2723

Dímelo Flow        FKU                           Rich Music, UMG, UMP, SMP, Dímelo Flow                                                             Copied Composition
Dímelo Flow        Girl Like You                 Rich Music, UMG, UMP, SMP, SonyATV, Kobalt, Dímelo Flow, Sech, Tyga                                Copied Composition
Dímelo Flow        Hickey                        Rich Music, UMG, UMP, SOLAR, SonyATV, SMP, Justin Quiles, Dimelo Flow, Dalex                       Copied Composition
                                                 Rich Music, UMG, UMP, SOLAR, SonyATV, SMP, Justin Quiles, Dimelo Flow, Dalex, Sech, Rudeboyz,
Dímelo Flow        La Isla                       Feid, Zion                                                                                         Copied Composition
Dímelo Flow        Masoquista                    Rich Music, UMG, UMP, Justin Quiles, Dimelo Flow, Sech, Rike Music                                 Copied Composition
Dímelo Flow        Mi Favorita                   Rich Music, UMG, Dimelo Flow                                                                       Copied Composition
Dímelo Flow        Mi Perfume                    Rich Music, UMG, UMP, Kobalt, Dimelo Flow, Sech                                                    Copied Composition
Dímelo Flow        MMC                           Rich Music, UMG, UMP, Kobalt, Justin Quiles, Dimelo Flow, Lenny Tavarez, Dalex                     Copied Composition
Dímelo Flow        Nadie La Dejo                 Rich Music, UMG, Dimelo Flow, Dalex                                                                Copied Composition
Dímelo Flow        No Es Normal                  Rich Music, UMG, UMP, Dimelo Flow, Nio Garcia, Zion, Chencho Corleone, De La Ghetto                Copied Composition
Dímelo Flow        Otra Copa                     Rich Music, UMG, UMP, Dimelo Flow, Yandel, Justin Quiles, Slow Mike                                Copied Composition
Dímelo Flow        Pártela                       Rich Music, UMG, Dimelo Flow, Arcangel                                                             Copied Composition
                                                 Rich Music, UMG, UMP, SOLAR, SonyATV, SMP, Dimelo Flow, Arcangel, Chencho Corleone, Myke
Dímelo Flow        Pirueta                       Towers, Wisin, Yandel                                                                              Copied Composition
Dímelo Flow        Por Fin                       Rich Music, UMG, UMP, SOLAR, SonyATV, SMP, Dimelo Flow, Arcangel, Nicky Jam, Jay Wheeler           Copied Composition
Dímelo Flow        Punto De Vista                Rich Music, UMG, Dimelo Flow, Slow Mike                                                            Copied Composition
Dímelo Flow        Qué Me Contás                 Rich Music, UMG, Kobalt, UMP, Dimelo Flow, J Balvin, Sech, Lenny Tavarez, Justin Quiles            Copied Composition
Dímelo Flow        Reggaetón                     Rich Music, UMG, Dimelo Flow                                                                       Copied Composition
                                                 Rich Music, UMG, UMP, Kobalt, SonyATV, SMP, Dimelo Flow, Arcangel, De La Ghetto, Lenny Tavarez,
Dímelo Flow        Se Le Ve                      Sech, Dalex, Justin Quiles, Slow Mike                                                              Copied Composition
Dímelo Flow        Suelta                        Rich Music, UMG, UMP, Dimelo Flow, Rauw Alejandro, Farruko                                         Copied Composition
Dímelo Flow        Un Plan                       Rich Music, UMG, UMP, Dimelo Flow, Zion & Lennox, Jerry Di, Slow Mike                              Copied Composition
Dímelo Flow        Winnie Pooh                   Rich Music, UMG, UMP, Dimelo Flow, Reik, Jay Wheeler, Slow Mike                                    Copied Composition

DJ Snake           Fuego                         UMG, SMP, SonyATV, SOLAR, Geffen, DJ Snake, Anitta, Tainy                                          Copied Composition
DJ Snake           Loco Contigo                  UMG, Geffen, SonyATV, SMP, SOLAR, Peermusic, Warner, DJ Snake, J. Balvin, Tyga                     Copied Composition
DJ Snake           Magenta Riddim                UMG, Peermusic, DJ Snake                                                                           Copied Composition
DJ Snake           Selfish Love                  UMG, Sony, Peermusic, Warner, DJ Snake                                                             Copied Composition
DJ Snake           Taki Taki                     UMG, SonyATV, SMP, SOLAR, Peermusic, Warner, DJ Snake, Ozuna, Cardi B                              Copied Composition

Drake              One Dance                     Universal, Sony, Peermusic, Kobalt, Drake                                                          Copied Composition

Enrique Iglesias   Bailando                      UMG, SMP, Kobalt, Warner, Enrique Iglesias                                                         Copied Composition
Enrique Iglesias   DUELE EL CORAZON              SONY, SonyATV, Kobalt, Warner, Enrique Iglesias, Wisin, Luny & Tunes                               Copied Composition
Enrique Iglesias   EL BAÑO                       SONY, SMP, SonyATV, UMP, Kobalt, Warner, Enrique Iglesias, Bad Bunny                               Sample that copies composition and copied composition
Enrique Iglesias   ME PASE                       SONY, SMP, SonyATV, Warner, Enrique Iglesias, Farruko                                              Sample that copies composition and copied composition
Enrique Iglesias   Miss You                      UMG, SMP, Warner, Enrique Iglesias                                                                 Copied Composition
Enrique Iglesias   MOVE TO MIAMI                 SONY, SMP, SonyATV, UMP, Kobalt, Hipgnosis, Enrique Iglesias, Pitbull                              Copied Composition
Enrique Iglesias   Nos Fuimos Lejos              UMG, SMP, Kobalt, Warner, Enrique Iglesias, El Micha                                               Copied Composition
Enrique Iglesias   PENDEJO                       SONY, SMP, Kobalt, Warner, Enrique Iglesias                                                        Copied Composition
Enrique Iglesias   SUBEME LA RADIO               SONY, SMP, SonyATV, Warner, Kobalt, Enrique Iglesias, Zion, Lennox, Gaby Music, Chris Jedi         Sample that copies composition and copied composition
Enrique Iglesias   TE FUISTE                     SONY, SMP, Kobalt, Enrique Iglesias, Myke Towers                                                   Copied Composition

Farruko            Amaneció                      SONY, SMP, SonyATV, Farruko                                                                        Copied Composition
Farruko            Back To The Future            SONY, SMP, SonyATV, Farruko, Warner, DJ Luian, Jumbo                                               Copied Composition
Farruko            Bebe Conmigo                  SONY, SMP, SonyATV, Carbon Fiber, UMP, Farruko, J Balvin                                           Copied Composition
Farruko            Besas Tan Bien                SonyATV, Farruko                                                                                   Copied Composition
Farruko            Boomboneo                     Warner, SMP, SonyATV, Farruko                                                                      Copied Composition
Farruko            Booty Booty                   SONY, SMP, SonyATV, Carbon Fiber, PeerMusic, Farruko, Zion & Lennox                                Copied Composition

Farruko            Borinquen Bella               SONY, SMP, SonyATV, Warner, UMP, Farruko, Justin Quiles, Zion, Lennox, Dimelo Flow, Sharo Towers   Copied Composition
Farruko            Cartier                       SONY, SMP, SonyATV, Farruko, El Micha                                                              Copied Composition
Farruko            Chillax                       SONY, SMP, SonyATV, Farruko                                                                        Copied Composition
Farruko            Chulería en Pote              SONY, Warner, SMP, SonyATV, Farruko                                                                Copied Composition
Farruko            Coolant                       SONY, SMP, SonyATV, Kobalt, Farruko                                                                Copied Composition
                           Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 9 of 33 Page ID
                                                            #:2724

Farruko   Cositas Que Haciamos      SonyATV, Farruko                                                                              Copied Composition
Farruko   Crazy in Love             Warner, PeerMusic, SonyATV, Kobalt, Farruko                                                   Copied Composition
Farruko   Dale Dembow               SONY, SMP, SonyATV, UMP, Farruko                                                              Copied Composition
Farruko   Dale Que Voy              SonyATV, SMP, Farruko                                                                         Copied Composition
Farruko   Dime que hago             SMP, SonyATV, Carbon Fiber, Kobalt, Farruko, Urba                                             Copied Composition
Farruko   El único                  Carbon Fiber, Farruko, Urba                                                                   Copied Composition
Farruko   Es hora»                  Carbon Fiber, UMP, SonyATV, SMP, Farruko                                                      Copied Composition
Farruko   Fantasy                   SONY, SMP, SonyATV, Farruko                                                                   Copied Composition
Farruko   Fichurear                 SMP, Farruko                                                                                  Copied Composition
Farruko   Forever Alone             SMP, SonyATV, Carbon Fiber, Farruko                                                           Copied Composition
Farruko   Fuego                     Carbon Fiber, SMP, Farruko, El Micha                                                          Copied Composition
Farruko   GATAS, BOCINAS & BAJO     SMP, SonyATV, Farruko                                                                         Copied Composition
Farruko   Ganas                     SMP, SonyATV, Farruko                                                                         Copied Composition
Farruko   GangaXtrip                SONY, SMP, SonyATV, Farruko                                                                   Copied Composition
Farruko   Get Together              Carbon Fiber, SMP, Farruko                                                                    Copied Composition
Farruko   GUILLAO                   Carbon Fiber, SMP, Farruko, Daddy Yankee                                                      Copied Composition
Farruko   Hacerte El Amor           Carbon Fiber, SMP, Farruko, Musicologo & Menes                                                Copied Composition
Farruko   Hola Beba                 SMP, SonyATV, Kobalt, Farruko                                                                 Copied Composition
Farruko   Hoy                       SMP, SonyATV, UMP, Farruko                                                                    Copied Composition
Farruko   Illusion                  SONY, SMP, SonyATV, Warner, Farruko                                                           Copied Composition
Farruko   Inolvidable               Carbon Fiber, SONY, SMP, SonyATV, UMP, Farruko, Dimelo Flow                                   Copied Composition
Farruko   Interesada                Carbon Fiber, SMP, Sony ATV, Farruko                                                          Copied Composition
Farruko   Intimidad                 SONY, SMP, SonyATV, Warner, Farruko                                                           Copied Composition
Farruko   La Cartera                SONY, SMP, UMP, Farruko, Bad Bunny, Dimelo Flow                                               Copied Composition
Farruko   La Noche Es Mia           Carbon Fiber, Farruko                                                                         Copied Composition
Farruko   La Nueva Gerencia         Carbon Fiber, Farruko                                                                         Copied Composition
Farruko   La Tóxica                 SONY, SMP, SonyATV, Kobalt, UMP, Farruko                                                      Copied Composition
Farruko   lejos de aquí             Carbon Fiber, SMP, SonyATV, Warner, Farruko                                                   Copied Composition
Farruko   Me trancaro               SONY, Farruko                                                                                 Copied Composition
Farruko   Menor                     Carbon Fiber, Farruko                                                                         Copied Composition
Farruko   Mi Vida No Va A Cambiar   Carbon Fiber, SonyATV, Farruko, Arcángel                                                      Copied Composition
Farruko   Miro El Reloj             Carbon Fiber, Farruko                                                                         Copied Composition
Farruko   MÚSICA                    SONY, Hear This Music, Rimas, Farruko, Myke Towers, Arcangel, Wisin, Dj Luian, Mambo, Kingz   Copied Composition
Farruko   Nadie                     SONY, Carbon Fiber, Kobalt, UMP, SonyATV, Farruko, Sharo Towers                               Copied Composition
Farruko   Nena Fichu                Carbon Fiber, Farruko                                                                         Copied Composition
Farruko   No Es Una Gial            SMP, SonyATV, Farruko, De La Ghetto                                                           Copied Composition
Farruko   No Quiere Saber           UMG, Carbon Fiber, Farruko, Zion, Lennox                                                      Copied Composition
Farruko   No Soy                    UMG, Carbon Fiber, Farruko, Nicky Jam                                                         Copied Composition
Farruko   Obsesionado               SONY, SMP, SonyATV, UMP, Farruko                                                              Copied Composition
Farruko   Pa' Darle                 UMG, Carbon Fiber, Farruko                                                                    Copied Composition
Farruko   Pa' Romper La Discoteca   SMP, SonyATV, Farruko, Daddy Yankee                                                           Copied Composition
Farruko   Papi Champú               SONY, SMP, SonyATV, Farruko                                                                   Copied Composition
Farruko   Paredes De Hielo          Carbon Fiber, SonyATV, Farruko                                                                Copied Composition
Farruko   Passion Whine             UMP, Carbon Fiber, SonyATV, Warner, SMP, Farruko                                              Copied Composition
Farruko   Pasto y pelea             SONY, Rimas, SonyATV, Farruko                                                                 Copied Composition
Farruko   Piquete                   Carbon Fiber, SonyATV, SMP, Farruko                                                           Copied Composition
Farruko   Pórtate Mal               SONY, Carbon Fiber, SMP, SonyATV, Kobalt, Warner, Farruko, Jumbo                              Copied Composition
Farruko   Power                     SONY, SMP, SonyATV, Farruko                                                                   Copied Composition
Farruko   Pura Falsedad             SONY, Rimas, SonyATV, Farruko, DJ Luian, Justin Quiles                                        Copied Composition
Farruko   Qué Hay de Malo           Carbon Fiber, SONY, SMP, SonyATV, Farruko, Sharo Towers                                       Copied Composition
Farruko   Quédate                   SONY, SMP, SonyATV, UMP, Farruko                                                              Copied Composition
Farruko   RaPaPam                   Carbon Fiber, SONY, SMP, SonyATV, Farruko                                                     Copied Composition
Farruko   Recordarte                Carbon Fiber, UMG, Farruko, De La Ghetto, DJ Luian, Jumbo                                     Copied Composition
Farruko   Resort                    SONY, Carbon Fiber, SMP, SonyATV, UMP, Farruko, Manuel Turizo                                 Copied Composition
Farruko   Roatán                    SONY, SMP, SonyATV, PeerMusic, Farruko                                                        Copied Composition
Farruko   Rompe el Suelo            SONY, SMP, SonyATV, UMP, Farruko                                                              Copied Composition
                                 Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 10 of 33 Page ID
                                                                   #:2725

Farruko         Salgo                           Carbon Fiber, SONY, SMP, SonyATV, UMP, Kobalt, Farruko, Arcangel                        Copied Composition
Farruko         Sin Ti                          Farruko, Musicologico, Menes                                                            Copied Composition
Farruko         Sorpresa                        SONY, SMP, SonyATV, Farruko                                                             Copied Composition
Farruko         Suéltate Tú                     SONY, SMP, SonyATV, UMP, Farruko                                                        Copied Composition
Farruko         Te Iré a Buscar»                Carbon Fiber, SONY, SMP, SonyATV, Farruko, Sharo Towers,                                Copied Composition
Farruko         Te suelto el pelo               SONY, Farruko                                                                           Copied Composition
Farruko         Te Va A Doler                   SONY, SMP, SonyATV, Warner, Farruko                                                     Copied Composition
Farruko         Tensión                         SONY, SMP, SonyATV, Farruko, Zion, Lennox, Dimelo Flow                                  Copied Composition
Farruko         Tiempos                         SMP, SonyATV, Warner, Farruko, Musicologo & Menes                                       Copied Composition
Farruko         Titerito                        Carbon Fiber, UMP, SMP, SonyATV, Kobalt, Farruko, Urba                                  Copied Composition
Farruko         Todo Cambio                     El Cartel, Farruko                                                                      Copied Composition
Farruko         Traime a tu Amiga (Remix)       Carbon Fiber, SONY, SMP, SonyATV, Farruko, O'Neill, Arcangel                            Copied Composition
Farruko         "TrapXFicante" (RIP Almighty)   Carbon Fiber, SMP, UMP, Farruko                                                         Copied Composition
Farruko         Una lágrima                     SONY, Farruko                                                                           Copied Composition
Farruko         Va a toa»                       Carbon Fiber, SMP, SonyATV, Farruko, Sharo Towers, Musicólogo & Menes                   Copied Composition
Farruko         Visionary                       SONY, Carbon Fiber, SMP, SonyATV, UMP, Farruko, Subelo NEO                              Copied Composition
Farruko         Voy A 100                       Carbon Fiber, SMP, SonyATV, Farruko, Musicologo & Menes                                 Copied Composition
Farruko         Web Cam                         Carbon Fiber, SMP, SonyATV, Farruko                                                     Copied Composition
Farruko         XOXA                            Carbon Fiber, SMP, SonyATV, Farruko, El Alfa                                            Copied Composition

Feid            911                             UMG, Warner, UMP, Kobalt, Feid, Sky                                                     Copied Composition
Feid            BORRAXXA                        UMG, SonyATV, SMP, SOLAR, Feid, Sky, Manuel Turizo                                      Copied Composition
Feid            CHIMBITA                        UMG, Warner, UMP, SMP, Feid, Sky                                                        Copied Composition
Feid            Feliz Cumpleaños Ferxxo         UMG, Feid, Sky                                                                          Copied Composition
Feid            FERXXO X ÑEJO                   UMG, UMP, Feid                                                                          Copied Composition
Feid            Ferxxo 100                      UMG, UMP, Feid                                                                          Copied Composition
Feid            FRESH KERIAS                    UMG, Warner, UMP, SMP, SOLAR, Feid, Sky, Maluma                                         Copied Composition
Feid            FRIKI                           UMG, SonyATV, SMP, SOLAR, Kobalt, Feid, Karol G                                         Copied Composition
Feid            FUMETEO                         UMG, UMP, SMP, Feid, Sky                                                                Copied Composition
Feid            Normal                          UMG, UMP, SMP, Feid, Sky                                                                Copied Composition
Feid            Nuestra Canción                 UMG, UMP, Feid                                                                          Copied Composition
Feid            Perfecta                        UMG, SonyATV, SMP, Warner, Kobalt, SOLAR, Feid, Greeicy                                 Copied Composition
Feid            Porfa                           UMG, UMP, Warner, Feid                                                                  Copied Composition
Feid            PORFA (Remix)                   UMG, UMP, Warner, SMP, Kobalt, Feid, Sech, J Balvin, Maluma, Nicky Jam, Justin Quiles   Copied Composition
Feid            PURRITO APA                     UMG, SonyATV, SMP, UMP, SOLAR, Feid, Sky                                                Copied Composition
Feid            Que Raro                        UMG, Warner, UMP, Kobalt, Feid, Sky, J Balvin                                           Copied Composition
Feid            RELXJXTE                        UMG, Warner, Feid, Sky                                                                  Copied Composition
Feid            Ron (Remix)                     UMG, Warner, Feid, Dalex, Dimelo Flow, Sech, Rike Music                                 Copied Composition
Feid            SI TÚ SUPIERAS                  UMG, UMP, SMP, Feid                                                                     Copied Composition
Feid            VACAXIONES                      UMG, UMP, Feid                                                                          Copied Composition
Feid            XNTXS                           UMG, UMP, Feid                                                                          Copied Composition

Gente de Zona   Algo Contigo                    SONY, SMP, SonyATV, UMP, Gente de Zona, Motiff                                          Copied Composition
Gente de Zona   El Mentiroso                    SONY, SMP, SonyATV, SOLAR, Warner, Gente de Zona, Silvestre Dangond, Andy Clay          Copied Composition
Gente de Zona   Hazle Completo El Cuento        SONY, Peermusic, Kobalt, Gente de Zona, El Micha                                        Copied Composition
Gente de Zona   La Gozadera                     SONY, SMP, SonyATV, UMP, SOLAR, Gente de Zona, Motiff, Marc Anthony                     Copied Composition
Gente de Zona   La Tentación                    SONY, SMP, SonyATV, Kobalt, Gente de Zona, Motiff                                       Copied Composition
Gente de Zona   Lo Que Tú y Yo Vivimos          SONY, SMP, SonyATV, Gente de Zona                                                       Copied Composition
Gente de Zona   Loco Loco                       SONY, Pulse, Gente de Zona                                                              Copied Composition
Gente de Zona   Mas Macarena                    SONY, SMP, SonyATV, SOLAR, Warner, Gente de Zona, Motiff                                Copied Composition
Gente de Zona   Me Da Lo Mismo                  SONY, Pulse, Gente de Zona                                                              Copied Composition
Gente de Zona   Momento                         SONY, SMP, SonyATV, SOLAR, Peermusic, Pulse, Gente de Zona                              Copied Composition
Gente de Zona   No te dejo sola                 SONY, SMP, SonyATV, SOLAR, Pulse, Gente de Zona, Motiff                                 Copied Composition
Gente de Zona   Otra Botella                    SONY, SMP, SonyATV, SOLAR, Royalty, Gente de Zona, Motiff                               Copied Composition
Gente de Zona   Poquito a Poco                  SONY, Warner, Gente de Zona, Motiff, Zion, Lennox                                       Copied Composition
Gente de Zona   Que Tú Quieres                  SONY, SMP, SonyATV, SOLAR, Gente de Zona, Motiff                                        Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 11 of 33 Page ID
                                                                     #:2726

Gente de Zona   Quiero Conocerte               SONY, Kobalt, Pulse, Gente de Zona                                                         Copied Composition
Gente de Zona   Seré                           SONY, Kobalt, Peermusic, UMP, Gente de Zona                                                Copied Composition
Gente de Zona   Si No Vuelves                  SONY, SMP, SonyATV, SOLAR, Pulse, Gente de Zona, Motiff                                    Copied Composition
Gente de Zona   Tan Buena                      SONY, SMP, SonyATV, SOLAR, Warner, Gente de Zona, Mau y Ricky                              Copied Composition
Gente de Zona   Te Duele                       SONY, SMP, SonyATV, SOLAR, Pulse, Gente de Zona                                            Copied Composition
Gente de Zona   Traidora                       SONY, SMP, SonyATV, SOLAR, Gente de Zona, Motiff, Marc Anthony                             Copied Composition
Gente de Zona   Tu y Yo                        SONY, SMP, Peermusic, UMP, Gente de Zona                                                   Copied Composition

Greeicy         A Mí No                        UMG, UMP, Warner, SMP, Greeicy, Mike Bahia                                                 Sample that copies composition and copied composition
Greeicy         Aguardiente                    UMG, Warner, Greeicy, El Dandee, Andres Torres                                             Copied Composition
Greeicy         Amantes                        UMG, Warner, Greeicy, Mike Bahia                                                           Copied Composition
Greeicy         Contigo                        UMG, UMP, Warner, SMP, Greeicy                                                             Copied Composition
Greeicy         Cuando te vi                   UMG, SMP, Warner, SonyATV, SOLAR, Greeicy, El Dandee, Andres Torres                        Sample that copies composition and copied composition
Greeicy         Destino                        UMG, UMP, Warner, Peermusic, Greeicy, Mike Bahia, El Dandee, Andres Torres, Nacho          Sample that copies composition and copied composition
Greeicy         Error                          UMP, Warner, Greeicy                                                                       Copied Composition
Greeicy         Ganas                          UMG, UMP, Warner, Kobalt, Greeicy                                                          Copied Composition
Greeicy         Jacuzzi                        UMG, SMP, Warner, SonyATV, SOLAR, Greeicy, Anitta                                          Sample that copies composition and copied composition
Greeicy         Los Besos                      UMG, SMP, Warner, SonyATV, SOLAR, Greeicy, Mike Bahia                                      Copied Composition
Greeicy         Los Consejos                   UMG, SMP, Warner, SonyATV, SOLAR, Greeicy, Mike Bahia, El Dandee, Andres Torres            Copied Composition
Greeicy         Más Fuerte                     UMG, UMP, Warner, Greeicy, Mike Bahia                                                      Copied Composition
Greeicy         Menos De Ti                    UMG, Warner, Greeicy                                                                       Copied Composition
Greeicy         Mentira                        UMG, Warner, Greeicy, Sky                                                                  Copied Composition
Greeicy         Minifalda                      UMG, SMP, Warner, SonyATV, SOLAR, Greeicy, Mike Bahia, El Dandee, Andres Torres, Juanes    Copied Composition
Greeicy         Tóxico                         UMG, Warner, Greeicy, El Dandee, Andres Torres                                             Copied Composition

Ivy Queen       Amor Puro                      Machete, UMG, Vydia, SOLAR, SonyATV, Concord, SMP, Ivy Queen                               Copied Composition
Ivy Queen       La Vida Es Así                 Machete, SOLAR, SonyATV, SMP, Ivy Queen, Tainy, Luny                                       Copied Composition
Ivy Queen       Te He Querido, Te He Llorado   Machete, UMG, Vydia, SOLAR, SonyATV, Concord, SMP, Ivy Queen, Luny Tunes                   Copied Composition
Ivy Queen       Yo Quiero Bailar               UMG, Ivy Queen                                                                             Copied Composition
Ivy Queen       Yo Quiero Saber                UMG, Ivy Queen, DJ Nelson, Luny Tunes                                                      Copied Composition

J Balvin        6AM                            UMG, SONY, SonyATV, SMP, UMP, J Balvin, Farruko, Yandel, Sky                               Copied Composition
J Balvin        Abrázame                       UMG, EMI, J Balvin                                                                         Sample that copies composition and copied composition
J Balvin        Abusadora                      UMG, EMI, J Balvin                                                                         Copied Composition
J Balvin        Acércate                       UMG, Kobalt, SonyATV, SMP, UMP, Warner, J Balvin, Sky, Yandel                              Copied Composition
J Balvin        Agua                           UMG, Kobalt, SonyATV, SMP, UMP, Warner, Nickelodeon, J Balvin, Sky, Yandel, Tainy          Copied Composition
J Balvin        Ahora                          UMG, SonyATV, SMP, UMP, Tainy, Sky, Jhay Cortez, J Balvin                                  Copied Composition
J Balvin        Amarillo                       UMG, Warner, PeerMusic, Warner, UMP, J Balvin, Sky, DJ Snake, Afro Bros,                   Copied Composition
J Balvin        Ambiente                       UMG, SonyATV, SMP, UMP, Warner, Tainy, Sky, J Balvin, Justin Quiles                        Copied Composition
J Balvin        Arcoíris                       UMG, Kobalt, SonyATV, SMP, UMP, Warner, Sky, J Balvin                                      Copied Composition
J Balvin        Ay Vamos                       Kobalt, UMP, Warner, J Balvin, Sky                                                         Copied Composition
J Balvin        Azul                           UMG, Kobalt, SonyATV, SMP, UMP, Warner, J Balvin, Sky, Justin Quiles                       Copied Composition
J Balvin        Bajo La Luna                   UMG, UMP, J Balvin, Urba                                                                   Sample that copies composition and copied composition
J Balvin        Blanco                         UMG, Warner, UMP, Sky, J Balvin, Michael Brun                                              Copied Composition
J Balvin        Bobo                           UMG, Kobalt, UMP, Warner, J Balvin, Sky                                                    Copied Composition
J Balvin        Bonita Remix                   UMG, Rimas, Warner, SMP, SonyATV, Kobalt, UMP, J Balvin, Nicky Jam, Wisin, Yandel, Ozuna   Copied Composition
J Balvin        Bonita                         UMG, Rimas, SMP, SonyATV, Warner, UMP, J Balvin, Sky                                       Copied Composition
J Balvin        Como Un Animal                 UMG, UMP, J Balvin                                                                         Copied Composition
J Balvin        Como Yo                        UMG, UMP, J Balvin                                                                         Sample that copies composition and copied composition
J Balvin        Con Flow Mátalo                SonyATV, Warner, UMP, J Balvin, Maluma                                                     Sample that copies composition and copied composition
J Balvin        Cuando Tú Quieras              UMG, Warner, SMP, SonyATV, UMP, Tainy, Sky, J Balvin, Jhay Cortez                          Copied Composition
J Balvin        CUIDAO POR AHÍ                 UML, Rimas, SMP, SonyATV, UMP, Warner, Tainy, Bad Bunny, J Balvin, Jhay Cortez             Copied Composition
J Balvin        Dame mas                       UMG-EMI Columbia, UMP, Sony ATV, SMP, J Balvin                                             Copied Composition
J Balvin        Déjate Llevar                  UML, UMP, Urba, J Balvin                                                                   Sample that copies composition and copied composition
J Balvin        Desnúdate                      UMG, UMP, J Balvin                                                                         Copied Composition
J Balvin        Dónde Estarás                  UML, UMP, Tainy, Sky, J Balvin                                                             Copied Composition
                                Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 12 of 33 Page ID
                                                                  #:2727

J Balvin       Ella me cautivo                    UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       En Lo Oscuro                       UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Éxtasis                            UMG-EMI Columbia, UMP, J Balvin                                                             Copied Composition
J Balvin       Ginza                              UMG, SMP, UMP, J Balvin, Sky, Feid                                                          Copied Composition
J Balvin       Gris                               UMG, Warner, UMP, SonyATV, SMP, Sky, J Balvin                                               Copied Composition
J Balvin       Hola                               UMG, Kobalt, Warner, UMP, J Balvin, Sky                                                     Copied Composition
J Balvin       Hola que tal                       UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Imaginándote                       UMG, UMP, J Balvin, Sky                                                                     Copied Composition
J Balvin       LA CANCIÓN                         UML, Rimas, UMP, SonyATV, SMP, Warner, Sky, Bad Bunny, J Balvin, Tainy                      Copied Composition
J Balvin       La Venganza                        UMG, UMP, Warner, SMP, J Balvin, Sky, Jhay Cortez                                           Copied Composition
J Balvin       Machika                            UML, UMP, SonyATV, SMP, Warner, Tainy, Sky, J Balvin, Anitta                                Copied Composition
J Balvin       Malvada                            UMG, Warner, UMP, Kobalt, Warner, J Balvin, Sky                                             Copied Composition
J Balvin       Mami                               UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Me Gustas Tú                       UMG, UMP, Kobalt, SMP, J Balvin                                                             Copied Composition
J Balvin       Mi Corazón                         UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Mi Gente                           UMG-UML, J Balvin                                                                           Copied Composition
J Balvin       MOJAITA                            UML, Rimas, UMP, Warner, Sky, Bad Bunny, J Balvin                                           Copied Composition
J Balvin       Morado                             UMG, Warner, UMP, Sky, J Balvin                                                             Copied Composition
J Balvin       Negro                              UMG, UMP, SonyATV, Sky, J Balvin                                                            Copied Composition
J Balvin       Nivel De Perreo                    UMG, SonyATV, J Blavin                                                                      Copied Composition
J Balvin       No Es Justo                        UML, UMP, SonyATV, SMP, Warner, J Balvin, Zion, Lennox, Tainy, Sky, Jhay Cortez, Tainy      Copied Composition
J Balvin       Noche de pasión                    UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Noches Pasadas                     UML, UMP, Warner, SMP, J Balvin, Tainy, Sky, Jhay Cortez                                    Copied Composition
J Balvin       Peligrosa                          UML, UMP, SonyATV, SMP, Warner, Kobalt, J. Balvin, Wisin, Yandel, Gaby Music, Chris Jeday   Copied Composition
J Balvin       Pierde Los Modales                 UMG, Kobalt, Warner, UMP, SonyATV, J Balvin, Sky, Daddy Yankee                              Copied Composition
J Balvin       Poblado                            UMG, Sky, Justin Quiles, J.Balvin, Karol G, Nicky Jam                                       Copied Composition
J Balvin       Por un día                         UMG, Kobalt, Warner, UMP, J Balvin, Sky, Justin Quiles                                      Copied Composition
J Balvin       Porque Tu                          UMG, UMP, J Balvin, Sky                                                                     Copied Composition
J Balvin       Primera cita                       UMG, Kobalt, Warner, UMP, J Balvin, Sky, Justin Quiles                                      Copied Composition
J Balvin       Qué Más Pues?                      UML, SonyATV, SMP, UMP, J. Balvin                                                           Copied Composition
J Balvin       QUE PRETENDES                      UML, Rimas, UMP, Warner, Sky, Bad Bunny, J Balvin                                           Copied Composition
J Balvin       Reggaeton                          UML, UMP, Warner, SMP, J Balvin, Tainy, Sky, Jhay Cortez                                    Copied Composition
J Balvin       Rojo                               UMG, Kobalt, UMP, Warner, Sky, J Balvin, Justin Quiles                                      Copied Composition
J Balvin       Rosa                               UMG, Warner, UMP, Sky, Diplo, J Balvin                                                      Copied Composition
J Balvin       Safari                             UML, UMP, Warner, SMP, Concord, J Balvin, Sky                                               Copied Composition
J Balvin       Seguiré Subiendo                   UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Sigo Extrañándote                  UMG, Kobalt, Warner, UMP, J Balvin, Sky, Feid                                               Copied Composition
J Balvin       SIN COMPROMISO                     UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Solitario                          UMG, Kobalt, Warner, UMP, J Balvin, Sky, Justin Quiles                                      Copied Composition
J Balvin       Ten Cuidado (Pokémon 25 Version)   UMG, SMP, UMP, J Balvin, Tainy                                                              Copied Composition
J Balvin       Tranquila                          UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Tú Tienes Algo                     UMG, Warner, UMP, J Balvin, Sky                                                             Copied Composition
J Balvin       Tu Veneno                          UMG, SMP, SonyATV, UMP, J Balvin, Sky                                                       Copied Composition
J Balvin       UN DIA (ONE DAY)                   UMG, SMP, SonyATV, UMP, Kobalt, J. Balvin, Dua Lipa, Bad Bunny, Tainy                       Copied Composition
J Balvin       UN PESO                            UMG, Rimas, UMP, Warner, Sky, Bad Bunny, J Balvin                                           Copied Composition
J Balvin       Un Sueño                           UMG, UMP, J Balvin                                                                          Copied Composition
J Balvin       Una Nota                           UMG, SonyATV, UMP, SMP, J Balvin, Sech, Sky, Tainy                                          Copied Composition
J Balvin       Verde                              UMG, SonyATV, SMP, UMP, Warner, Sky, J Balvin                                               Copied Composition
J Balvin       Vestido                            UMG-Suenos, Kobalt, SMP, SonyATV, J Balvin                                                  Copied Composition
J Balvin       Yo Te Lo Dije                      UMG, UMP, J Balvin                                                                          Copied Composition

Jason Derulo   Colors                             WARNER, UMP, Kobalt, SonyATV, Jason Derulo, Maluma                                          Copied Composition
Jason Derulo   Goodbye                            WARNER, SMP, SonyATV, UMP, PeerMusic, Jason Derulo, David Guetta, Nicki Minaj               Copied Composition
Jason Derulo   Love Not War                       SONY, Kobalt, UMP, Warner, Kobalt, Jason Derulo                                             Copied Composition
Jason Derulo   Mamacita                           WARNER, Hipgnosis, UMP, PeerMusic, Concord, Warner, Jason Derulo, Farruko, Danny Ocean      Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 13 of 33 Page ID
                                                                     #:2728

Jawsh 685       Laxed (SIREN BEAT)                 SONY, SMP, SonyATV, PeerMusic, Jawsh 685                                                        Copied Composition
Jawsh 685       Savage Love (Laxed - Siren Beat)   SONY, SMP, SonyATV, PeerMusic, Jawsh 685, Jason Derulo                                          Copied Composition
Jawsh 685       Sweet & Sour                       SONY, SMP, SonyATV, PeerMusic, Kobalt, Jawsh 685, Tyga, Lauv                                    Copied Composition

Jay Wheeler     Cuando Fue                         Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson, Feid                                 Copied Composition
Jay Wheeler     Cuéntale                           Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson, Nio Garcia                           Copied Composition
Jay Wheeler     Esa Nota                           Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson, Dalex                                Copied Composition
Jay Wheeler     Fuiste Tu                          Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson                                       Copied Composition
Jay Wheeler     La Curiosidad                      Empire, Flow, SOLAR, SMP, SonyATV, Peermusic, Jay Wheeler, DJ Nelson, Myke Towers               Copied Composition
Jay Wheeler     Nada Serio                         Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson, Casper Magico                        Copied Composition
Jay Wheeler     Otra Noche Más                     SONY, Empire, Flow, SOLAR, Concord, Jay Wheeler, DJ Nelson                                      Copied Composition
Jay Wheeler     Otra Noche Más                     Empire, Flow, SOLAR, SMP, SonyATV, Warner, Jay Wheeler, DJ Nelson, Farruko                      Copied Composition
Jay Wheeler     Se Rebeló                          Empire, Flow, SOLAR, SMP, SonyATV, Warner, Jay Wheeler, DJ Nelson                               Copied Composition
Jay Wheeler     Sin Ti                             Empire, Flow, SOLAR, SMP, SonyATV, Kobalt, Jay Wheeler, DJ Nelson                               Copied Composition
Jay Wheeler     Viendo El Techo                    Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson                                       Copied Composition
Jay Wheeler     Vivir                              Empire, Flow, SOLAR, SMP, SonyATV, Jay Wheeler, DJ Nelson                                       Copied Composition

Jhay Cortez     Apaga Las Luces                    UMG, Warner, Jhay Cortez, Sky                                                                   Copied Composition
Jhay Cortez     Christian Dior                     UMG, SonyATV, Warner, SMP, UMP, Jhay Cortez, Tainy, DJ Nelson                                   Copied Composition
Jhay Cortez     Como Se Siente                     UMG, SonyATV, Warner, SMP, Jhay Cortez, Tainy                                                   Copied Composition
Jhay Cortez     CÓMO SE SIENTE (Remix)             UMG, SonyATV, Warner, SMP, UMP, Jhay Cortez, Tainy, Bad Bunny                                   Copied Composition
Jhay Cortez     Cuando Bebe                        UMG, Warner, Jhay Cortez                                                                        Copied Composition
Jhay Cortez     Dale Como Es                       UMG, SonyATV, SMP, Jhay Cortez, Tainy                                                           Copied Composition
Jhay Cortez     Deséame Suerte                     UMG, Warner, Kobalt, SonyATV, SMP, Jhay Cortez, KAROL G                                         Copied Composition
Jhay Cortez     Deseos                             UMG, SonyATV, SMP, Warner, Jhay Cortez                                                          Copied Composition
Jhay Cortez     Deseos (Remix)                     UMG, SonyATV, SMP, Warner, Jhay Cortez, Nio Garcia, Casper Magico                               Copied Composition
Jhay Cortez     Dile (Homenaje)                    UMG, UMP, Warner, Jhay Cortez, Haze                                                             Copied Composition
Jhay Cortez     Dime A Ve                          UMG, SonyATV, SMP, Warner, Kobalt, UMP, Jhay Cortez, Hydro, DJ Luian, Mambo Kingz               Copied Composition
Jhay Cortez     Donde No Se Vea                    UMG, SonyATV, SMP, Warner, Jhay Cortez                                                          Copied Composition
Jhay Cortez     Easy (Remix)                       UMG, Warner, Jhay Cortez, Ozuna                                                                 Copied Composition
Jhay Cortez     Easy                               UMG, Warner, Kobalt, Jhay Cortez                                                                Copied Composition
Jhay Cortez     Esta Dejá                          UMG, SonyATV, SMP, Jhay Cortez, Tainy                                                           Copied Composition
Jhay Cortez     Imaginaste (Remix)                 UMG, Warner, SonyATV, Jhay Cortez, Wisin & Yandel, Tainy                                        Copied Composition
Jhay Cortez     Ley Seca                           UMG, SonyATV, SMP, Jhay Cortez, Tainy, Anuel AA                                                 Copied Composition
Jhay Cortez     Los Rompediskoteca                 UMG, Warner, Kobalt, Jhay Cortez                                                                Copied Composition
Jhay Cortez     Más De Una                         UMG, Warner, UMP, Jhay Cortez                                                                   Copied Composition
Jhay Cortez     Mi Vicio                           UMG, Warner, UMP, SMP, Jhay Cortez                                                              Copied Composition
Jhay Cortez     No Me Conoce (Remix)               UMG, Pulse, UMP, Kobalt, Warner, Rimas, Jhay Cortez, J. Balvin, Bad Bunny                       Copied Composition
Jhay Cortez     Popular                            UMG, Warner, SonyATV, SMP, Jhay Cortez, Tainy                                                   Copied Composition
Jhay Cortez     Ropa Interior                      UMG, SMP, Warner, Jhay Cortez                                                                   Copied Composition
Jhay Cortez     Somos Iguales                      UMG, SonyATV, SONY, SMP, Warner, Jhay Cortez, Zion, Lennox, Sky                                 Copied Composition
Jhay Cortez     Tocarte                            UMG, Warner, Jhay Cortez                                                                        Copied Composition
Jhay Cortez     Y No Le Conviene                   UMG, Warner, SonyATV, SMP, Jhay Cortez                                                          Copied Composition

Justin Quiles   Apretón                            WARNER, Kobalt, SOLAR, SMP, Justin Quiles, Lenny Tavarez, Dalex, Dimelo Flow, Slow Mike         Copied Composition
Justin Quiles   Colorín Colorado                   WARNER, SMP, SonyATV, Kobalt, SOLAR, Justin Quiles, Slow Mike, Dimelo Flow                      Copied Composition
Justin Quiles   Comerte A Besos                    WARNER, SMP, SonyATV, UMP, SOLAR, Justin Quiles, Dimelo Flow, Wisin, Nicky Jam                  Copied Composition
Justin Quiles   Como Si Nah                        WARNER, Kobalt, Justin Quiles, Dimelo Flow, Dalex                                               Copied Composition
Justin Quiles   Confusión                          WARNER, Rich Music, UMP, Peermusic, Justin Quiles                                               Copied Composition
Justin Quiles   Contradicción                      WARNER, Rich Music, Kobalt, Justin Quiles, Sech, Dimelo Flow                                    Copied Composition
Justin Quiles   Cuando Salgo                       Rimas, UMP, Justin Quiles                                                                       Copied Composition
Justin Quiles   Desaparecida                       Rimas, UMP, Cinq, Justin Quiles, Subelo NEO                                                     Copied Composition
Justin Quiles   DJ No Pare                         WARNER, Kobalt, UMP, Justin Quiles, Dimelo Flow                                                 Copied Composition
                                                   WARNER, Kobalt, UMP, SonyATV, SMP, SOLAR, Justin Quiles, Dimelo Flow, Natti Natasha, Farruko,
Justin Quiles   DJ No Pare REMIX                   Zion, Dalex, Lenny Tavárez                                                                      Copied Composition
Justin Quiles   Dos Locos                          Rich Music, Justin Quiles                                                                       Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 14 of 33 Page ID
                                                                     #:2729

Justin Quiles   Egoista                        WARNER, Rich Music, UMP, Justin Quiles                                                   Copied Composition
Justin Quiles   El Party Se Formó              Rimas, UMP, Cinq, Justin Quiles, Subelo NEO                                              Copied Composition
Justin Quiles   Esta Noche                     Rich Music, UMP, Justin Quiles, Farruko                                                  Copied Composition
Justin Quiles   Esta Noche                     Rich Music, UMP, Justin Quiles                                                           Copied Composition
Justin Quiles   Fin De Semana                  WARNER, Rich Music, UMP, Peermusic, Justin Quiles                                        Copied Composition
Justin Quiles   Gladiadora                     Rimas, UMP, Cinq, Justin Quiles, Subelo NEO                                              Copied Composition
Justin Quiles   Hombre Cómo Yo                 Rimas, UMP, Cinq, Justin Quiles, Dimelo Flow, Dalex                                      Copied Composition
Justin Quiles   Honestamente                   Rimas, UMP, Cinq, Justin Quiles                                                          Copied Composition
Justin Quiles   Impulsivo                      WARNER, UMP, Justin Quiles, Sky, Manuel Turizo                                           Copied Composition
Justin Quiles   Instagram                      WARNER, Rich Music, UMP, Peermusic, Justin Quiles                                        Copied Composition
Justin Quiles   Jeans                          WARNER, SMP, SonyATV, Kobalt, UMP, SOLAR, Justin Quiles, Slow Mike, Dimelo Flow          Copied Composition
Justin Quiles   La Amiga                       WARNER, Rich Music, UMP, Justin Quiles                                                   Copied Composition
Justin Quiles   La Botella                     WARNER, Kobalt, SOLAR, SMP, Justin Quiles, Maluma, Ovy On The Drums                      Copied Composition
Justin Quiles   Leyenda                        WARNER, UMP, Justin Quiles, Dimelo Flow                                                  Copied Composition
Justin Quiles   Loco                           WARNER, Rich Music, Kobalt, SonyATV, SMP, Justin Quiles, Zion, Lennox                    Copied Composition
Justin Quiles   Me Curare                      UMG, Rich Music, SonyATV, UMP, Sky, Justin Quiles                                        Copied Composition
Justin Quiles   Me Frontió                     Rich Music, Warner, UMP, Justin Quiles, Symon Dice, Dimelo Flow                          Copied Composition
Justin Quiles   Mi Maldicion                   Rich Music, Justin Quiles                                                                Copied Composition
Justin Quiles   Monstruo                       WARNER, UMP, Justin Quiles, Tainy, Dimelo Flow                                           Copied Composition
Justin Quiles   No Descanses                   WARNER, UMP, Justin Quiles                                                               Copied Composition
Justin Quiles   No es de Hombre                WARNER, Rich Music, UMP, SMP, Justin Quiles, Dimelo Flow                                 Copied Composition
Justin Quiles   No La Toques                   Rich Music, Justin Quiles                                                                Copied Composition
Justin Quiles   No Quiero Amarte               WARNER, UMP, SonyATV, SMP, Justin Quiles, Zion, Lennox, Dimelo Flow                      Copied Composition
Justin Quiles   No Respondo                    WARNER, Rich Music, UMP, Peermusic, Justin Quiles                                        Copied Composition
Justin Quiles   Nos Envidian                   Rich Music, Justin Quiles                                                                Copied Composition
Justin Quiles   Ocean Park                     Rimas, UMP, Cinq, Justin Quiles, Subelo NEO                                              Copied Composition
Justin Quiles   Orgullo                        UMG, Warner, Rich Music, UMP, Peermusic, Justin Quiles                                   Copied Composition
Justin Quiles   Orgullo Ft. J Balvin (Remix)   UMG, Rich Music, UMP, Peermusic, Justin Quiles, J Balvin                                 Copied Composition
Justin Quiles   Otra Copa                      WARNER, Rich Music, UMP, Peermusic, Justin Quiles, Farruko                               Copied Composition
Justin Quiles   Otra Vez                       WARNER, UMP, Justin Quiles, Dimelo Flow                                                  Copied Composition
                                               WARNER, SMP, SonyATV, Kobalt, UMP, SOLAR, Justin Quiles, Slow Mike, Dimelo Flow, Daddy
Justin Quiles   PAM                            Yankee, El Alfa                                                                          Copied Composition
Justin Quiles   Pendiente De Usted             WARNER, UMP, Justin Quiles, Dimelo Flow                                                  Copied Composition
Justin Quiles   Ponte Pa' Mi                   WARNER, Rich Music, Kobalt, UMP, Justin Quiles, Dimelo Flow                              Copied Composition
Justin Quiles   Quítate Eso                    WARNER, Kobalt, Justin Quiles, Dimelo Flow                                               Copied Composition
Justin Quiles   Rabia                          Rich Music, Justin Quiles                                                                Copied Composition
Justin Quiles   Ropa interior                  WARNER, UMP, Warner, Justin Quiles, Sky                                                  Copied Composition
Justin Quiles   Shorty                         WARNER, UMP, Justin Quiles                                                               Copied Composition
Justin Quiles   Se Te Olvidó                   WARNER, Rich Music, Kobalt, Justin Quiles, Dimelo Flow                                   Copied Composition
Justin Quiles   Si El Mundo Se Acabara         Rimas, UMP, Cinq, Justin Quiles                                                          Copied Composition
Justin Quiles   Si Ella Quisiera               WARNER, Rich Music, UMP, Justin Quiles                                                   Copied Composition
Justin Quiles   Si Tu                          UMG, Rich Music, UMP, Justin Quiles, Plan B, Dimelo Flow                                 Copied Composition
Justin Quiles   Sustancia                      Rich Music, Justin Quiles                                                                Copied Composition
Justin Quiles   Textos Sucios                  WARNER, Rich Music, Kobalt, UMP, Justin Quiles, Dimelo Flow                              Copied Composition
Justin Quiles   Tienes Razón                   WARNER, Rich Music, Kobalt, Justin Quiles, Dimelo Flow                                   Copied Composition
Justin Quiles   Un Rato                        Rimas, UMP, Cinq, Justin Quiles, Subelo NEO                                              Copied Composition
Justin Quiles   Vacaciones Por Tu Cuerpo       Rimas, UMP, Cinq, Justin Quiles, Subelo NEO                                              Copied Composition

Karol G         A Ella                         UMG, Warner, Kobalt, Karol G, Andrés Torres, El Dandee                                   Copied Composition
Karol G         A Solas                        UMG, Kobalt, Karol G, Ovy On The Drums                                                   Copied Composition
Karol G         ARRANCA PAL CARAJO             UMG, Kobalt, SonyATV, SMP, Warner, Karol G, Juanka, Bray, Ovy On The Drums               Sample that copies composition and copied composition
Karol G         Ay, DiOs Mío!                  UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums, Danny Ocean                        Copied Composition
Karol G         Bebesita                       UMG, Warner, Kobalt, UMP, Karol G, Chris Jeday, Gaby Music, Anuel AA                     Copied Composition
Karol G         BICHOTA                        UMG, Kobalt, Karol G, Ovy On The Drums, Justin Quiles, Lenny Tavarez, Anuel AA           Copied Composition
Karol G         Casi Nada                      UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums                                     Copied Composition
Karol G         CONTIGO VOY A MUERTE           UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums, Camilo                             Sample that copies composition and copied composition
                                     Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 15 of 33 Page ID
                                                                       #:2730

Karol G           Créeme                                UMG, SONY, Kobalt, SonyATV, SMP, Warner, Maluma                                                   Copied Composition
Karol G           DÉJALOS QUE MIREN                     UMG, Kobalt, Karol G, Ovy On The Drums, J Quiles, Lenny Tavarez                                   Copied Composition
Karol G           Dime                                  UMG, Kobalt, Karol G, Ovy On The Drum                                                             Copied Composition
Karol G           DVD                                   UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums, Danny Ocean, Anuel AA                       Copied Composition
Karol G           EL BARCO                              SMP, Warner, UMP, Kobalt, Karol G, Ovy On The Drums                                               Copied Composition
Karol G           EL MAKINON                            UMG, Kobalt, UMP, KAROL G, Subelo NEO                                                             Sample that copies composition and copied composition
Karol G           Eres Mi Todo                          UMG, Kobalt, SMP, Karol G, Kevin Roldan, Ovy on the Drums                                         Copied Composition
KarolG            GATÚBELA                              UMG, Kobalt, Karol G

Karol G           "Go Karo" Official Live Performance   UMG, Kobalt, Karol G, Ovy On The Drums                                                            Copied Composition
Karol G           Hello                                 UMG, Kobalt, Karol G, Ovy On The Drums, Ozuna                                                     Copied Composition
Karol G           La Dama                               UMG, Kobalt, Karol G, Ovy On The Drums                                                            Copied Composition
Karol G           La Vida Continuó                      SMP, Warner, UMP, Kobalt, Karol G, Ovy On The Drums                                               Copied Composition
Karol G           LEYENDAS                              UMG, Kobalt, SMP, SonyATV, Karol G, Ivy Queen, Zion, Lennox, Tainy, Wisin, Yandel                 Sample that copies composition and copied composition
Karol G           LOCATION                              UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums, J Balvin, Anuel AA                          Copied Composition
Karol G           Love With A Quality                   UMG, Kobalt, UMP, KAROL G, Ovy on the Drums                                                       Copied Composition
Karol G           Mi Cama (Remix)                       UMG, Kobalt, SMP, SonyATV, Karol G, Andy Clay, Rayito, Nicky Jam                                  Copied Composition
Karol G           Mi Cama                               UMG, Kobalt, SMP, SonyATV, Karol G, Andy Clay, Rayito                                             Copied Composition
Karol G           ODISEA                                UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums, Ozuna, Anuel AA                             Sample that copies composition and copied composition
Karol G           Pineapple                             UMG, Kobalt, SMP, SonyATV, Karol G, Sky                                                           Copied Composition
Karol G           Punto G                               UMG, Kobalt, SMP, SonyATV, Karol G, Andy Clay                                                     Copied Composition
Karol G           SEJODIOTO                             UMG, Kobalt, SMP, SonyATV, Karol G, Ovy On The Drums, J Quiles, Lenny Tavarez                     Copied Composition
Karol G           SOLA ES MEJOR                         UMG, Kobalt, UMP, Karol G, Ovy On The Drums                                                       Copied Composition
Karol G           Tusa                                  UMG, Kobalt, SMP, SonyATV, UMP, Karol G, Ovy On The Drums, Nicki Minaj                            Copied Composition
                                                        UMG, Kobalt, SMP, SonyATV, UMP, Karol G, Ovy On The Drums, Nicki Minaj, Bad Bunny, Anuel AA,
Karol G           Tusa (Remix)                          Ozuna, Daddy Yankee                                                                               Copied Composition
Karol G           Ya No Te Creo                         Karol G, Ovy on the Drums                                                                         Copied Composition

Lenny Tavárez     Fantasías                             SMP, UMP, SonyATV, Peermusic, Lenny Tavárez, Subelo NEO                                           Copied Composition
Lenny Tavárez     Fantasías Remix                       SMP, UMP, SonyATV, Lenny Tavárez, Subelo NEO, De La Ghetto                                        Copied Composition
Lenny Tavárez     Ímaginate                             SMP, UMP, SonyATV, Kobalt, Lenny Tavárez, Nicky Jam                                               Copied Composition
Lenny Tavárez     La Neta                               WARNER, SOLAR, SMP, SonyATV, Kobalt, Lenny Tavárez                                                Copied Composition
Lenny Tavárez     La Pared 360                          WARNER, SOLAR, SMP, SonyATV, Lenny Tavárez, Justin Quiles                                         Copied Composition
Lenny Tavárez     Lo Tengo Todo                         WARNER, SMP, SonyATV, Lenny Tavárez                                                               Copied Composition
Lenny Tavárez     Me Enamora                            WARNER, SOLAR, SMP, SonyATV, Lenny Tavárez, Zion, Lennox                                          Copied Composition

Los Legendarios   Amanecer Contigo                      SONY, La Base, WK, SonyATV, Los Legendarios, Wisin, Zion                                          Copied Composition
Los Legendarios   Auto                                  SONY, La Base, WK, SMP, SonyATV, Los Legendarios                                                  Copied Composition
Los Legendarios   Baila Conmigo                         SONY, La Base, WK, SMP, Los Legendarios, Wisin                                                    Copied Composition
Los Legendarios   Dando Vueltas                         SONY, La Base, WK, SMP, Los Legendarios, Wisin                                                    Copied Composition
Los Legendarios   En Mi Habitacion                      SONY, La Base, WK, SMP, SonyATV, Los Legendarios, Wisin, Rauw Alejandro                           Copied Composition
Los Legendarios   Fiel                                  SONY, La Base, WK, SMP, SonyATV, UMP, Warner, Los Legendarios, Wisin, Jhay Cortez                 Copied Composition
                                                        SONY, La Base, WK, SMP, SonyATV, UMP, Kobalt, Warner, Los Legendarios, Wisin, Jhay Cortez, Myke
Los Legendarios   Fiel (Remix)                          Towers, Anuel AA                                                                                  Copied Composition
Los Legendarios   Fugitivo                              SONY, La Base, WK, SMP, Los Legendarios, Wisin                                                    Copied Composition
Los Legendarios   Ganas                                 SONY, La Base, WK, SMP, Los Legendarios                                                           Copied Composition
Los Legendarios   Hagámoslo Otra Vez                    SONY, La Base, WK, SMP, Los Legendarios                                                           Copied Composition
Los Legendarios   Hey Shorty Remix                      SONY, La Base, WK, SMP, SonyATV, SOLAR, Los Legendarios, Wisin, Ozuna                             Copied Composition
Los Legendarios   Huele A Sexo                          SONY, La Base, WK, SMP, Los Legendarios, Wisin                                                    Copied Composition
Los Legendarios   Loco                                  SONY, La Base, WK, SMP, SonyATV, UMP, SOLAR, Los Legendarios, Wisin, Sech, Nicky Jam              Copied Composition
Los Legendarios   Mami                                  SONY, La Base, WK, SonyATV, Los Legendarios, Wisin, Zion                                          Copied Composition
Los Legendarios   Mari Mari                             SONY, La Base, WK, SonyATV, SMP, Los Legendarios, Wisin, Chencho Corleone                         Copied Composition
Los Legendarios   Me Dañas La Mente                     SONY, La Base, WK, SMP, SonyATV, UMP, Kobalt, Los Legendarios, Wisin, Dalex                       Copied Composition

Los Legendarios   Mi Niña                               SONY, La Base, WK, SMP, SonyATV, UMP, SOLAR, Peermusic, Los Legendarios, Wisin, Myke Towers       Copied Composition
Los Legendarios   No Me Acostumbro                      SONY, La Base, WK, SMP, SonyATV, UMP, SOLAR, Los Legendarios, Wisin, Ozuna, Reik                  Copied Composition
                                       Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 16 of 33 Page ID
                                                                         #:2731

Los Legendarios   Prendelo                       SONY, La Base, WK, Warner, SonyATV, SOLAR, Los Legendarios, Wisin                      Copied Composition
Los Legendarios   Vamo Alla                      SONY, La Base, WK, SMP, Los Legendarios, Wisin                                         Copied Composition

Major Lazer       Bam Bam                        WARNER, SMP, Warner, Hipgnosis, Kobalt, Sony ATV, Major Lazer, Diplo, French Montana   Copied Composition
Major Lazer       Buscando Huellas               WARNER, SMP, Warner, Kobalt, UMP, Major Lazer, Diplo, J Balvin                         Copied Composition
Major Lazer       Come On To Me                  WARNER, Mad Decent, Concord, SonyATV, SMP, Kobalt, Major Lazer, Diplo                  Copied Composition
Major Lazer       Diplomatico                    WARNER, SMP, Kobalt, Sony ATV, Major Lazer, Diplo, Guaynaa                             Copied Composition
Major Lazer       Lean On                        WARNER, Mad Decent, PeerMusic, Major Lazer, DJ Snake                                   Copied Composition
Major Lazer       Li ght it Up                   WARNER, SMP, Kobalt, Sony ATV, Major Lazer, Diplo                                      Copied Composition
Major Lazer       Make It Hot                    WARNER, SMP, Kobalt, Sony ATV, Hipgnosis, Major Lazer, Anitta, Justin Quiles, Diplo    Copied Composition
Major Lazer       Que Calor                      WARNER, SMP, Warner, Kobalt, UMP, Major Lazer, Diplo, J Balvin, Sky                    Copied Composition
Major Lazer       QueLoQue                       WARNER, Mad Decent, SMP, SonyATV, Major Lazer                                          Copied Composition
Major Lazer       Sua Cara                       WARNER, Mad Decent, Kobalt, Warner, SMP, SonyATV, Major Lazer, Anitta                  Copied Composition
Major Lazer       Titans                         WARNER, SMP, Warner, Hipgnosis, Kobalt, Sony ATV, Major Lazer, Diplo                   Sample that copies composition and copied composition
Major Lazer       Watch Out for This             WARNER, Mad Decent, UMP, Kobalt, Concord, Major Lazer, Diplo                           Copied Composition

Maluma            11PM                           SONY, SonyATV, UMP, SMP, Warner, Maluma, Sech                                          Copied Composition
Maluma            ADMV (Versión Urbana)          SONY, SonyATV, UMP, SMP, Warner, Maluma                                                Copied Composition
Maluma            Agua de Jamaica                SONY, SonyATV, UMP, SMP, Warner, Maluma, MadMusick                                     Copied Composition
Maluma            Ansiedad                       SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            Bella-K                        SONY, SonyATV, SMP, Maluma, Zion, Randy                                                Copied Composition
Maluma            Booty                          SONY, SonyATV, SMP, Maluma, MadMusick                                                  Sample that copies composition and copied composition
Maluma            Borro Cassette                 SONY, SonyATV, SMP, Warner, Maluma, MadMusick, Nicky Jam                               Copied Composition
Maluma            Chocolate                      SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                             Copied Composition
Maluma            Cielo a un Diablo              SONY, SonyATV, SMP, Maluma                                                             Sample that copies composition and copied composition
Maluma            Climax                         SONY, SonyATV, SMP, Maluma, MadMusick                                                  Sample that copies composition and copied composition
Maluma            Condena                        SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                             Copied Composition
Maluma            Copas de Vino                  SONY, SonyATV, SMP, Maluma, MadMusick                                                  Sample that copies composition and copied composition
Maluma            Corazón                        SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            Correr el Riesgo               SONY, SonyATV, SMP, Maluma, MadMusick                                                  Sample that copies composition and copied composition
Maluma            Cositas de la USA              SONY, SonyATV, SMP, Kobalt, Warner, Maluma, MadMusick, Justin Quiles                   Copied Composition
Maluma            Cuenta a Saldo                 SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            Cuidau                         SONY, SonyATV, SMP, Maluma                                                             Copied Composition
Maluma            Déjale Saber                   SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                             Copied Composition
Maluma            Delincuente                    SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            Dime Que Te Parece             SMP, Maluma                                                                            Copied Composition
Maluma            Dispuesto ft. Ozuna            SONY, SonyATV, UMP, SMP, Warner, Kobalt, Maluma, DJ Luian, Mambo Kingz, Ozuna          Copied Composition
Maluma            "¿Dónde Estás?"                SONY, SonyATV, SMP, Maluma, Farruko, Sharo Towers                                      Copied Composition
Maluma            Dos Amores                     SONY, Maluma, MadMusick                                                                Sample that copies composition and copied composition
Maluma            El Perdedor                    SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                             Sample that copies composition and copied composition
Maluma            El Préstamo                    SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            El Punto                       SONY, SonyATV, SMP, Maluma                                                             Sample that copies composition and copied composition
Maluma            El Tiki                        SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                             Copied Composition
Maluma            Extrañándote                   SONY, SMP, Warner, Maluma, MadMusick, Zion, Lennox                                     Sample that copies composition and copied composition
Maluma            Farandulera                    SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            Felices los 4                  SONY, SonyATV, SMP, UMP, Maluma, MadMusick                                             Copied Composition
Maluma            Hangover                       SONY, SonyATV, SMP, Kobalt, Maluma, MadMusick                                          Copied Composition
Maluma            Happy Birthday                 SONY, Maluma, Rude Boyz, MadMusick                                                     Copied Composition
Maluma            Hawái                          SONY, SonyATV, UMP, SMP, Kobalt, Warner, Maluma                                        Copied Composition
Maluma            HP                             SONY, SonyATV, UMP, SMP, Warner, Maluma, MadMusick                                     Copied Composition
Maluma            Instinto Natural               SONY, SonyATV, UMP, SMP, Warner, Maluma, Sech                                          Copied Composition
Maluma            Intentalo                      SMP, SonyATV, Maluma                                                                   Sample that copies composition and copied composition
Maluma            Intro, Magia                   SONY, SonyATV, SMP, Maluma, MadMusick                                                  Copied Composition
Maluma            La Burbuja                     SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                             Copied Composition
Maluma            La Cura                        SONY, SonyATV, UMP, SMP, Maluma, Sky, MadMusick                                        Copied Composition
Maluma            La Curiosidad                  SONY, SonyATV, SMP, Maluma                                                             Sample that copies composition and copied composition
                                 Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 17 of 33 Page ID
                                                                   #:2732

Maluma          La Ex                      SONY, SonyATV, SMP, UMP, Warner, Maluma, MadMusick, Jason Derulo           Copied Composition
Maluma          La Flaca                   SONY, SonyATV, UMP, SMP, Warner, Maluma, Chencho Corleone, Bull Nene       Sample that copies composition and copied composition
Maluma          La Intención               SONY, SonyATV, SMP, UMP, Maluma, Rude Boyz, MadMusick                      Sample that copies composition and copied composition
Maluma          La Misma Moneda            SONY, SonyATV, SMP, Warner, Maluma, Rude Boyz, MadMusick                   Copied Composition
Maluma          La Vida es Bella           SONY, SMP, Maluma, MadMusick, Justin Quiles                                Copied Composition
Maluma          Loco                       SONY, SonyATV, SMP, UMP, Maluma, MadMusick                                 Sample that copies composition and copied composition
Maluma          Luz Verde                  SONY, SonyATV, UMP, SMP, Maluma, MadMusick                                 Copied Composition
Maluma          Madrid                     SONY, SonyATV, SMP, Maluma, Myke Towers                                    Sample that copies composition and copied composition
Maluma          Mai Mai                    SONY, SonyATV, UMP, SMP, Kobalt, Maluma                                    Sample that copies composition and copied composition
Maluma          Mal de Amores              SONY, Maluma, Rude Boyz, MadMusick                                         Copied Composition
Maluma          Mala                       SONY, SonyATV, SMP, Maluma, MadMusick, Sky                                 Copied Composition
Maluma          Mala Mía                   SONY, SonyATV, SMP, UMP, Maluma, Rude Boyz, MadMusick                      Copied Composition
Maluma          Malo                       SONY, SonyATV, SMP, Maluma                                                 Sample that copies composition and copied composition
Maluma          Me Acuerdo de Ti           SONY, SonyATV, UMP, SMP, Warner, Maluma, Rude Boyz, MadMusick              Copied Composition
Maluma          Me Enamore de Ti           SONY, SonyATV, UMP, SMP, Warner, Maluma, MadMusick                         Sample that copies composition and copied composition
Maluma          Me Gustas                  SONY, SonyATV, UMP, SMP, Warner, Maluma                                    Sample that copies composition and copied composition
Maluma          Me Gustas Tanto            SONY, SonyATV, SMP, Maluma, Rude Boyz                                      Sample that copies composition and copied composition
Maluma          Miss Independent           SONY, SonyATV, SMP, UMP, Maluma, Rude Boyz, MadMusick                      Copied Composition
Maluma          Mojando Asientos           SONY, SMP, Maluma, Rude Boyz, MadMusick, Feid                              Copied Composition
Maluma          No Puedo Olvidarte         SONY, Warner, Maluma, Nicky Jam, Tainy                                     Copied Composition
Maluma          No Se Me Quita             SONY, SonyATV, UMP, SMP, Warner, Maluma, Ricky Martin                      Copied Composition
Maluma          Nos Comemos Vivos          SONY, Warner, Maluma, Rude Boyz, Chencho Corleone, MadMusick, Bull Nene    Copied Composition
Maluma          Ojos Que No Ven            SONY, SonyATV, SMP, UMP, Maluma, Rude Boyz, MadMusick                      Copied Composition
Maluma          Obsesión                   SONY, SonyATV, SMP, Maluma, MadMusick                                      Sample that copies composition and copied composition
Maluma          Parce                      SONY, SonyATV, SMP, UMP, Maluma, Justin Quiles, Lenny Tavárez, MadMusick   Sample that copies composition and copied composition
Maluma          Pasarla Bien               SONY, SonyATV, SMP, Maluma, MadMusick                                      Sample that copies composition and copied composition
Maluma          Peligrosa                  SONY, SonyATV, SMP, Warner, Maluma                                         Copied Composition
Maluma          Perdón ft. Yandel          SONY, SonyATV, UMP, SMP, Warner, Maluma, Yandel, MadMusick                 Copied Composition
Maluma          Presiento                  SONY, SonyATV, SMP, Maluma, MadMusick                                      Sample that copies composition and copied composition
Maluma          Pretextos                  SONY, SonyATV, SMP, Maluma, MadMusick                                      Copied Composition
Maluma          Quality                    SONY, SonyATV, SMP, Maluma                                                 Copied Composition
Maluma          Recuérdame                 SONY, SonyATV, UMP, SMP, Maluma, J Quiles, MadMusick                       Sample that copies composition and copied composition
Maluma          Salida de Escape           SONY, SonyATV, SMP, Maluma, Feid                                           Copied Composition
Maluma          Sexo Sin Titulo            SONY, UMP, Maluma, MadMusick, Lenny Tavarez, Jay Wheeler                   Copied Composition
Maluma          Shhh "Calla"               SONY, SonyATV, UMP, SMP, Warner, Maluma                                    Sample that copies composition and copied composition
Maluma          Sin Contrato               SONY, SonyATV, UMP, SMP, Warner, Maluma                                    Sample that copies composition and copied composition
Maluma          Sobrio                     SONY, SonyATV, SMP, Maluma                                                 Copied Composition
Maluma          Solos                      SONY, SonyATV, SMP, Maluma, MadMusick                                      Sample that copies composition and copied composition
Maluma          Soltera                    SONY, SonyATV, UMP, SMP, Warner, Maluma, MadMusick                         Copied Composition
Maluma          Te Quiero Cerquita         SONY, SonyATV, SMP, Maluma, MadMusick                                      Sample that copies composition and copied composition
Maluma          Tsunami                    SONY, SMP, Peermusic, Maluma, De La Ghetto, Justin Quiles, MadMusick       Copied Composition
Maluma          Tu Cariño                  SONY, SonyATV, SMP, Maluma, DJ Luian, MadMusick                            Copied Composition
Maluma          Una Aventura               SONY, SonyATV, UMP, SMP, Maluma                                            Sample that copies composition and copied composition
Maluma          Vámonos de Fuga            SONY, SonyATV, SMP, Maluma, MadMusick                                      Sample that copies composition and copied composition
Maluma          Vete Vete                  SONY, SonyATV, SMP, Maluma, Rude Boyz                                      Copied Composition
Maluma          Ya No Es Niña              SONY, SonyATV, SMP, Maluma, Saga WhiteBlack, MadMusick                     Copied Composition

Manuel Turizo   Ahora Eh                   SONY, La Industria, Manuel Turizo, Haze                                    Copied Composition
Manuel Turizo   Amor En Coma               SONY, SonyATV, Warner, SMP, SOLAR, Manuel Turizo, Maluma                   Copied Composition
Manuel Turizo   Antes Que Te Vayas         SONY, SonyATV, Kobalt, SMP, SOLAR, Manuel Turizo, Mambo Kingz              Copied Composition
Manuel Turizo   Bailemos                   SONY, SonyATV, UMP, SMP, SOLAR, Manuel Turizo, Sech, Dimelo Flow           Copied Composition
Manuel Turizo   Caso Perdido               SONY, SonyATV, UMP, SMP, SOLAR, Warner, Manuel Turizo                      Copied Composition
Manuel Turizo   Cosas Malas                SONY, SonyATV, Kobalt, SMP, SOLAR, Manuel Turizo, Justin Quiles, Dalex     Copied Composition
Manuel Turizo   Esclavo De Tus Besos       SONY, SonyATV, Kobalt, SMP, Manuel Turizo, Ozuna                           Copied Composition
Manuel Turizo   Esperandote                SONY, SonyATV, Warner, SMP, SOLAR, Manuel Turizo, Saga WhiteBlack          Copied Composition
Manuel Turizo   Kayak                      SONY, SonyATV, Warner, SMP, SOLAR, Manuel Turizo, Farruko                  Copied Composition
                                  Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 18 of 33 Page ID
                                                                    #:2733

                                             SONY, SonyATV, Warner, SMP, SOLAR, Peermusic, Manuel Turizo, Rauw Alejandro, Myke Towers,
Manuel Turizo   La Nota                      Tainy                                                                                              Copied Composition
Manuel Turizo   Mala Costumbre               SONY, SonyATV, UMP, SMP, SOLAR, Manuel Turizo, Wisin, Yandel, Tainy                                Copied Composition
Manuel Turizo   Nada Ha Cambiado             SONY, SonyATV, SMP, SOLAR, Manuel Turizo                                                           Copied Composition
Manuel Turizo   No Digas Que Te Vas          SONY, SonyATV, SMP, SOLAR, Manuel Turizo, Zion, Lennox, Sky                                        Copied Composition
Manuel Turizo   No Le Perteneces             SONY, SonyATV, SMP, SOLAR, Warner, Manuel Turizo, Nicky Jam                                        Copied Composition
Manuel Turizo   No Me Conoce                 SONY, SonyATV, Kobalt, SMP, Warner, SOLAR, Manuel Turizo                                           Copied Composition
Manuel Turizo   Quiéreme Mientras Se Pueda   SONY, SonyATV, UMP, SMP, SOLAR, Warner, Manuel Turizo                                              Copied Composition
Manuel Turizo   Sola                         SONY, SonyATV, SMP, SOLAR, Warner, Manuel Turizo, Sky                                              Copied Composition
Manuel Turizo   Ser un cantante              Nicky Jam, Saga WhiteBlack, Manuel Turizo                                                          Copied Composition
Manuel Turizo   Sábanas Desordenadas         SONY, SonyATV, UMP, SMP, SOLAR, Manuel Turizo                                                      Copied Composition
Manuel Turizo   Te Falló                     SONY, La Industria, Kobalt, SonyATV, SMP, Manuel Turizo, Mambo Kingz, DJ Luian                     Copied Composition
Manuel Turizo   Te Olvido                    SONY, SonyATV, SMP, SOLAR, Manuel Turizo                                                           Copied Composition
Manuel Turizo   Te Pido Perdón               SONY, SonyATV, SMP, Warner, SOLAR, Manuel Turizo                                                   Copied Composition
Manuel Turizo   Te Quemaste                  SONY, SonyATV, Kobalt, SMP, SOLAR, Warner, Manuel Turizo, Anuel AA                                 Copied Composition
Manuel Turizo   Tiempo                       SONY, La Industria, Kobalt, SonyATV, SMP, Manuel Turizo, Sky                                       Copied Composition
Manuel Turizo   Una Lady Como Tú             SONY, SonyATV, UMP, SMP, SOLAR, Manuel Turizo, Saga WhiteBlack                                     Sample that copies composition and copied composition

Myke Towers     Almas Gemelas                WARNER, Kobalt, SonyATV, SMP, SOLAR, Myke Towers, Ovy On The Drums                                 Copied Composition
Myke Towers     Ande Con Quien Ande          WARNER, Myke Towers, Jhay Cortez                                                                   Copied Composition
Myke Towers     Bailame Así                  Glad Empire, Myke Towers                                                                           Copied Composition
Myke Towers     BANDIDO                      SONY, Glad Empire, Myke Towers                                                                     Copied Composition
Myke Towers     Cuando Bebe                  Hear This Music, SonyATV, SMP, Peermusic, Myke Towers, De La Ghetto                                Copied Composition
Myke Towers     EXPLICITO                    SONY, Glad Empire, SonyATV, SMP, Myke Towers                                                       Copied Composition
Myke Towers     Fantasia Sexual              SONY, Glad Empire, Warner, Myke Towers, Rauw Alejandro, Lunay, Brytiago                            Copied Composition
Myke Towers     Funeral                      SONY, Glad Empire, SMP, SonyATV, Kobalt, Myke Towers                                               Copied Composition
Myke Towers     Girl                         SONY, Glad Empire, SonyATV, SMP, SOLAR, Warner, Myke Towers                                        Copied Composition
Myke Towers     Hechizo                      SONY, Glad Empire, SonyATV, SMP, Kobalt, SOLAR, Warner, Myke Towers                                Copied Composition
Myke Towers     Inocente                     SONY, SonyATV, SMP, SOLAR, Myke Towers                                                             Copied Composition
Myke Towers     Luces de Neon                WARNER, Myke Towers                                                                                Copied Composition
Myke Towers     Mayor                        SONY, SonyATV, SMP, SOLAR, Myke Towers                                                             Copied Composition
Myke Towers     Otro                         SONY, Myke Towers, Yandel                                                                          Copied Composition
Myke Towers     Pa' La Pared                 SONY, Glad Empire, SonyATV, SMP, SOLAR, Myke Towers                                                Copied Composition
Myke Towers     Parcerita                    SONY, Glad Empire, SonyATV, SMP, Kobalt, SOLAR, Myke Towers, Rude Boyz                             Sample that copies composition and copied composition
Myke Towers     Piensan                      SONY, Glad Empire, SonyATV, SMP, Kobalt, SOLAR, Myke Towers                                        Copied Composition
Myke Towers     Relación Rota                SONY, Glad Empire, Vydia, Warner, UMP, Myke Towers                                                 Copied Composition
Myke Towers     Rutina                       SONY, Glad Empire, SonyATV, SMP, Kobalt, SOLAR, UMP, Myke Towers                                   Copied Composition
                                             SONY, Glad Empire, SMP, SonyATV, Kobalt, Peermusic, UMP, Myke Towers, Farruko, Arcangel, Sech,
Myke Towers     Si Se Da Remix               Zion                                                                                               Copied Composition
Myke Towers     Si Se Da                     SONY, Glad Empire, SMP, SonyATV, Kobalt, Peermusic, UMP, Myke Towers, Farruko                      Copied Composition
Myke Towers     Tiene Que Saber              SONY, Glad Empire, SonyATV, SMP, Kobalt, SOLAR, Myke Towers, Rude Boyz                             Copied Composition
Myke Towers     Viral                        SONY, Glad Empire, SonyATV, SMP, Kobalt, SOLAR, Myke Towers                                        Copied Composition


Natti Natasha   ANTES QUE SALGA EL SOL       SONY, Pina, SOLAR, SonyATV, SMP, UMP, Kobalt, Warner, Natti Natasha, Prince Royce, Mambo Kingz     Copied Composition
Natti Natasha   Arrebatá                     SONY, Pina, SMP, Kobalt, SOLAR, Natti Natasha, Sky, C. Tangana                                     Copied Composition
Natti Natasha   Criminal                     Pina, SonyATV, SMP, Warner, Kobalt, Natti Natasha, Ozuna, Jhay Cortez                              Sample that copies composition and copied composition
Natti Natasha   Deja Tus Besos (Remix)       SONY, Pina, Kobalt, SMP, Warner, SOLAR, Natti Natasha, Gaby Music, Chencho Corleone                Sample that copies composition and copied composition
                                             SONY, UMP, SMP, SonyATV, Natti Natasha, Nicky Jam, Manuel Turizo, Myke Towers, DJ Luian, Mambo
Natti Natasha   Despacio                     Kingz                                                                                              Copied Composition
                                             SONY, Pina, Kobalt, Warner, SonyATV, UMP, SOLAR, Natti Natasha, Gaby Music, Justin Quiles, Symon
Natti Natasha   Devórame                     Dice                                                                                               Copied Composition
Natti Natasha   Eleven                       SONY, Pina, Kobalt, Natti Natasha, Gaby Music, Flow La Movie                                       Copied Composition
Natti Natasha   Era Necesario                SONY, Pina, SOLAR, Warner, Kobalt, SonyATV, SMP, Natti Natasha, Gaby Music                         Copied Composition
                                             SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, Warner, Natti Natasha, Gaby Music, MadMusick, Chan El
Natti Natasha   Frozen                       Genio                                                                                              Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 19 of 33 Page ID
                                                                     #:2734

Natti Natasha   Fue Tu Culpa                 SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, Natti Natasha, Luny                                       Copied Composition
Natti Natasha   Imposible Amor               SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, Natti Natasha, Maluma                                     Copied Composition
Natti Natasha   Lamento Tu Pérdida           SONY, Pina, SOLAR, Warner, Kobalt, SonyATV, SMP, Natti Natasha, Gaby Music                         Copied Composition
                                             SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, UMP, Natti Natasha, Becky G, Luny, Daddy Yankee,
Natti Natasha   Las Nenas                    Dimelo Flow, Justin Quiles, Cazzu, Farina                                                          Copied Composition
Natti Natasha   No Quiero Saber              SONY, Pina, SMP, Kobalt, Natti Natasha, Gaby Music, Gaby Music                                     Copied Composition
Natti Natasha   Oh Daddy                     SONY, Pina, SOLAR, Warner, Kobalt, SonyATV, SMP, Peermusic, Natti Natasha, Gaby Music              Copied Composition

Natti Natasha   Me Felicito                  SONY, Pina, Kobalt, SOLAR, UMP, Natti Natasha, Slow Mike, Daddy Yankee, Dimelo Flow, Justin Quiles, Copied Composition
                                             SONY, Pina, SOLAR, Warner, UMP, SonyATV, SMP, Natti Natasha, Gaby Music, Daddy Yankee, Justin
Natti Natasha   Me Gusta                     Quiles                                                                                              Copied Composition
                                             SONY, Pina, SOLAR, Warner, UMP, SonyATV, SMP, Natti Natasha, Gaby Music, Daddy Yankee, Justin
Natti Natasha   Me Gusta (Remix)             Quiles, Sharo Towers, Farruko                                                                       Copied Composition
                                             Mambo Kingz, DJ Luian, Gutiérrez, Kedin Maizonet, Luian Malave, Pina, Edgar Semper-Vargas, Xavier
Natti Natasha   Pa' Mala YO                  Semper-Vargas                                                                                       Copied Composition
Natti Natasha   Philliecito                  SONY, Pina, SOLAR, UMP, SMP, Natti Natasha, Benny Benni, Nio Garcia, Flow La Movie, Brray           Copied Composition
Natti Natasha   Que Mal Te Fue               SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, UMP, Natti Natasha, Daddy Yankee, Dimelo Flow              Copied Composition
                                             SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, UMP, Natti Natasha, Daddy Yankee, Dimelo Flow, Justin
Natti Natasha   Que Mal Te Fue (Remix)       Quiles,                                                                                             Copied Composition
                                             SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, UMP, Natti Natasha, Becky G, Luny Tunes, Daddy Yankee,
Natti Natasha   Ram Pam Pam                  Dimelo Ninow, Justin Quiles                                                                         Copied Composition
Natti Natasha   Te lo Dije                   SONY, Pina, SMP, SonyATV, Kobalt, SOLAR, UMP, Natti Natasha, Daddy Yankee, Dimelo Flow              Copied Composition
Natti Natasha   Toca Toca"                   SONY, Pina, SMP, Kobalt, Warner, Natti Natasha, Gaby Music, Chris Jeday                             Copied Composition

Nicky Jam       Atrévete                     SONY, Rich Music, UMP, SonyATV, SMP, Nicky Jam, Sech, Dimelo Flow                                  Copied Composition

Nicky Jam       Baby                         SML, SMP, SonyATV, UMP, UMG, Rimas, Warner, Sharo Towers, Nicky Jam, Saga WhiteBlack, Farruko      Copied Composition
Nicky Jam       Borracho                     SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                      Copied Composition
Nicky Jam       Buscarte                     El Cartel, SMP, SonyATV, Nicky Jam, Daddy Yankee                                                   Copied Composition
Nicky Jam       Calor                        Pina, Nicky Jam, Luny Tunes                                                                        Copied Composition
Nicky Jam       Cambiar la Rutina            UMG, Pina, Nicky Jam                                                                               Copied Composition
Nicky Jam       Celosa                       LaIndustria, SML, Kobalt, Nicky Jam, Tainy, Jhay Cortez                                            Copied Composition
Nicky Jam       Chambonea                    UMG, Pina, Nicky Jam, Luny Tunes                                                                   Copied Composition
Nicky Jam       Clavo                        LaIndustria, SML, Kobalt, Nicky Jam, Sky                                                           Copied Composition
Nicky Jam       Come y Te Vas                SML, SMP, SonyATV, UMP, Nicky Jam, Dimelo Flow, Justin Quiles, Feid                                Copied Composition
Nicky Jam       Como Tu Me Pisas             UMG, Pina, SMP, Nicky Jam                                                                          Copied Composition
Nicky Jam       Cuando Apague La Luz         SMP, Nicky Jam                                                                                     Copied Composition
Nicky Jam       Cuando Quieras               SML, SMP, Nicky Jam, Saga WhiteBlack                                                               Copied Composition
Nicky Jam       Dale                         UMP, Nicky Jam                                                                                     Copied Composition
Nicky Jam       Dándote                      LaIndustria, SML, Kobalt, SonyATV, Nicky Jam, Sky                                                  Copied Composition
Nicky Jam       Descontrol                   SMP, Nicky Jam                                                                                     Copied Composition
Nicky Jam       Desesperau                   SonyATV, Nicky Jam, Daddy Yankee                                                                   Copied Composition
Nicky Jam       Desilucionao                 UMG, SMP, Nicky Jam                                                                                Copied Composition
Nicky Jam       Despacio                     SML, SMP, SonyATV, Kobalt, Peermusic, UMP, Nicky Jam, Urba                                         Copied Composition
Nicky Jam       Destino                      SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                      Copied Composition
Nicky Jam       Dime Si Piensas en Mi        UMG, SonyATV, Pina, SMP, Nicky Jam, Mambo Kingz                                                    Copied Composition
Nicky Jam       DM                           LaIndustria, SML, SonyATV, Nicky Jam, Sky, Manuel Turizo                                           Copied Composition
Nicky Jam       El Amante                    SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                      Copied Composition
Nicky Jam       El Perdon                    SML, SMP, SonyATV, Kobalt, UMP, Nicky Jam, Saga WhiteBlack, Enrique Iglesias                       Copied Composition
Nicky Jam       En La Cama                   SonyATV, Nicky Jam, Daddy Yankee                                                                   Copied Composition
Nicky Jam       Eres Tu                      UMP, SMP, Nicky Jam                                                                                Copied Composition
Nicky Jam       Estrella                     SML, SMP, SonyATV, Kobalt, Nicky Jam, Urba                                                         Copied Composition
Nicky Jam       Fan de Tus Fotos             LaIndustria, SML, SonyATV, SMP, UMP, Kobalt, Nicky Jam, Sky, Saga WhiteBlack                       Copied Composition
Nicky Jam       Fiel a Tu Piel               Pina, SMP, Nicky Jam, Luny Tunes                                                                   Copied Composition
Nicky Jam       Filoteao                     SMP, Nicky Jam                                                                                     Copied Composition
Nicky Jam       Gas Pela                     UMG, SMP, Nicky Jam, Urba, RKM                                                                     Copied Composition
                             Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 20 of 33 Page ID
                                                               #:2735

Nicky Jam   Hasta Bajo                         SMP, Nicky Jam                                                                                  Copied Composition
Nicky Jam   Hasta El Amanecer                  SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                   Copied Composition
Nicky Jam   I Can't Forget You                 SONY, UMP, SMP, Kobalt, Nicky Jam                                                               Copied Composition
Nicky Jam   I'm Not Your Husband / Tu Marido   SMP, Nicky Jam                                                                                  Copied Composition
Nicky Jam   Intro - Salón de La Fama           Warner, UMP, SMP, Nicky Jam                                                                     Copied Composition
Nicky Jam   Jaleo                              Warner, SonyATV, SMP, Nicky Jam                                                                 Copied Composition
Nicky Jam   Juegos Prohibidos                  LaIndustria, SMP, SonyATV, Nicky Jam                                                            Copied Composition
Nicky Jam   La Paga                            Pina, Nicky Jam, Luny Tunes                                                                     Copied Composition
Nicky Jam   La Promesa (La Calle)              SONY, SonyATV, SMP, Warner, Kobalt, Nicky Jam, Saga WhiteBlack                                  Copied Composition
Nicky Jam   La Toco                            SML, SMP, SonyATV, UMP, Nicky Jam, Dimelo Flow                                                  Copied Composition
Nicky Jam   La Vamos a Montar                  SMP, Nicky Jam                                                                                  Copied Composition
Nicky Jam   Loco                               UMG, SonyATV, UMP, Nicky Jam                                                                    Copied Composition
Nicky Jam   Magnum                             LaIndustria, SMP, SonyATV, Warner, Nicky Jam, Jhay Cortez                                       Copied Composition
Nicky Jam   Mango Piña                         SMP, Nicky Jam                                                                                  Copied Composition
Nicky Jam   Maniquí                            SONY, UMP, SMP, Nicky Jam, Dimelo Flow                                                          Copied Composition
Nicky Jam   Me Estoy Muriendo                  UMG, SMP, UMP, SonyATV, Nicky Jam                                                               Copied Composition
Nicky Jam   Mi Maldición                       SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                   Copied Composition
Nicky Jam   Miami                              LaIndustria, SML, SMP, SonyATV, UMP, Kobalt, Nicky Jam, DJ Luian, Mambo Kingz                   Copied Composition
Nicky Jam   Mil Lagrimas                       SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                   Copied Composition
Nicky Jam   Muévelo                            SML, WeTheBest, SonyATV, Warner, UMP, Kobalt, Nicky Jam, Daddy Yankee, Play-N-Skillz            Copied Composition
Nicky Jam   Nadie Como Tú                      SML, SMP, SonyATV, UMP, Kobalt, Nicky Jam, El Alfa                                              Copied Composition
Nicky Jam   No Te Puedo Olvidar                SONY, UMP, SMP, Kobalt, Nicky Jam                                                               Copied Composition
Nicky Jam   No Te Vayas                        SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                   Copied Composition
Nicky Jam   Nos Fuimos                         UMG, SMP, Nicky Jam, Luny Tunes                                                                 Copied Composition
Nicky Jam   Novia Nueva                        SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                                   Copied Composition
Nicky Jam   Pasado                             UMG, SMP, SonyATV, Nicky Jam,                                                                   Copied Composition
Nicky Jam   Perdóname                          SONY, UMP, SMP, Nicky Jam, Dímelo Flow, Sech                                                    Copied Composition
Nicky Jam   Piensas En Mi                      LaIndustria, SMP, SonyATV, Warner, Nicky Jam                                                    Copied Composition
Nicky Jam   Pikete                             LaIndustria, SML, Kobalt, Nicky Jam, El Alfa                                                    Copied Composition
Nicky Jam   Playa                              LaIndustria, SML, SMP, SonyATV, Nicky Jam, Saga WhiteBlack                                      Copied Composition
Nicky Jam   Polvo                              LaIndustria, SML, SMP, SonyATV, Nicky Jam, Sky, Myke Towers                                     Copied Composition
Nicky Jam   Por El Momento                     SML, Warner, SMP, Nicky Jam, Haze, Plan B, Chencho Corleone, Maldy                              Copied Composition
Nicky Jam   Quedate Con El                     UMG, SMP, Nicky Jam                                                                             Copied Composition
Nicky Jam   Quiero Estar Contigo               Rimas, Nicky Jam                                                                                Copied Composition
Nicky Jam   Quisieras                          SML, SMP, SonyATV, Kobalt, Warner, Nicky Jam, Saga WhiteBlack, Rauw Alejandro                   Copied Composition
Nicky Jam   Sacando Chispa                     UMG, Pina, Nicky Jam                                                                            Copied Composition
Nicky Jam   Se Dé Y Se Da                      LaIndustria, SML, Kobalt, Nicky Jam, Sky                                                        Copied Composition
Nicky Jam   Se Te Acuerdas La Primera Vez      UMG, UMP, Nicky Jam                                                                             Copied Composition
Nicky Jam   Si Tú Guayas                       SMP, SONYATV, Nicky Jam, Checho Coleone                                                         Copied Composition
Nicky Jam   Si Tú La Ves                       SONY, UMP, SonyATV, SMP, Nicky Jam, Wisin, Saga WhiteBlack                                      Copied Composition
Nicky Jam   Si Tu No Estas                     LaIndustria, SML, SonyATV, SMP, Peermusic, Nicky Jam, De la Ghetto                              Copied Composition
Nicky Jam   Si Yo Fuera Tu Hombre              UMG, SMP, Nicky Jam, Urba, Mambo Kingz                                                          Copied Composition
Nicky Jam   Siguen Haciendo Ruido [Remix]      UMG, SMP, Nicky Jam, Luny Tunes                                                                 Copied Composition
Nicky Jam   Sin Filtro                         SONY, SonyATV, SMP, Nicky Jam, Dimelo Flow                                                      Copied Composition
Nicky Jam   Sin Novia                          SML, Nicki Jam                                                                                  Copied Composition
Nicky Jam   Suelta                             SMP, Nicky jam                                                                                  Copied Composition
Nicky Jam   Superhéroe                         SONY, UMP, SonyATV, SMP, Nicky Jam, J Balvin, Feid                                              Copied Composition
Nicky Jam   Te Hace Falta                      LaIndustria, SML, Kobalt, Nicky Jam, Tainy, Justin Quiles, Saga WhiteBlack                      Copied Composition
Nicky Jam   Te Invito                          LaIndustria, SML, Kobalt, Nicky Jam                                                             Copied Composition

Nicky Jam   Te Robarè                          SML, SMP, SonyATV, Kobalt, Warner, Nicky Jam, Saga WhiteBlack, Chris Jeday, Gaby Music, Ozuna   Copied Composition
Nicky Jam   Tequila                            SONY, SonyATV, SMP, UMP, Nicky Jam, Dimelo Flow, MadMusick                                      Copied Composition
Nicky Jam   Tienes Que Ser Mia                 UMG, SMP, Nicky Jam                                                                             Copied Composition
Nicky Jam   Ton Ton Ton                        UMG, SMP, Nicky Jam, Mambo Kingz                                                                Copied Composition
Nicky Jam   Trankila                           UMG, SMP, Nicky Jam, Urba, Mambo Kingz                                                          Copied Composition
Nicky Jam   Travesuras                         LaIndustria, SMP, SonyATV, Nicky Jam                                                            Copied Composition
                              Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 21 of 33 Page ID
                                                                #:2736

Nicky Jam   Tu Cuerpo En La Cama                 Nicky Jam, Daddy Yankee                                                                           Copied Composition
Nicky Jam   Tu Cuerpo Me Ama                     SML, SMP, SonyATV, UMP, Nicky Jam, Saga WhiteBlack                                                Copied Composition
Nicky Jam   Tu Hombre                            SML, SMP, SonyATV, Warner, Nicky Jam, Saga WhiteBlack, Daddy Yankee                               Copied Composition
Nicky Jam   Tu Primera Vez                       LaIndustria, Nicky Jam                                                                            Copied Composition
Nicky Jam   Tus Ojos                             Pina, Nicky Jam                                                                                   Copied Composition
Nicky Jam   Un Sueño                             UMG, SMP, SonyATV, Nicky Jam                                                                      Copied Composition
Nicky Jam   Una Guayaa                           LaIndustria, SML, SMP, SonyATV, Nicky Jam,                                                        Copied Composition
Nicky Jam   Va Pasando el Tiempo                 UMP, Pina, Luny Tunes, Nicky Jam                                                                  Copied Composition
Nicky Jam   Vamos A Perrear                      SonyATV, Nicky Jam, Daddy Yankee                                                                  Copied Composition
Nicky Jam   Ve y Dile (No Llores)                UMG, SMP, Nicky Jam, Urba, Mambo Kingz                                                            Copied Composition
Nicky Jam   Vive Contigo                         UMG, SMP, UMP, Nicky Jam                                                                          Copied Composition
Nicky Jam   Voy a Beber                          LaIndustria, SMP, SonyATV, PeerMusic, Nicky Jam                                                   Copied Composition
Nicky Jam   Whine Up                             SONY, SonyATV, SMP, Nicky Jam, Saga WhiteBlack, Anuel AA                                          Copied Composition
Nicky Jam   Ya No Me Llamas                      Pina, SMP, Nicky Jam, Luny Tunes                                                                  Copied Composition
Nicky Jam   Yo No Sé Que Esperas Tú              SonyATV, SMP, Nicky Jam                                                                           Copied Composition
Nicky Jam   Yo No Soy Tu Marido                  SonyATV, SMP, Nicky Jam                                                                           Copied Composition

Ozuna       A Escondidas                         SONY, Kobalt, Aura, Ozuna, Los Legendarios                                                         Copied Composition
Ozuna       Apretaito                            SONY, Kobalt, SMP, SonyATV, Warner, Ozuna, Chris Jedi, Gaby Music                                  Copied Composition
Ozuna       Aunque Me Porté Mal                  SONY, Kobalt, Dimelo Vi, VP, Ozuna, Gaby Music, Hi Music Hi Flow                                   Copied Composition
Ozuna       BAILA BAILA BAILA                    SONY, Kobalt, VP, SMP, SonyATV, Warner, UMP, Ozuna, Mambo Kingz, DJ Luian                          Copied Composition
                                                 SONY, Kobalt, Aura, VP, SMP, SonyATV, Warner, UMP, Ozuna, Mambo Kingz, DJ Luian, Daddy Yankee,
Ozuna       Baila Baila Baila (Remix)            J Balvin, Farruko, Anuel AA                                                                        Copied Composition
Ozuna       Bebe                                 SONY, Kobalt, Aura, VP, Ozuna, Anuel AA, Tainy                                                     Copied Composition
Ozuna       Besos Mojados                        SONY, Kobalt, SonyATV, UMP, SMP, VP, Ozuna, Gaby Music                                             Copied Composition
Ozuna       Cama Vacía                           SONY, Kobalt, Dimelo Vi, VP, SonyATV, UMP, Ozuna, Gaby Music, Mambo Kingz                          Copied Composition
Ozuna       Cambio                               SONY, Kobalt, Dimelo Vi, VP, Ozuna, Hi Music Hi Flow, Mambo Kingz, Anuel AA                        Copied Composition
Ozuna       Caramelo                             SONY, Kobalt, Aura, Ozuna, Tainy, Hi Music Hi Flow                                                 Copied Composition
Ozuna       Caramelo Remix                       SONY, Kobalt, Aura, Ozuna, Tainy, Hi Music Hi Flow, Karol G, Myke Towers                           Copied Composition
Ozuna       Coméntale                            SONY, Kobalt, Dimelo Vi, VP, Ozuna, Hi Music Hi Flow, Gaby Music                                   Copied Composition
Ozuna       CORAZON DE SEDA                      Kobalt, Ozuna                                                                                      Copied Composition
                                                 SONY, Kobalt, Rimas, Warner, SonATV, SMP, Dimelo Vi, VP, Ozuna, Nicky Jam, Saga WhiteBlack, Chris
Ozuna       Cumpleaños                           Jedi, Hi Music Hi Flow                                                                             Copied Composition
Ozuna       Danzau | Chapter 5                   SONY, Kobalt, Dimelo Vi, VP, Aura, Warner, Ozuna, Hi Music Hi Flow                                 Copied Composition
Ozuna       DEPRIMIDA                            SONY, Kobalt, Aura, Ozuna                                                                          Copied Composition
Ozuna       Despeinada                           SONY, SonyATV, SMP, Kobalt, Aura, Ozuna, Hi Music Hi Flow, Camilo                                  Copied Composition
Ozuna       Devuélveme                           SONY, Kobalt, VP, Dimelo Vi, Ozuna, Chris Jeday, Gaby Music, Hi Music Hi Flow                      Copied Composition
Ozuna       Difícil Olvidar                      SONY, Kobalt, Aura, UMP, Ozuna, Hi Music Hi Flow                                                   Copied Composition
Ozuna       Dile Que Tu Me Quieres               SONY, Kobalt, Dimelo Vi, VP, Aura, Warner, Ozuna, Hi Music Hi Flow                                 Copied Composition
                                                 SONY, Kobalt, Dimelo Vi, VP, Aura, SonyATV, SMP, Warner, Ozuna, Hi Music Hi Flow, Chris Jedi, Gaby
Ozuna       Egoísta                              Music, Zion, Lennox                                                                                Copied Composition
Ozuna       El desorden                          SML, Kobalt, Pina, Warner, Ozuna, Chenco Corleone, Daddy Yankee, Plan B                            Copied Composition
Ozuna       El Reggaetón                         SONY, Kobalt, Aura, Ozuna, Los Legendarios                                                         Copied Composition
Ozuna       Enemigos Ocultos                     SONY, Kobalt, Aura, SMP, SonyATV, Warner, Ozuna, Los Legendarios, Wisin, Myke Towers               Copied Composition
Ozuna       Eres Top | Chapter 4                 SONY, Kobalt, Aura, Ozuna, DJ Snake                                                                Copied Composition
Ozuna       Escape                               SONY, Kobalt, UMP, Warner, Dimelo Vi, VP, Ozuna, Chris Jeday, Gaby Music, Hi Music Hi Flow         Copied Composition
Ozuna       Este Loko                            SONY, Kobalt, Aura, Ozuna, Dímelo Flow, Hi Music Hi Flow
Ozuna       Esto No Acaba                        SONY, Kobalt, Aura, VP, SonyATV, SMP, Ozuna, Los Legendarios, DJ Nelson, Nicky Jam                 Copied Composition

Ozuna       Fantasía | Chapter 1                 SONY, Kobalt, Aura, Warner, SonyATV, SMP, Ozuna, Hi Music Hi Flow, Chris Jeday, Gaby Music, Ozuna Copied Composition
Ozuna       Fuego                                SONY, Kobalt, Aura, Ozuna, Jhay Cortez                                                            Copied Composition
Ozuna       Gistro Amarillo                      SONY, Kobalt, Aura, SMP, Ozuna, Urba, Wisin                                                       Copied Composition
Ozuna       Háblale (Remix)                      Kobalt, Ozuna                                                                                     Copied Composition
Ozuna       Hablale                              Kobalt, Ozuna                                                                                     Copied Composition
Ozuna       Haciéndolo                           SONY, Kobalt, Dimelo Vi, VP, Ozuna, Saga WhiteBlack, Nicky Jam                                    Copied Composition
Ozuna       Hasta Que Salga el Sol | Chapter 2   SONY, Kobalt, Aura, Ozuna, Hi Music Hi Flow                                                       Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 22 of 33 Page ID
                                                                     #:2737

                                                   SONY, Kobalt, Dimelo Vi, VP, SMP, SonyATV, Warner, Ozuna, Hi Music Hi Flow, Chris Jeday, Gaby
Ozuna          Hola                                Music                                                                                                    Copied Composition
Ozuna          Humo y Alcohol                      UMP, Warner, Ozuna                                                                                       Copied Composition
Ozuna          Ibiza                               SONY, Kobalt, Dimelo Vi, VP, Ozuna, Chris Jeday, Hi Music Hi Flow                                        Copied Composition
Ozuna          Independiente                       SONY, Kobalt, Aura, UMP, Ozuna, Hi Music Hi Flow                                                         Copied Composition
Ozuna          La Modelo                           SONY, Kobalt, Dimelo Vi, VP, Ozuna, Chris Jeday, Gaby Music, Cardi B                                     Copied Composition
Ozuna          Llegó la Navidad                    SONY, Kobalt, Ozuna, Chris Jedi, Gaby Music                                                              Copied Composition

Ozuna          Luz Apaga                           SONY, Kobalt, Dimelo Vi, VP, SMP, SonyATV, Warner, Ozuna, Gaby Music, Chris Jeday, Rauw Alejandro Copied Composition
Ozuna          Mala                                SONY, Kobalt, Aura, Ozuna, Hi Music Hi Flow                                                       Copied Composition
Ozuna          Me Dijeron                          SONY, Kobalt, VP, SonyATV, SMP, Ozuna, Chris Jeday, Gaby Music                                    Sample that copies composition and copied composition
Ozuna          Mi Niña                             SONY, Kobalt, Aura, Ozuna, Hi Music Hi Flow, Los Legendarios                                      Sample that copies composition and copied composition
Ozuna          Muito Calor                         SONY, Kobalt, Dimelo Vi, VP, Aura, UMP, SMP, Ozuna, Hi Music Hi Flow, Anitta, Feid                Copied Composition
Ozuna          No la Mires                         SONY, Kobalt, Aura, Warner, SonyATV, SMP, Ozuna, Jhay Cortez, Hi Music Hi Flow                    Copied Composition
Ozuna          No Quiere Enamorarse                SONY, Kobalt, Dimelo Vi, VP, Aura, UMP, Ozuna, Hi Music Hi Flow, Chris Jedi, Gaby Music           Sample that copies composition and copied composition
                                                   SONY, Kobalt, Dimelo Vi, VP, Aura, UMP, Ozuna, Hi Music Hi Flow, Chris Jedi, Gaby Music, Daddy
Ozuna          No Quiere Enamorarse (Remix)        Yankee                                                                                            Sample that copies composition and copied composition
Ozuna          No Se Da Cuenta                     SONY, Kobalt, Aura, Ozuna, Los Legendarios, Daddy Yankee                                          Sample that copies composition and copied composition
Ozuna          Noches de Aventura                  SONY, Kobalt, Dimelo Vi, VP, Aura, Warner, Ozuna, Chris Jedi, Gaby Music                          Copied Composition
Ozuna          Pégate                              SONY, Kobalt, Aura, Ozuna, Hi Music Hi Flow                                                       Copied Composition
Ozuna          Qué Tú Esperas                      SONY, Kobalt, Aura, Ozuna, Los Legendarios, Hi Music Hi Flow, Zion, Lennox                        Sample that copies composition and copied composition
Ozuna          Quiero Mas                          SONY, SonyATV, SMP, Kobalt, Dimelo Vi, VP, Ozuna, Los Legendarios, Wisin, Yandel                  Sample that copies composition and copied composition
Ozuna          Reggaeton en Paris                  SONY, Kobalt, Aura, SMP, UMP, SonyATV, Ozuna, Dalex, Nicky Jam, Dímelo Flow                       Copied Composition
Ozuna          Se Preparo (Sony Latin)             SONY, Kobalt, Dimelo Vi, VP, Aura, Ozuna, Hi Music Hi Flow, Chris Jedi, Gaby Music                Sample that copies composition and copied composition
Ozuna          Si Tu Marido No Te Quiere           SONY, SonyATV, SMP, Kobalt, Dimelo Vi, VP, Ozuna                                                  Copied Composition
Ozuna          Si Tu Marido No Te Quiere (Remix)   SONY, SonyATV, SMP, Kobalt, Dimelo Vi, VP, Ozuna, Arcangel, Farruko                               Copied Composition
Ozuna          Síguelo Bailando                    SONY, Kobalt, Dimelo Vi, VP, Aura, Warner, Ozuna, Hi Music Hi Flow                                Copied Composition

Ozuna          Sígueme Los Pasos                   SONY, Kobalt, Dimelo Vi, VP, Ozuna, Chris Jeday, Gaby Music, Hi Music Hi Flow, J Balvin, Natti Natasha   Copied Composition
Ozuna          SIMPLE                              Rimas, UMP, Ozuna                                                                                        Sample that copies composition and copied composition
Ozuna          Sincero                             SONY, Kobalt, Aura, Ozuna, Hi Music Hi Flow, Los Legendarios, Hi Music Hi Flow                           Sample that copies composition and copied composition
                                                   SONY, Kobalt, Dimelo Vi, VP, UMP, SonyATV, SMP, Warner, Ozuna, DJ Luian, Mambo Kingz, Gaby
Ozuna          Supuestamente                       Music, Anuel AA                                                                                          Sample that copies composition and copied composition

Ozuna          Te Soñé De Nuevo                    SONY, Kobalt, Aura, VP, Dimelo Vi, Warner, Ozuna, Hi Music Hi Flow, DJLuisn, Mambo Kingz, Hydro          Sample that copies composition and copied composition
Ozuna          TIEMPO                              SONY, Kobalt, Aura, SonyATV, SMP, Ozuna, Sky, Gotay                                                      Copied Composition
Ozuna          Tu Foto                             SONY, Kobalt, Dimelo Vi, VP, Aura, Ozuna, Hi Music Hi Flow                                               Sample that copies composition and copied composition
Ozuna          Tu Olor                             SONY, Kobalt, Dimelo Vi, VP, Ozuna, Chris Jedi, Gaby Music                                               Copied Composition
Ozuna          Un Bellaqueo                        Rimas, Ozuna, Mambo Kingz, DJ Luian                                                                      Sample that copies composition and copied composition
Ozuna          Una Locura                          SONY, Kobalt, Aura, UMP, Ozuna, Hi Music Hi Flow, J Balvin, Chencho Corleone                             Copied Composition
Ozuna          Única                               SONY, Kobalt, Dimelo Vi, VP, Ozuna, Hi Music Hi Flow, Gaby Music                                         Sample that copies composition and copied composition
Ozuna          Única (Remix)                       SONY, Kobalt, Dimelo Vi, VP, Ozuna, Hi Music Hi Flow, Gaby Music, Anuel AA, Wisin, Yandel                Sample that copies composition and copied composition
                                                   SONY, Kobalt, Dimelo Vi, VP, UMP, SonyATV, SMP, Warner, Aura, Ozuna, DJ Luian, Mambo
Ozuna          Vacía Sin Mí                        Kingz, Hydro                                                                                             Copied Composition
Ozuna          Vaina Loca                          SONY, Kobalt, VP, SMP, SonyATV, UMP, Warner, Ozuna, Chris Jeday, Manuel Turizo                           Sample that copies composition and copied composition
Ozuna          Ya No Estoy Pa Ti                   Warner, Ozuna                                                                                            Sample that copies composition and copied composition
Ozuna          Yo Tengo Una Gata                   SONY, Kobalt, Aura, UMP, Warner, Ozuna, Dímelo Flow, Sech                                                Copied Composition

Paulo Londra   Adan y Eva                          WARNER, SonyATV, SMP, SOLAR, Paulo Londra, Ovy On The Drums                                              Copied Composition
Paulo Londra   BZRP Music Sessions #23             Warner, SMP, SOLAR, Paulo Londra                                                                         Copied Composition
Paulo Londra   Por Eso Vine                        WARNER, SonyATV, SMP, SOLAR, Kobalt, Paulo Londra, Ovy On The Drums                                      Copied Composition
Paulo Londra   Tal Vez                             WARNER, SonyATV, SMP, SOLAR, Kobalt, Paulo Londra, Ovy On The Drums                                      Copied Composition
Paulo Londra   Y Yo No Se                          WARNER, SonyATV, SMP, SOLAR, Kobalt, Paulo Londra, Ovy On The Drums                                      Copied Composition

Pitbull        3 to Tango                          SONY, Warner, Kobalt, Mr 305, Pitbull                                                                    Copied Composition
Pitbull        Bon, Bon                            SML, Mr 305, UMP, SMP, SonyATV, Pitbull                                                                  Copied Composition
                                    Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 23 of 33 Page ID
                                                                      #:2738

Pitbull          Borracha (Pero Buena Muchacha)           SONY, Mr 305, Pitbull                                                                               Copied Composition
Pitbull          Chi Chi Bon Bon                          SML, Mr 305, SMP, SonyATV, Pitbull                                                                  Copied Composition
Pitbull          Como Yo Le Doy                           SML, Mr 305, PeerMusic, SonyATV, Pitbull                                                            Sample that copies composition and copied composition
Pitbull          El Party                                 SML, Mr 305, SMP, SonyATV, Pitbull                                                                  Sample that copies composition and copied composition
Pitbull          Happy Mama Day                           SONY, Mr 305, Warner, Pitbull                                                                       Sample that copies composition and copied composition
                 Hey Ma ft Camila Cabello (Spanish
                 Version | The Fate of the Furious: The
Pitbull          Album)                                   WARNER, UMP, SonyATV, Kobalt, Pitbull, Camilla Cabello, J Balvin                                    Copied Composition
Pitbull          Mala                                     SONY, Mr 305, Warner, Pitbull, Becky G, De La Ghetto                                                Sample that copies composition and copied composition
Pitbull          Mami Mami                                SML, Mr 305, SMP, SonyATV, Pitbull                                                                  Sample that copies composition and copied composition
Pitbull          Me Quedaré Contigo                       SML, Mr 305, UMP, Warner, Kobalt, Pitbull                                                           Sample that copies composition and copied composition
Pitbull          Mil Amores (Remix)                       SONY, Mr 305, Pitbull                                                                               Sample that copies composition and copied composition
Pitbull          Mueve La Cintura                         SONY, SonyATV, SMP, Kobalt, Mr 305, Pitbull                                                         Copied Composition
Pitbull          Muévelo Loca Boom Boom                   SONY, SonyATV, SMP, Kobalt, UMP, Mr 305, Pitbull                                                    Copied Composition
Pitbull          No Lo Trates                             SONY, SonyATV, SMP, Kobalt, UMP, Mr 305, Pitbull, Daddy Yankee, Natti Natasha                       Copied Composition
Pitbull          Piensas (Dile La Verdad)                 SONY, SonyATV, SMP, Kobalt, Mr 305, Pitbull, Gente De Zona                                          Copied Composition
Pitbull          Por Favor                                SONY, UMP, Warner, Kobalt, Mr 305, Pitbull, Camilla Cabello                                         Copied Composition
Pitbull          Se La Vi                                 SML, Mr 305, Kobalt, Pitbull, Camilla Cabello, J Balvin                                             Copied Composition
Pitbull          Tell Me Again                            SML, Mr 305, Kobalt, Pitbull, Prince Royce                                                          Copied Composition
Pitbull          Ten Cuidado                              SML, Mr 305, Kobalt, PeerMusic, Pitbull, Farruko, El Alfa                                           Copied Composition
Pitbull          We Are One (Ole Ola)                     SML, Mr 305, UMP, SonyATV, SMP, Kobalt, Pitbull                                                     Copied Composition

Rauw Alejandro   2/Catorce                                SONY, SMP, Warner, SonyATV, Rauw Alejandro                                                          Copied Composition
Rauw Alejandro   Aquel Nap ZzZz                           SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro                                                     Copied Composition
Rauw Alejandro   Cúrame                                   SONY, SMP, Warner, SonyATV, Rauw Alejandro                                                          Copied Composition
Rauw Alejandro   De Cora 💙💙                               SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, J Balvin                                           Copied Composition
Rauw Alejandro   Detective                                SONY, Rauw Alejandro                                                                                Sample that copies composition and copied composition
Rauw Alejandro   Dile a Él                                SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Rosalia                                            Copied Composition
Rauw Alejandro   El Efecto                                SONY, Warner, Rauw Alejandro, Eric Duars, Chencho Corleone                                          Sample that copies composition and copied composition
Rauw Alejandro   El Efecto RMX                            SONY, Warner, Rauw Alejandro, Eric Duars, Chencho Corleone, Dalex                                   Sample that copies composition and copied composition

Rauw Alejandro   ELEGÍ                                    SONY, Warner, SonyATV, SMP, Duars Ent., UMP, Rauw Alejandro, Dalex, Lenny Tavarez, Dimelo Flow      Copied Composition
Rauw Alejandro   Enchule                                  SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Eric Duars, Dimelo Ninow                           Copied Composition
Rauw Alejandro   Fantasías                                SONY, Warner, Rauw Alejandro, Eric Duars, Chencho Corleone, Farruko                                 Copied Composition
                                                          SONY, Warner, SMP, SonyATV, Rauw Alejandro, Urba, Sharo Towers, Anuel AA, Natti Natasha, Farruko,
Rauw Alejandro   Fantasías Remix                          Lunay                                                                                               Copied Composition
Rauw Alejandro   La Old Skul                              SONY, Warner, Rauw Alejandro, Daddy Yankee                                                          Copied Composition
Rauw Alejandro   LOKERA                                   SONY, Warner, Rauw Alejandro                                                                        Copied Composition
Rauw Alejandro   Mis Días Sin Ti                          SONY, Warner, UMP, Kobalt, Rauw Alejandro, Bryant Myers, Eric Duars                                 Copied Composition
Rauw Alejandro   Mood                                     SONY, SMP, Warner, SonyATV, UMP, Kobalt, Rauw Alejandro, Sech, Dimelo Flow                          Sample that copies composition and copied composition
Rauw Alejandro   NO DRAMA                                 SONY, Warner, UMP, Rauw Alejandro,                                                                  Copied Composition
Rauw Alejandro   No Te Creo                               SONY, SMP, Warner, SonyATV, Rauw Alejandro, Wisin, Yandel, Eric Duars                               Sample that copies composition and copied composition
Rauw Alejandro   Nubes                                    SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro                                                     Copied Composition
Rauw Alejandro   Olvidemos                                SONY, SMP, Warner, SonyATV, Rauw Alejandro, Lyanno, Alvaro Diaz                                     Copied Composition
Rauw Alejandro   Pensándote                               SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Tainy, Eric Duars                                  Sample that copies composition and copied composition
Rauw Alejandro   Perreo Pesau’                            SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Daddy Yankee, Eric Duars                           Copied Composition
Rauw Alejandro   Ponte Pa' Mí                             SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Eric Duars, Myke Towers, Sky                       Copied Composition
Rauw Alejandro   Que Le De Remix                          SONY, Warner, Duars Ent., Rauw Alejandro, Nicky Jam, Eric Duars, Myke Towers, Justin Quiles         Copied Composition
Rauw Alejandro   Que Le Dé                                SONY, Warner, Duars Ent., Rauw Alejandro, Nicky Jam, Eric Duars                                     Copied Composition
Rauw Alejandro   Química                                  SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Zion, Lenox                                        Copied Composition
Rauw Alejandro   Reloj                                    SONY, SMP, Warner, SonyATV, UMP, Kobalt, Rauw Alejandro, Anuel AA, Eric Duars                       Copied Composition
Rauw Alejandro   Sexo Virtual                             SONY, SMP, Warner, SonyATV, Rauw Alejandro, Tainy                                                   Copied Composition
Rauw Alejandro   Soy Una Gárgola                          SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro                                                     Copied Composition
Rauw Alejandro   Strawberry Kiwi                          SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Rosalia, Sky                                       Copied Composition
Rauw Alejandro   Superalo                                 UMP, Rauw Alejandro                                                                                 Copied Composition
Rauw Alejandro   Tattoo                                   SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Camilo, Eric Duars                                 Copied Composition
                                     Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 24 of 33 Page ID
                                                                       #:2739

Rauw Alejandro   Un Sueño                        SONY, SMP, Warner, SonyATV, UMP, Kobalt, Rauw Alejandro, Eric Duars                         Copied Composition
Rauw Alejandro   Una Noche                       SONY, SMP, Warner, SonyATV, UMP, Kobalt, Rauw Alejandro, Wisin                              Copied Composition
Rauw Alejandro   ¿Y Eso?                         SONY, SMP, Warner, SonyATV, UMP, Rauw Alejandro, Tainy, Jhay Cortez                         Copied Composition
Rauw Alejandro   Yo Sabía                        SONY, SMP, Warner, UMP, Rauw Alejandro, Eric Duars                                          Copied Composition

Reik             Aleluya                         SONY, Warner, UMP, SMP, SonyATV, PeerMusic, Reik, Manuel Turizo, El Dandee, Andres Torres   Copied Composition
Reik             Amigos Con Derechos             SONY, UMP, SMP, SonyATV, Reik, Maluma                                                       Copied Composition
Reik             Duele                           SONY, UMP, SMP, Reik, Wisin, Yandel                                                         Copied Composition
Reik             Indeciso                        UMG, UML, Reik, J. Balvin                                                                   Copied Composition
Reik             Loquita                         SONY, Warner, UMP, SMP, Reik, Rauw Alejandro, Eric Duars                                    Copied Composition
Reik             Los Tragos                      SONY, Reik                                                                                  Copied Composition
Reik             Me Niego                        SONY, Kobalt, UMP, SMP, SonyATV, Reik, Ozuna, Wisin, Los Legendarios                        Copied Composition
Reik             Perfecta                        SMG, SonyATV, SMP, Reik, Maluma                                                             Copied Composition
                 Qué Gano Olvidándote (Versión
Reik             Urbana)                         SONY, UMP, SMP, Reik, Zion, Lenox, Chris Jedi, Gaby Music                                   Copied Composition
Reik             Ráptame                         SONY, SMP, SonyATV, Reik, Danny Ocean                                                       Copied Composition
Reik             Si Me Dices Que Sí              SONY, SMP, SonyATV, UMP, Reik, Farruko, Camilo, Tainy                                       Copied Composition
Reik             Ya Veremos                      SONY, SMP, SonyATV, UMP, Reik                                                               Copied Composition

Ricky Martin     Adiós                           SONY, Kobalt, Ricky Martin, Rayito                                                          Copied Composition
Ricky Martin     Drop It On Me                   SONY, Ricky Martin, Daddy Yankee, Luny Tunes                                                Sample that copies composition and copied composition
Ricky Martin     Fiebre                          SONY, SonyATV, SMP, Ricky Martin, Los Legendarios                                           Sample that copies composition and copied composition
Ricky Martin     Perdóname                       SONY, SonyATV, SMP, UMP, Ricky Martin, Farruko                                              Copied Composition
Ricky Martin     Tiburones [Remix]               SONY, SonyATV, SMP, UMP, Ricky Martin, Farruko                                              Copied Composition
Ricky Martin     Vente Pa' Ca                    SONY, SonyATV, SMP, UMP, Kobalt, Ricky Martin, Maluma                                       Copied Composition

Rosalía          BIZCOCHITO                      SONY, UMP, Rosalía, Rauw Alejandro                                                          Copied Composition
Rosalía          CHICKEN TERIYAKI                SONY, SonyATV, SMP, UMP, Warner, Rosalía, Rauw Alejandro, Sky                               Copied Composition
Rosalía          Con Altura                      SONY, SonyATV, SMP, UMP, Warner, Kobalt, Rosalía, J Balvin, Sky                             Copied Composition
Rosalía          DIABLO                          SONY, SMP, UMP, Warner, Pulse, Concord, Rosalía, Justin Quiles, Urba, Wisin                 Copied Composition
Rosalía          LA COMBI VERSACE                SONY, UMP, SMP, Warner, SOLAR, Rosalía, Sky, Tainy                                          Copied Composition
Rosalía          SAOKO                           SONY, SonyATV, SMP, UMP, Kobalt, Concord, Rosalía, Justin Quiles, Urba, Wisin               Copied Composition
Rosalía          TKN                             SONY, SonyATV, SMP, UMP, Warner, Rosalía,Travis Scott, DJ Nelson, Tainy, Sky                Copied Composition
Rosalía          Yo x Ti, Tu x Mi                SONY, SonyATV, SMP, UMP, Kobalt, Warner, SOLAR, Rosalía, Ozuna                              Copied Composition

Sech             911                             Rich Music, UMG, Ingrooves, SonyATV, SMP, Kobalt, Warner, Sech, Dimelo Flow, Jhay Cortez    Copied Composition
Sech             Admítelo                        Rich Music, UMG, Ingrooves, Sech                                                            Copied Composition
Sech             Bentley                         Rich Music, UMG, Ingrooves, Kobalt, UMP, SonyATV, SMP, Sech, Dimelo Flow, Myke Towers       Copied Composition
Sech             Boomerang                       Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow,                                         Copied Composition
Sech             Borracho                        Rich Music, UMG, Ingrooves, Kobalt, UMP, Sech,                                              Copied Composition
Sech             Brindo                          Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                       Copied Composition
Sech             Casino                          Rich Music, UMG, Ingrooves, SonyATV, UMP, SMP, Sech, Dimelo Flow                            Copied Composition
Sech             Con Bochinche                   Rich Music, UMG, Ingrooves, Kobalt, Sech                                                    Copied Composition
Sech             Confía                          Rich Music, UMG, Ingrooves, SonyATV, SMP, Sech, Daddy Yankee, Dimelo Flow                   Sample that copies composition and copied composition
Sech             Cositas Malas                   Rich Music, UMG, Ingrooves, Kobalt, Sech                                                    Copied Composition
Sech             Cumpleaños                      Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                          Copied Composition
Sech             Dale                            Rich Music, UMG, Ingrooves, Warner, SMP, Sech, Dimelo Flow, Lenny Tavárez                   Copied Composition
Sech             Dios Te Guarde                  Rich Music, UMG, Ingrooves, UMP, Kobalt, Sech, Dimelo Flow                                  Copied Composition
Sech             Duvibes                         Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                       Copied Composition
Sech             El Error                        Cinq, Sech                                                                                  Copied Composition
Sech             En Lo Oscuro                    Rich Music, UMG, Ingrooves, Warner, UMP, Sech, Dimelo Flow, Sky, Slow Mike                  Sample that copies composition and copied composition
Sech             Fabuloso                        Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow, Justin Quiles, Slow Mike                Sample that copies composition and copied composition
Sech             Falsas Promesas                 Rich Music, UMG, Ingrooves, SMP, SonyATV, UMP, Sech                                         Copied Composition
Sech             Feliz de Mentira                Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                       Copied Composition
Sech             Goteras                         Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                          Copied Composition
Sech             La Discusión                    Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                          Copied Composition
                                         Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 25 of 33 Page ID
                                                                           #:2740

Sech                La Luz                         Rich Music, UMG, Ingrooves, UMP, Kobalt, Sech, Dimelo Flow, J Balvin                                 Copied Composition
Sech                La Niña                        Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                                   Copied Composition
Sech                La Otra                        Rich Music, UMG, Ingrooves, Sech                                                                     Copied Composition
Sech                Lo Malo                        Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                                   Copied Composition
Sech                Mas Pegao                      Rich Music, UMG, Ingrooves, Kobalt, Sech                                                             Copied Composition
Sech                Me Olvidé                      Rich Music, UMG, Ingrooves, Sech, Dimelo Flow                                                        Copied Composition
Sech                Mi Ex                          Rich Music, UMG, Ingrooves, SonyATV, SMP,UMP, Sech, Dimelo Flow                                      Copied Composition
Sech                Mintiendo y Enamorando         Rich Music, UMG, Ingrooves, Sech                                                                     Copied Composition
                                                   Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow, Anuel AA, Karol G, Farruko, De La Ghetto, Justin
Sech                Miss Lonely                    Quiles                                                                                               Copied Composition
Sech                Noche De Teteo                 Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                                   Copied Composition
Sech                Oficial                        Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow, Subelo NEO                                       Copied Composition
Sech                Ojalá                          Rich Music, UMG, Ingrooves, UMP, SonyATV, SMP, Sech                                                  Copied Composition
Sech                Otro Trago                     Rich Music, UMG, Ingrooves, SMP, SonyATV, UMP, Sech, Dimelo Flow                                     Copied Composition
Sech                Otro Trago (Remix)             Rich Music, UMG, Ingrooves, SMP, SonyATV, UMP, Sech, Dimelo Flow, Ozuna, Anuel AA                    Copied Composition
Sech                Pa' Que Sude                   Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                                   Sample that copies composition and copied composition
Sech                Panama City                    Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                                Copied Composition
Sech                Pata' Abajo                    Rich Music, UMG, Ingrooves, Kobalt, Sech, Wisin, Yandel, Dimelo Flow                                 Copied Composition
Sech                Playa                          Rich Music, UMG, Ingrooves, SMP, Warner, UMP, Sech, Sky, Rauw Alejandro, Nicky Jam                   Copied Composition
Sech                Portarse Mal                   Rich Music, UMG, Ingrooves, UMP, SMP, Sech, Dimelo Flow                                              Copied Composition
Sech                PSL                            Rich Music, UMG, Ingrooves, UMP, Kobalt, Sech, Dimelo Flow                                           Copied Composition
Sech                ¡Que Más Pues!                 Rich Music, UMG, Ingrooves, UMP, SMP, SonyATV, UMP, Sech                                             Copied Composition
                                                   Carbon Fiber, Rich Music, UMG, Ingrooves, UMP, SMP, SonyATV, UMP, Sech, Dimelo Flow, Rike Music,
Sech                Que Mas Pues Remix             Justin Quiles, Maluma, Farruko, Lenny Tavarez, Dalex, Nicky Jam                                      Copied Composition
Sech                ¿Qué Somos?                    Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                                Copied Composition
Sech                Relación                       Rich Music, UMG, Ingrooves, SonyATV, UMP, SMP, Sech, Dimelo Flow                                     Copied Composition
                                                                                                                                                        Sample that copies composition and copied composition and
Sech                Sal y Perrea                   Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                                interpolates Dem Bow
                                                                                                                                                        Sample that copies composition and copied composition and
Sech                Sal y Perrea Remix             Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow, Daddy Yankee                                  interpolates Dem Bow
                                                                                                                                                        Sample that copies composition and copied composition and
Sech                Se Va Viral                    Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow, Nando Boom                                    interpolates Dem Bow
Sech                Si Te Vas                      Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow, Ozuna                                         Copied Composition
Sech                Sin Querer                     Rich Music, UMG, Ingrooves, Kobalt, Sech                                                             Copied Composition
Sech                Solita                         Rich Music, UMG, Ingrooves, UMP, SMP, SonyATV, Sech, Dimelo Flow, Zion, Lennox, Farruko              Copied Composition
Sech                Te Acuerdas                    Rich Music, UMG, Ingrooves, Kobalt, Sech, Dimelo Flow                                                Copied Composition
Sech                Tiene Novio                    Rich Music, UMG, Ingrooves, UMP, SonyATV, SMP, Sech, Dimelo Flow, Manuel Turizo                      Copied Composition
Sech                Toco Mentir                    Rich Music, UMG, Ingrooves, UMP, Sech                                                                Copied Composition
Sech                Tu y Yo                        Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow, Zion & Lennox                                    Copied Composition
Sech                Wao                            Rich Music, UMG, Ingrooves, Kobalt, UMP, Sech, Dimelo Flow                                           Copied Composition
Sech                X Ti                           Rich Music, UMG, Ingrooves, UMP, Sech, Dimelo Flow                                                   Copied Composition

Silvestre Dangond   Casate Conmigo                 SONY, SOLAR, Warner, SonyATV, SMP, Silvestre Dangold, Nicky Jam                                       Copied Composition
Silvestre Dangond   Justicia                       SONY, SOLAR, Warner, SonyATV, SMP, Silvestre Dangold, Kobalt, Natti Natasha                           Copied Composition
Silvestre Dangond   Vallenato Apretao              SONY, SOLAR, Warner, SonyATV, SMP, Silvestre Dangold                                                  Copied Composition
Silvestre Dangond   Vivir Bailando                 SONY, SOLAR, Warner, SonyATV, SMP, Silvestre Dangold, Maluma                                          Copied Composition
Silvestre Dangond   Ya No Me Duele Más             SONY, SOLAR, UMP, SonyATV, SMP, Silvestre Dangold                                                     Copied Composition

Sky                 A Vapor                        UMG, Warner, Sky, Jhay Cortez                                                                         Copied Composition
                                                   UMG, Warner, Sky, SOLAR, SonyATV, SMP, UMP, Sebastián Yatra, Zion, Lennox, El Dandee, Andres
Sky                 Aquí Estaré                    Torres                                                                                                Copied Composition
Sky                 Juraste                        UMG, Rich Music, UMP, SOLAR, SMP, SonyATV, Sky, Justin Quiles, Farruko                                Copied Composition
Sky                 Le Creo                        UMG, SonyATV, Sky, Feid                                                                               Copied Composition

                                                                                                                                                         Sample of sound recording, Sample that copies composition and
Wisin               3G                             SONY, Kobalt, SonyATV, SMP, Wisin, Los Legendarios                                                    copied composition
                              Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 26 of 33 Page ID
                                                                #:2741

Wisin   Adicta                          SONY, Wisin, Los Legendarios                                                               Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Adicto                          SONY, SMP, SonyATV, UMP, Wisin, Luny Tunes                                                 copied composition
Wisin   Adictos a tus besos             SONY, SMP, SonyATV, Wisin, Luny Tunes                                                      Copied Composition
Wisin   Adrenalina                      SONY, SMP, SonyATV, Warner, Wisin, Chris Jedi, Ricky Martin                                Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Ahí es que es                   SONY, SMP, SonyATV, Wisin, Los Legendarios                                                 copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Amenázame                       SONY, SMP, SonyATV, UMP, Wisin                                                             copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Amor, amor                      SONY, SMP, Warner, Wisin, Chris Jedi                                                       copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Amor de locos                   SONY, SMP, SonyATV, UMP, Wisin                                                             copied composition
Wisin   Andan Por Ahi                   Machete, SMP, SonyATV, Kobalt, Warner, Wisin, Ozuna, Bad Bunny, Farruko, Nicky Jam, Zion   Sample that copies composition and copied composition
Wisin   Buenos Días                     SONY, SMP, Warner, Kobalt, Wisin, Los Legendarios, Camilo                                  Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Callaíto                        SONY, SMP, SonyATV, UMP, Wisin                                                             copied composition
Wisin   Candente                        SONY, SMP, SonyATV, UMP, Wisin, Luny Tunes, MadMusick                                      Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Caramelo                        SONY, SMP, SonyATV, UMP, Wisin                                                             copied composition
Wisin   Cerramos los Ojos               SONY, Wisin, Los Legendarios                                                               Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Claro                           SONY, SMP, SonyATV, Warner, Wisin, Chris Jedi                                              copied composition
Wisin   Como Tú Lo Haces                SONY, Wisin, Los Legendarios                                                               Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Contra la pared                 SONY, SMP, SonyATV, UMP, Warner, Wisin, Los Legendarios                                    copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Corazón Acelerao                SONY, SMP, SonyATV, UMP, Wisin, Eric Duars                                                 copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Dale Mas                        UMG, Machete, Wisin                                                                        copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Dime qué sucedió                SONY, SMP, SonyATV, Warner, Wisin                                                          copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   El Jinete                       UMG, Machete, Wisin, Urba                                                                  copied composition
Wisin   Emojis de Corazones             SONY, Kobalt, SonyATV, SMP, Wisin, Jhay Cortez, Ozuna, Los Legendarios                     Copied Composition
Wisin   En Busca de un Caldo            UMG, Machete, Wisin, Urba                                                                  Sample that copies composition and copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Entramos en calor               SONY, SMP, SonyATV, Wisin, Los Legendarios                                                 copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Escápate Conmigo                SONY, SMP, SonyATV, Kobalt, Wisin, Los Legendarios, Gaby Music, Ozuna                      copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Esta noche lo vamos a hacer     SONY, SMP, SonyATV, Wisin, Los Legendarios                                                 copied composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Esta vez                        SONY, SMP, SonyATV, Warner, Wisin, Gaby Music                                              copied composition
Wisin   Extraño                         SONY, Wisin, Los Legendarios                                                               Copied Composition
                                                                                                                                   Sample of sound recording, Sample that copies composition and
Wisin   Faldita esa                     SONY, SMP, SonyATV, Wisin, Luny Tunes                                                      copied composition
Wisin   Fue W                           UMG, Machete, Wisin, Yandel                                                                Sample that copies composition and copied composition
Wisin   Hacerte el Amor                 SONY, SMP, SonyATV, UMP, Wisin, Yandel, Nicky Jam, Los Legendarios                         Sample that copies composition and copied composition
Wisin   Heavy, Heavy                    SONY, SMP, SonyATV, UMP, Wisin, Luny Tunes                                                 Sample that copies composition and copied composition
Wisin   La Camella                      UMG, Machete, Wisin, Urba                                                                  Sample that copies composition and copied composition
Wisin   La trilogía (Introducción)      UMG, Machete, Wisin, DJ Luian, Farruko                                                     Sample that copies composition and copied composition
Wisin   Labios Prohibidos               SONY, Wisin, Los Legendarios                                                               Copied Composition
Wisin   Los Vaqueros»                   SONY, SMP, SonyATV, UMP, Wisin, Farruko, DJ Luian                                          Sample that copies composition and copied composition
Wisin   Mari Mari                       SONY, Wisin, Los Legendarios                                                               Copied Composition
Wisin   Me Siento Bien                  SONY, Wisin, Los Legendarios                                                               Copied Composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 27 of 33 Page ID
                                                                     #:2742

Wisin            Mi Niña                     SONY, SonyATV, UMP, PeerMusic, Wisin, Los Legendarios, Myke Towers                       Copied Composition
Wisin            Mucho Bajo                  SONY, SMP, SonyATV, UMP, Wisin, Luny Tunes                                               Sample that copies composition and copied composition
Wisin            Muévelo                     SONY, SMP, SonyATV, Kobalt, Warner, Wisin, Los Legendarios                               Sample that copies composition and copied composition
Wisin            Mujeres Hagan Fila          UMG, Machete, Wisin                                                                      Copied Composition
Wisin            No Sé"                      UMG, Machete, Wisin, Urba                                                                Copied Composition
Wisin            Nota de Amor                SONY, SMP, SonyATV, Kobalt, Wisin, Carlos Vives, Daddy Yankee, Luny Tunes                Copied Composition
Wisin            Pégate pa' que veas         SONY, SMP, SonyATV, Wisin                                                                Sample that copies composition and copied composition
Wisin            Piquete                     SONY, SMP, SonyATV, Wisin, Plan B, Chencho Corleone                                      Sample that copies composition and copied composition
Wisin            Poder                       SONY, SMP, SonyATV, UMP, Wisin, Farruko                                                  Sample that copies composition and copied composition
Wisin            Por Ley                     SONY, Wisin, Los Legendarios                                                             Copied Composition
Wisin            Por Si Vuelves              SONY, Wisin, Luis Fonsi, Los Legendarios                                                 Copied Composition
Wisin            Presión                     SONY, SMP, Warner, UMP, Wisin, Tainy                                                     Sample that copies composition and copied composition
Wisin            Prohibida                   SONY, SMP, SonyATV, Warner, Wisin, Gaby Music, Zion, Lennox                              Sample that copies composition and copied composition
Wisin            Quisiera Alejarme           SONY, SMP, SonyATV, Kobalt, PeerMusic, Wisin, Los Legendarios, Ozuna                     Sample that copies composition and copied composition
Wisin            Quisiera Alejarme (Remix)   SONY, SMP, SonyATV, Kobalt, PeerMusic, Wisin, Los Legendarios, Ozuna, CNCO               Sample that copies composition and copied composition
Wisin            Riendo Para No Llorar       UMG, Machete, Wisin, Urba                                                                Sample that copies composition and copied composition
Wisin            Sacuda                      SONY, Wisin, Los Legendarios                                                             Copied Composition
Wisin            Saoco                       UMG, Machete, SONY, SMP, SonyATV, Kobalt, Wisin, Urba, Daddy Yankee                      Sample that copies composition and copied composition
Wisin            Si lo hacemos Bien          Warner, SonyATV, SMP, Wisin                                                              Sample that copies composition and copied composition
Wisin            Siente el Calor"            UMG, Machete, Wisin, Urba                                                                Sample that copies composition and copied composition
Wisin            Todo Comienza en la Disco   SONY, SonyATV, SMP, UMP, Kobalt, Warner, Wisin, Yandel, Gaby Music, Urba, Daddy Yankee   Sample that copies composition and copied composition
Wisin            Traviesa                    SONY, SMP, SonyATV, Wisin, Los Legendarios                                               Sample that copies composition and copied composition
Wisin            Tu Libertad                 SONY, SMP, SonyATV, PeerMusic, Warner, Wisin, Prince Royce                               Copied Composition
Wisin            Tu Cuerpo Me Llama          UMG, Machete, Wisin, Urba                                                                Copied Composition
Wisin            Vacaciones                  SONY, SMP, SonyATV, Kobalt, Wisin, Los Legendarios, Motiff                               Sample that copies composition and copied composition
Wisin            Ven báilame                 SONY, SMP, SonyATV, Wisin, Los Legendarios                                               Sample that copies composition and copied composition
Wisin            Volar                       SONY, Wisin, Los Legendarios                                                             Copied Composition
Wisin            Wisin Mátalos               UMG, Machete, Wisin, Urba                                                                Sample that copies composition and copied composition
Wisin            Yo me dejo                  SONY, SMP, SonyATV, Wisin                                                                Sample that copies composition and copied composition
Wisin            Yo Quiero Contigo           SONY, SMP, SonyATV, UMP, Wisin                                                           Sample that copies composition and copied composition

Wisin & Yandel   Ahora Es                    UMG, Machete, PeerMusic, UMP, Wisin, Yandel                                              Sample that copies composition and copied composition
Wisin & Yandel   Algo Pasó                   SONY, Wisin, Yandel                                                                      Copied Composition
Wisin & Yandel   Aullando                    SONY, SonyATV, SMP, Warner, Kobalt, Wisin, Yandel, Chris Jeday, Gaby Music               Sample that copies composition and copied composition
Wisin & Yandel   Besos Mojados               UMG, Machete, Wisin, Yandel, Luny Tunes                                                  Sample that copies composition and copied composition
Wisin & Yandel   Boricua NY1                 UMG, Machete, Wisin, Yandel                                                              Copied Composition
Wisin & Yandel   Burn It Up                  SONY, SonyATV, SMP, UMP, Wisin, Yandel                                                   Copied Composition
Wisin & Yandel   Callao                      SONY, SonyATV, SMP, Kobalt, Wisin, Yandel, Los Legendarios, Ozuna                        Sample that copies composition and copied composition
Wisin & Yandel   Cállate                     UMG, Machete, UMP, Wisin, Yandel                                                         Sample that copies composition and copied composition
Wisin & Yandel   Calle Callejero             UMG, Machete, UMP, Wisin, Yandel, Tainy                                                  Sample that copies composition and copied composition
Wisin & Yandel   Chica Bombastic             SONY, SMP, UMP, PeerMusic, Kobalt, Wisin, Yandel                                         Sample that copies composition and copied composition
Wisin & Yandel   Como Tú No Hay Nadie        UMG, Machete, UMP, Wisin, Yandel                                                         Copied Composition
Wisin & Yandel   Con Mi Reggae Muero         UMG, Machete, UMP, Wisin, Yandel, DJ Blass                                               Copied Composition
Wisin & Yandel   Dame Algo                   SONY, SonyATV, SMP, UMP, Wisin, Yandel, Tainy, Bad Bunny                                 Sample that copies composition and copied composition
Wisin & Yandel   De Otra Manera              SONY, Wisin, Yandel                                                                      Sample that copies composition and copied composition
Wisin & Yandel   Delirando                   UMG, Wisin, Yandel, Nesty, Nasi                                                          Sample that copies composition and copied composition
                                                                                                                                      Sample that copies composition and copied composition and
Wisin & Yandel   Dembow                      SONY, SonyATV, Wisin, Yandel, DJ Blass                                                   interpolates Dem Bow
Wisin & Yandel   Desaparecio                 UMG, Machete, Wisin, Yandel, Tainy                                                       Copied Composition
Wisin & Yandel   Descará                     UMG, Machete, Wisin, Yandel, Luny Tunes                                                  Sample that copies composition and copied composition
Wisin & Yandel   Deseo                       SONY, SonyATV, SMP, Wisin, Yandel, Los Legendarios, Zion, Lennox, Tainy                  Sample that copies composition and copied composition
Wisin & Yandel   Dime Quienes Son            SONY, Wisin, Yandel, Urba                                                                Sample that copies composition and copied composition
Wisin & Yandel   el gitro amarillo           UMG, Wisin, Yandel                                                                       Sample that copies composition and copied composition
Wisin & Yandel   Electrica                   SONY, Wisin, Yandel, Urba                                                                Sample that copies composition and copied composition
Wisin & Yandel   En Busca de Ti              UMG, Wisin, Yandel                                                                       Copied Composition
Wisin & Yandel   En La Disco Bailoteo        SONY, Wisin, Yandel, Luny Tunes                                                          Sample that copies composition and copied composition
                                   Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 28 of 33 Page ID
                                                                     #:2743

Wisin & Yandel   ENCENDIO                          UMG, Machete, Wisin, Yandel                                                       Sample that copies composition and copied composition
Wisin & Yandel   Espejos Negros                    SONY, Wisin, Yandel, DJ Blass                                                     Copied Composition
Wisin & Yandel   Esta Noche Hay Pelea              SONY, SonyATV, SMP, Wisin, Yandel, Luny Tunes                                     Copied Composition
Wisin & Yandel   Estoy Enamorado                   UMG, Machete, UMP, Wisin, Yandel                                                  Sample that copies composition and copied composition
Wisin & Yandel   Fuera de Base                     UMG, Machete, UMP, Wisin, Yandel                                                  Sample that copies composition and copied composition
Wisin & Yandel   Ganas de Ti                       UMG, Wisin, Yandel, Urba                                                          Sample that copies composition and copied composition
Wisin & Yandel   Gerla                             SONY, Wisin, Yandel                                                               Sample that copies composition and copied composition
Wisin & Yandel   Girla                             SONY, Wisin, Yandel                                                               Sample that copies composition and copied composition
Wisin & Yandel   Guaya                             SONY, SonyATV, SMP, Warner, Kobalt, Wisin, Yandel                                 Sample that copies composition and copied composition
Wisin & Yandel   Guáyale El Mahón                  SONY, SonyATV, SMP, Wisin, Yandel, Luny Tunes                                     Sample that copies composition and copied composition
Wisin & Yandel   Hipnotizame Remix                 SONY, Wisin, Yandel, Tainy, Daddy Yankee                                          Sample that copies composition and copied composition
Wisin & Yandel   Hola                              SONY, Wisin, Yandel, DJ Blass                                                     Sample that copies composition and copied composition
Wisin & Yandel   La Calle Caliente                 UMG, Wisin, Yandel                                                                Sample that copies composition and copied composition
Wisin & Yandel   La Fanática                       SONY, Wisin, Yandel, DJ Blass                                                     Sample that copies composition and copied composition
Wisin & Yandel   La Gitana                         SONY, Wisin, Yandel                                                               Sample that copies composition and copied composition
Wisin & Yandel   La Luz                            SONY, SonyATV, SMP, UMP, Wisin, Yandel, Los Legendarios, Maluma, MadMusick        Sample that copies composition and copied composition
Wisin & Yandel   La Misión                         SONY, Wisin, Yandel                                                               Sample that copies composition and copied composition
Wisin & Yandel   La Misión 2                       SONY, Wisin, Yandel, DJ Blass                                                     Sample that copies composition and copied composition
Wisin & Yandel   La Quebranta Hueso                UMG, Machete, Wisin, Yandel                                                       Sample that copies composition and copied composition
Wisin & Yandel   La Reunión De Los Vaqueros        UMG, Machete, UMP, Wisin, Yandel, De La Ghetto                                    Sample that copies composition and copied composition
Wisin & Yandel   La Revolución                     UMG, Machete, Wisin, Yandel                                                       Sample that copies composition and copied composition
Wisin & Yandel   La Rockera                        SONY, Wisin, Yandel, DJ Blass                                                     Sample that copies composition and copied composition
Wisin & Yandel   La Sata                           SONY, SonyATV, SMP, Wisin, Yandel, DJ Blass                                       Copied Composition
Wisin & Yandel   La Trova                          SONY, Wisin, Yandel, DJ Blass                                                     Copied Composition
Wisin & Yandel   La Vaquera                        SONY, Wisin, Yandel, DJ Blass                                                     Copied Composition
Wisin & Yandel   Las Cosas Cambiaron               UMG, Machete, PeerMusic, UMP, Wisin, Yandel                                       Sample that copies composition and copied composition
Wisin & Yandel   Lento                             UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                                      Sample that copies composition and copied composition
                                                                                                                                     Sample that copies composition and copied composition and
Wisin & Yandel   Llamé Pa' Verte (Bailando Sexy)   UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                                      interpolates Dem Bow
Wisin & Yandel   Llora Mi Corazón                  UMG, Machete, UMP, Warner, Wisin, Yandel                                          Copied Composition
Wisin & Yandel   Llueve                            SONY, Wisin, Yandel, Sech, Jhay Cortez                                            Copied Composition
Wisin & Yandel   Manigueta                         UMG, Machete, UMP, Wisin, Yandel                                                  Sample that copies composition and copied composition
Wisin & Yandel   Mayor Que Yo part 2               UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                                      Sample that copies composition and copied composition
Wisin & Yandel   Mayor Que Yo                      SonyATV, UMP, SMP, Wisin, Yandel, Daddy Yankee                                    Sample that copies composition and copied composition
Wisin & Yandel   Me Dañas la Mente                 SONY, SonyATV, SMP, Warner, Kobalt, Wisin, Yandel, DJ Luian, Mambo Kingz          Copied Composition
Wisin & Yandel   Me Quieren Detener                SONY, Wisin, Yandel                                                               Copied Composition
Wisin & Yandel   Mirala Bien                       UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                                      Sample that copies composition and copied composition
Wisin & Yandel   Mueve tu cuerpo lento             Pina, Wisin, Yandel                                                               Copied Composition
Wisin & Yandel   Muévete                           UMG, Machete, UMP, Wisin, Yandel, Tainy                                           Sample that copies composition and copied composition
Wisin & Yandel   Mujeron                           UMG, Kobalt, Wisin, Yandel, Urba                                                  Sample that copies composition and copied composition
Wisin & Yandel   Musica Buena                      UMG, Machete, Wisin, Yandel, Urba                                                 Sample that copies composition and copied composition
Wisin & Yandel   Nadie Como Tu                     UMG, Machete, UMP, Warner, SMP, Wisin, Yandel                                     Sample that copies composition and copied composition
Wisin & Yandel   No Fear 3                         SONY, Wisin, Yandel                                                               Copied Composition
Wisin & Yandel   No Sé                             SONY, Wisin, Yandel, Luny Tunes                                                   Sample that copies composition and copied composition
Wisin & Yandel   NO SE OLVIDA                      SONY, SonyATV, SMP, UMP, Wisin, Yandel                                            Copied Composition
Wisin & Yandel   Noche De Sexo                     UMG, Machete, UMP, Wisin, Yandel, Nely                                            Sample that copies composition and copied composition
Wisin & Yandel   Ojalá                             SONY, SonyATV, SMP, UMP, Wisin, Yandel, Sharo Towers, Dímelo Flow, Farruko        Copied Composition
Wisin & Yandel   Ola                               SONY, Wisin, Yandel, DJ Blass                                                     Copied Composition
Wisin & Yandel   Paleta                            UMG, Machete, UMP, SMP, SonyATV, Wisin, Yandel, Luny Tunes, Tainy, Daddy Yankee   Sample that copies composition and copied composition
Wisin & Yandel   Pam Pam                           UMG, Machete, SonyATV, SMP, Wisin, Yandel, Tainy, Luny Tunes                      Sample that copies composition and copied composition
Wisin & Yandel   Pasan Los Dias                    UMG, Machete, Wisin, Yandel                                                       Sample that copies composition and copied composition
Wisin & Yandel   Pegate                            SONY, SonyATV, SMP, Wisin, Yandel, DJ Blass                                       Copied Composition
Wisin & Yandel   Pegao                             UMG, UMP, Wisin, Yandel                                                           Sample that copies composition and copied composition
Wisin & Yandel   Peligro                           SONY, Wisin, Yandel, O'Neill, Tainy                                               Sample that copies composition and copied composition
Wisin & Yandel   Perfecto                          UMG, Machete, Wisin, Yandel, Ivy Queen                                            Sample that copies composition and copied composition
Wisin & Yandel   Perréame                          UMG, Machete, UMP, Wisin, Yandel                                                  Sample that copies composition and copied composition
                                    Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 29 of 33 Page ID
                                                                      #:2744

Wisin & Yandel   Piden Perreo                      SONY, Wisin, Yandel, Luny Tunes                                Sample that copies composition and copied composition
Wisin & Yandel   Pidiendo Calor                    UMG, Machete, UMP, Wisin                                       Sample that copies composition and copied composition
Wisin & Yandel   Por Qué Me Peleas                 SONY, Wisin, Yandel, Luny Tunes                                Sample that copies composition and copied composition
Wisin & Yandel   Prende                            UMG, Machete, UMP, Wisin, O'Neill, Chris Jedi                  Sample that copies composition and copied composition
Wisin & Yandel   Presión                           UMG, Machete, Warner, SMP, UMP, Wisin, Yandel                  Sample that copies composition and copied composition
Wisin & Yandel   Quiero Hacerte el Amor            UMG, Machete, UMP, Kobalt, Wisin, Urba                         Sample that copies composition and copied composition
Wisin & Yandel   Quiero Verte Bailar               SONY, Wisin, Yandel, DJ Blass                                  Sample that copies composition and copied composition
Wisin & Yandel   Rakata                            UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                   Sample that copies composition and copied composition
Wisin & Yandel   Recuerdo                          SONY, SonyATV, SMP, UMP, Wisin, Yandel, Tainy, Justin Quiles   Copied Composition
Wisin & Yandel   Reggae Rockeao                    SONY, Wisin, Yandel, Luny Tunes                                Copied Composition
Wisin & Yandel   Reggaetón en lo Oscuro            SONY, SonyATV, SMP, Warner, Kobalt, Wisin, Yandel, DJ Blass    Sample that copies composition and copied composition
Wisin & Yandel   Salgo Filoteao                    SONY, Wisin, Yandel, Luny Tunes                                Sample that copies composition and copied composition
Wisin & Yandel   Sandungueo                        UMG, Machete, UMP, SMP, SonyATV, Wisin, Yandel                 Sample that copies composition and copied composition
Wisin & Yandel   Se Acabó                          UMG, Machete, UMP, Wisin, Yandel, Tainy                        Sample that copies composition and copied composition
Wisin & Yandel   Se desvelan                       SONY, SMP, Wisin, Yandel                                       Copied Composition
Wisin & Yandel   Se Viste                          UMG, Machete, UMP, Wisin, Yandel                               Sample that copies composition and copied composition
Wisin & Yandel   Sedúceme                          SONY, Wisin, Yandel, Luny Tunes                                Sample that copies composition and copied composition
Wisin & Yandel   Sensación                         UMG, Machete, UMP, Wisin, Yandel, Tainy, Luny Tunes            Sample that copies composition and copied composition
Wisin & Yandel   Sensual Te Ves                    SONY, SonyATV, SMP, Wisin, Yandel, DJ Blass                    Copied Composition
Wisin & Yandel   Sigan Bailando                    UMG, Machete, UMP, Wisin, Yandel                               Sample that copies composition and copied composition
Wisin & Yandel   Sin El                            UMG, Machete, UMP, Wisin, Yandel                               Sample that copies composition and copied composition
Wisin & Yandel   Sólo Una Noche                    UMG, Machete, UMP, Wisin, Yandel                               Sample that copies composition and copied composition
Wisin & Yandel   Soy De La Calle"                  UMG, Machete, UMP, Warner, Wisin, Yandel                       Sample that copies composition and copied composition
Wisin & Yandel   Suavecito Despacio                UMG, UMP, Wisin, Yandel                                        Sample that copies composition and copied composition
Wisin & Yandel   Tabla                             UMG, Machete, UMP, Wisin, Yandel, Tainy                        Sample that copies composition and copied composition
Wisin & Yandel   Tarzan                            SONY, Wisin, Yandel, DJ Blass                                  Copied Composition
Wisin & Yandel   Te Dije Que Iba a Pasar           SONY, SonyATV, SMP, Wisin, Yandel, Los Legendarios             Sample that copies composition and copied composition
Wisin & Yandel   Te Hice Mujer                     UMG, Machete, SonyATV, SMP, UMP, Wisin, Yandel, Tainy          Copied Composition
Wisin & Yandel   Te Noto Tensa                     UMP, Wisin, Yandel                                             Sample that copies composition and copied composition
Wisin & Yandel   Te Puso A Bellaquiar              SMP, Wisin, Yandel                                             Sample that copies composition and copied composition
Wisin & Yandel   Te Siento                         UMG, Machete, UMP, Wisin                                       Copied Composition
Wisin & Yandel   TIENE QUE PASAR                   UMG, Machete, Wisin, Yandel, Tainy                             Copied Composition
Wisin & Yandel   Títere                            UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                   Sample that copies composition and copied composition
Wisin & Yandel   Todas Quieren Ser La Mas Bellas   SONY, Wisin, Yandel                                            Copied Composition
Wisin & Yandel   Toma                              UMG, Machete, Wisin, Yandel                                    Sample that copies composition and copied composition
Wisin & Yandel   Toma Perreo                       SONY, Wisin, Yandel                                            Sample that copies composition and copied composition
Wisin & Yandel   Tortura                           UMG, Machete, UMP, Wisin, Yandel                               Sample that copies composition and copied composition
Wisin & Yandel   Te Dije Que Iba a Pasar           SONY, SonyATV, SMP, Wisin, Yandel, Los Legendarios             Sample that copies composition and copied composition
Wisin & Yandel   Tu Cuerpo Me Llama                UMG, Machete, UMP, Wisin, Yandel, Tainy                        Sample that copies composition and copied composition
Wisin & Yandel   Tú Sabes                          SONY, Wisin, Yandel, DJ Blass                                  Sample that copies composition and copied composition
Wisin & Yandel   Tú Tienes                         SONY, Wisin, Yandel, Los Legendarios                           Sample that copies composition and copied composition
Wisin & Yandel   Tumbao (                          UMG, Machete, UMP, SonyATV, SMP, Wisin, Yandel, De La Ghetto   Copied Composition
Wisin & Yandel   Un Beso                           UMG, Machete, UMP, Wisin, Yandel, O'Neill, Chris Jedai         Copied Composition
Wisin & Yandel   Uy Uy Uy                          UMG, Machete, UMP, Wisin, Yandel, Tainy                        Copied Composition
Wisin & Yandel   Vengo Acabando                    UMG, Machete, SMP, UMP, Wisin, Yandel, Tainy, DJ Nelson        Sample that copies composition and copied composition
Wisin & Yandel   Veo Veo                           SONY, SonyATV, SMP, Warner, Kobalt, Wisin, Yandel              Sample that copies composition and copied composition
Wisin & Yandel   Vicio de Ti                       UMG, Machete, UMP, Wisin, Yandel                               Sample that copies composition and copied composition
Wisin & Yandel   Vivir En Esta Tierra              SONY, Wisin, Yandel,                                           Copied Composition
Wisin & Yandel   Ya Me Voy                         UMG, Machete, UMP, Wisin, Yandel, Tainy, Urba                  Sample that copies composition and copied composition
Wisin & Yandel   Ya Veo                            Wisin, Yandel                                                  Copied Composition
Wisin & Yandel   Yo Quiero                         UMG, Machete, UMP, Wisin, Yandel, Luny Tunes                   Sample that copies composition and copied composition
Wisin & Yandel   Yo Te Quiero                      UMG, UMP, Wisin, Yandel                                        Sample that copies composition and copied composition

Wolfine          Amor De Mentiras                  WARNER, Warner, UMP, Wolfine                                   Sample that copies composition and copied composition
Wolfine          Bella                             WARNER, Warner, UMP, Wolfine                                   Copied Composition
Wolfine          Cerquita                          WARNER, Wolfine                                                Copied Composition
                            Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 30 of 33 Page ID
                                                              #:2745

Wolfine   El flete                                WARNER, Wolfine                                                                              Copied Composition
Wolfine   El plan                                 WARNER, Wolfine                                                                              Copied Composition
Wolfine   Julieta                                 WARNER, UMP, Peermusic, Warner, Wolfine                                                      Sample that copies composition and copied composition

Wolfine   Julieta Remix, Wolfine Ft. Ñengo Flow   WARNER, Warner, Wolfine, Nengo Flow                                                          Sample that copies composition and copied composition
Wolfine   Te Fallé                                WARNER, Wolfine                                                                              Copied Composition

Yandel    Actua                                   SONY, SonyATV, Kobalt, SMP, Yandel                                                           Sample that copies composition and copied composition
Yandel    Bella, Bella                            SONY, SonyATV, SMP, Yandel, Tainy                                                            Sample that copies composition and copied composition
Yandel    Buscame                                 SONY, Luny Tunes, Yandel                                                                     Sample that copies composition and copied composition
Yandel    Calculadora                             SONY, UMP, Kobalt, SonyATV, SMP, Yandel, Tainy                                               Copied Composition

Yandel    Calentón                                SONY, UMP, SonyATV, SMP, Yandel, Dímelo Flow, Sharo Towers, Daddy Yankee, Hi Music Hi Flow   Copied Composition
Yandel    Celda                                   SONY, Yandel, Luny Tunes, Manuel Turizo                                                      Sample that copies composition and copied composition
Yandel    Chu Chin                                UMG, UMP, Kobalt, Yandel, Urba                                                               Sample that copies composition and copied composition
Yandel    Como Antes                              SONY, SonyATV, SMP, Warner, Yandel, Wisin, Tainy                                             Sample that copies composition and copied composition
Yandel    Concierto Privado                       SONY, SonyATV, Kobalt, SMP, Yandel, Pedro Capo, Gaby Music                                   Copied Composition
Yandel    Coraje                                  SONY, SonyATV, Kobalt, SMP, Yandel                                                           Copied Composition
Yandel    Cuando Se Da                            SONY, SonyATV, Warner, SMP, Yandel, Tainy, Jhay Cortez                                       Copied Composition
Yandel    Déjate Amar                             SONY, SonyATV, SMP, Yandel, Tainy                                                            Sample that copies composition and copied composition
Yandel    Déjate amar [Remix]                     SONY, SonyATV, SMP, Yandel, Tainy                                                            Sample that copies composition and copied composition
Yandel    Déjame Explorar                         SONY, SonyATV, SMP, Yandel, DJ Luian                                                         Sample that copies composition and copied composition
                                                                                                                                               Sample that copies composition and copied composition and
Yandel    Dembow (Remix)                          SONY, Machete, Yandel, Luny Tunes                                                            interpolates Dem Bow
Yandel    Dembow 2020                             SONY, SMP, SonyATV, Warner, Yandel, Nesty, Rauw Alejandro, Eric Duars                        Copied Composition and interpolates Dem Bow
Yandel    Despacio                                SONY, Rimas, Yandel, Tainy, Farruko                                                          Copied Composition
Yandel    Diablo En Mujer                         SONY, SonyATV, Kobalt, SMP, Yandel, DJ Luian, Mambo Kingz, Natti Natasha, Myke Towers        Copied Composition
Yandel    Dime                                    SONY, SonyATV, SMP, Yandel                                                                   Copied Composition
Yandel    Dónde Está Mi Gata                      SONY, Machete, Yandel                                                                        Sample that copies composition and copied composition
Yandel    Duro Hasta Abajo                        SONY, SonyATV, SMP, Yandel, Tainy                                                            Sample that copies composition and copied composition
Yandel    El Gusto                                SONY, SonyATV, UMP, SMP, Yandel, Dalex, Luny                                                 Copied Composition
Yandel    Ella Entendió                           SONY, SonyATV, SMP, Yandel, Farruko, Sharo Towers                                            Sample that copies composition and copied composition
                                                  UMG, UMP, Kobalt, SonyATV, SMP, Yandel, Rayito, Andy Clay, Farruko, Wisin, Manuel Turizo,
Yandel    En Cero                                 Sebastian Yatra                                                                              Sample that copies composition and copied composition
Yandel    En Cero                                 UMG, UMP, Kobalt, SonyATV, SMP, Yandel, Rayito, Andy Clay, Manuel Turizo, Sebastian Yatra    Sample that copies composition and copied composition
Yandel    En La Disco Me Conoció                  SONY, Machete, Yandel                                                                        Sample that copies composition and copied composition
Yandel    En La Oscuridad                         SONY, SonyATV, SMP, Yandel, Tainy                                                            Copied Composition
Yandel    Enamorado De Ti                         SONY, SonyATV, SMP, Yandel, Tainy,                                                           Copied Composition
Yandel    Encantadora                             SONY, SonyATV, SMP, Kobalt, Yandel, Farruko                                                  Sample that copies composition and copied composition
Yandel    Encantadora (Remix)                     SONY, SonyATV, SMP, Kobalt, Yandel, Haze, Farruko, Zion, Lennox                              Sample that copies composition and copied composition
Yandel    Espionaje                               SONY, SonyATV, Kobalt, SMP, UMP, Yandel                                                      Sample that copies composition and copied composition
Yandel    Eva                                     SONY, SonyATV, Kobalt, UMP, SMP, Yandel, Jay Wheeler, DJ Luian, Mambo Kingz                  Sample that copies composition and copied composition
Yandel    Fallaron                                SONY, SonyATV, SMP, Yandel, Tainy                                                            Sample that copies composition and copied composition
Yandel    Fantasía (Kiss Kiss)                    SONY, SonyATV, SMP, Warner, Yandel                                                           Copied Composition
Yandel    Hasta Abajo Le Doy                      SONY, SonyATV, Kobalt, SMP, Warner, UMP, Yandel, DJ Luian, Mambo Kingz, Nio Garcia           Sample that copies composition and copied composition
Yandel    Ilegal                                  SONY, SonyATV, SMP, Yandel                                                                   Sample that copies composition and copied composition
Yandel    Imaginar                                SONY, SonyATV, SMP, UMP, Warner, Yandel                                                      Sample that copies composition and copied composition
Yandel    La Calle Me Llama                       SONY, SonyATV, SMP, Yandel, DJ Luian, Farruko                                                Sample that copies composition and copied composition
Yandel    La Calle Me Lo Pidió                    SONY, Machete, Yandel, Luny Tunes                                                            Copied Composition
Yandel    Listo Para El Cantazo                   SONY, Machete, Yandel, Luny Tunes                                                            Sample that copies composition and copied composition
Yandel    Llégale                                 SONY, SonyATV, Warner, SMP, Yandel, Jumbo, Zion, Lennox                                      Copied Composition
Yandel    Loba                                    SONY, SonyATV, SMP, Yandel, Tainy, Justin Quiles                                             Sample that copies composition and copied composition
Yandel    Mami Yo Quisiera Quedarme               SONY, Machete, Yandel, Luny Tunes                                                            Copied Composition
Yandel    Mano al Aire                            SONY, SonyATV, SMP, Yandel, Tainy                                                            Copied Composition and interpolates Dem Bow
Yandel    Mi Combo                                SONY, SonyATV, SMP, Yandel, Nely, Tainy                                                      Sample that copies composition and copied composition
Yandel    Mi Religión                             SONY, SonyATV, Warner, SMP, Yandel, Jhay Cortez                                              Copied Composition
                                  Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 31 of 33 Page ID
                                                                    #:2746

Yandel          Mia Mia                         SONY, SonyATV, Kobalt, Warner, SMP, Yandel                                            Copied Composition
Yandel          Muy Personal                    SONY, SonyATV, Kobalt, Warner, SMP, Yandel, Sky, J Balvin                             Copied Composition
Yandel          No Pare                         SONY, SMP, Yandel, Tainy                                                              Copied Composition
Yandel          No Perdamos Tiempo              SONY, SonyATV, SMP, Peermusic, Yandel, Tainy                                          Sample that copies composition and copied composition
Yandel          No Quiero Amores                SONY, SonyATV, Kobalt, SMP, UMP, Yandel, Tainy, Ozuna, Hi Music Hi Flow               Copied Composition
Yandel          No Sales De Mi Mente            SONY, SonyATV, SMP, Yandel, Saga WhiteBlack, Nick Rivera                              Copied Composition
Yandel          No Te Soltaré                   SONY, SonyATV, Kobalt, SMP, Warner, Yandel, Saga WhiteBlack, Nicky Jam                Copied Composition
Yandel          No Te Vayas                     SONY, SonyATV, UMP, SMP, Yandel, J Balvin, Luny Tunes                                 Sample that copies composition and copied composition
Yandel          Nunca Me Olvides (Remix)        SONY, SonyATV, SMP, Warner, Yandel                                                    Sample that copies composition and copied composition
Yandel          Nunca Me Olvides                SONY, SonyATV, SMP, Warner, Yandel                                                    Sample that copies composition and copied composition
Yandel          Nunca Y Pico                    SONY, SonyATV, SMP, Rimas, UMP, Yandel, Maluma                                        Copied Composition
Yandel          Para Irnos (A Fuego)            SONY, SonyATV, SMP, Warner, Yandel, Tainy                                             Sample that copies composition and copied composition
Yandel          Perreito Lite                   SONY, Yandel, Gaby Music                                                              Sample that copies composition and copied composition
Yandel          Perreo                          SONY, Machete, Yandel                                                                 Sample that copies composition and copied composition
Yandel          Persígueme                      SONY, SonyATV, SMP, Yandel, Tainy                                                     Sample that copies composition and copied composition
Yandel          Plakito                         SONY, SonyATV, SMP, UMP, Yandel                                                       Sample that copies composition and copied composition
Yandel          Plakito (Remix)                 SONY, SonyATV, SMP, UMP, Yandel, Farruko                                              Sample that copies composition and copied composition
Yandel          Ponme al Dia                    SONY, SonyATV, PeerMusic, SMP, Yandel, Jhay Cortez                                    Copied Composition
Yandel          Por Mi Reggae Muero 2020        SONY, UMP, Kobalt, Yandel, DJ Luian, Mambo Kingz, DJ Blass, Anuel AA                  Copied Composition
Yandel          Que No Acabe                    SONY, SonyATV, Kobalt, SMP, Yandel, Tainy                                             Copied Composition
Yandel          Que Vas Hacer                   SONY, SonyATV, PeerMusic, SMP, Yandel, Maluma                                         Copied Composition
Yandel          Riversa                         SONY, SonyATV, SMP, Yandel, Luny Tunes, De La Ghetto                                  Sample that copies composition and copied composition
Yandel          Say Ho                          SONY, Machete, Yandel, Luny Tunes                                                     Copied Composition
Yandel          Se Me Olvidó                    SONY, SonyATV, Kobalt, SMP, Yandel, Zion, Lennox                                      Copied Composition
Yandel          Se Viste y Se Maquilla          SONY, SonyATV, Kobalt, SMP, UMP, Yandel, DJ Luian, Mambo Kingz, Ozuna                 Copied Composition
Yandel          Si Se Da                        SONY, SonyATV, Warner, SMP, Yandel, Haze, Chencho Corleone, Jhay Cortez               Sample that copies composition and copied composition
Yandel          Sola Solita                     SONY, SonyATV, Kobalt, SMP, Yandel, Luny Tunes                                        Copied Composition
Yandel          Sólo Mía ft. Maluma             SONY, SonyATV, Kobalt, SMP, Yandel, RudeBoyz, Maluma, MadMusick                       Sample that copies composition and copied composition
Yandel          Subconsciente                   SONY, UMP, Yandel, Luny Tunes                                                         Sample that copies composition and copied composition
Yandel          Sumba Yandel                    SONY, UMP, SonyATV, SMP, Warner, Yandel                                               Sample that copies composition and copied composition
Yandel          Te Amaré                        SONY, SonyATV, Kobalt, SMP, Yandel                                                    Copied Composition
Yandel          Te Suelto el Pelo               SONY, Machete, Yandel                                                                 Sample that copies composition and copied composition
Yandel          Tequila                         SONY, UMP, SMP, Yandel                                                                Copied Composition
Yandel          Todo Lo Que Quiero              SONY, SonyATV, Warner, SMP, Yandel, Becky G, Jhay Cortez                              Copied Composition
Yandel          Trepando Paredes                SONY, SonyATV, SMP, Yandel                                                            Sample that copies composition and copied composition
Yandel          Tu Cura                         SONY, SonyATV, SMP, Yandel, Luny Tunes                                                Copied Composition
Yandel          Un Viaje                        UMG, Yandel, Urba                                                                     Copied Composition
Yandel          Una Señal                       SONY, SonyATV, PeerMusic, SMP, Yandel, Tainy                                          Sample that copies composition and copied composition
Yandel          Ya Yo Me Cansé                  SONY, Machete, Yandel, Luny Tunes                                                     Copied Composition

Zion & Lennox   A Forgotten Spot (Olvidado)     WARNER, Zion, Lennox, Ivy Queen, De La Ghetto                                         Copied Composition
Zion & Lennox   Aguántate                       SONY, Zion, Lennox                                                                    Copied Composition
Zion & Lennox   Ahora te sueltas                Empire, SonyATV, SMP, UMP, Zion, Lennox                                               Copied Composition
Zion & Lennox   Amor Genuino                    Empire, Zion, Lennox                                                                  Copied Composition
Zion & Lennox   Aquí Estoy Yo                   UMG, SMP, UMP, Zion, Lennox                                                           Copied Composition
Zion & Lennox   Bailando Tu Y Yo                WARNER, Kobalt, SMP, Warner, Zion, Lennox, Urba                                       Copied Composition
Zion & Lennox   Bandida                         Empire, Zion, Lennox, Luny Tunes                                                      Copied Composition
Zion & Lennox   Boom Boom                       Zion, Lennox, Mambo Kingz                                                             Copied Composition
Zion & Lennox   Cierra Los Ojos                 WARNER, SMP, SonyATV, Peermusic, Zion, Lennox, Daddy Yankee, Gaby Music, Chris Jedi   Copied Composition
Zion & Lennox   Cinturita                       WARNER, Warner, Zion, Lennox, Lenny Tavarez, Slow Mike, Dimelo Flow< Darell           Copied Composition
Zion & Lennox   Como Curar                      SONY, Pina, SonyATV, Warner, Zion, Lennox                                             Copied Composition
Zion & Lennox   Dame Tu Amor                    WARNER, SonyATV, SMP, Warner, Zion, Lennox, Gaby Music                                Copied Composition
Zion & Lennox   Descontrólate                   Empire, Zion, Lennox, DJ Blass                                                        Copied Composition
Zion & Lennox   Destino                         WARNER, Zion, Lennox, De La Ghetto, Slow Mike, Justin Quiles, Dimelo Flow             Copied Composition
Zion & Lennox   dime cuanto tengo que esperar   SonyATV, SMP, Zion, Lennox                                                            Copied Composition
Zion & Lennox   Diosa                           WARNER, Zion, Lennox                                                                  Copied Composition
                                     Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 32 of 33 Page ID
                                                                       #:2747

Zion & Lennox   Doncella (Motivando la Yal)    Empire, Zion, Lennox, Rauw Alejandro                                                           Copied Composition
Zion & Lennox   Don't Stop                     Empire, Zion, Lennox                                                                           Copied Composition
Zion & Lennox   El Cantante                    Empire, Zion, Lennox, DJ Nelson, Tego Calderon                                                 Copied Composition
Zion & Lennox   El Tiempo»                     WARNER, UMP, Warner, Zion, Lennox, O'Neill                                                     Copied Composition
Zion & Lennox   Embriágame                     WARNER, Kobalt, SMP, Warner, Zion, Lennox, Chris Jedi, Gaby Music                              Copied Composition
Zion & Lennox   Embriágame Remix               WARNER, Kobalt, SMP, Warner, Zion, Lennox, Chris Jedi, Gaby Music,                             Copied Composition
Zion & Lennox   Enamórate                      Empire, Zion, Lennox, Luny Tunes                                                               Copied Composition
Zion & Lennox   Enchuletiao                    WARNER, Zion, Lennox                                                                           Copied Composition
Zion & Lennox   Entendemos                     Warner, UMP, SMP, SonyATV, Zion, Lennox                                                        Copied Composition
Zion & Lennox   Eres Bonita                    SONY, Rimas, Zion, Lennox                                                                      Copied Composition
Zion & Lennox   es mejor olvidarlo             SONY, SonyATV, SMP, Luny Tunes, Zion, Lennox                                                   Copied Composition
Zion & Lennox   Estas tentandome               Empire, UMP, Zion, Lennox, Nely                                                                Copied Composition
Zion & Lennox   Estrella                       WARNER, Kobalt, SMP, Zion, Lennox                                                              Copied Composition
Zion & Lennox   Fantasma Remix                 Warner, SMP, SonyATV, Zion, Lennox                                                             Copied Composition
Zion & Lennox   Ganas de Ti                    Warner, UMP, SMP, SonyATV, Zion, Lennox                                                        Copied Composition
Zion & Lennox   Guaya, Guaya Rompe Cintura     Empire, Zion, Lennox, De La Ghetto                                                             Copied Composition
Zion & Lennox   Guayo                          WARNER, Kobalt, SMP, SonyATV, Zion, Lennox, Anuel AA, Haze                                     Copied Composition
Zion & Lennox   Hace Tiempo                    Empire, Warner, SMP, UMP, Zion, Lennox                                                         Copied Composition
Zion & Lennox   Hasta Abajo                    Empire, SonyATV, SMP, Zion, Lennox, DJ Blass                                                   Copied Composition
Zion & Lennox   Hay Algo En Ti                 SonyATV, SMP, Zion, Lennox, Luny Tunes                                                         Copied Composition
Zion & Lennox   Hipnosis                       WARNER, Warner, Zion, Lennox, Tany, Jhay Cortez                                                Copied Composition
Zion & Lennox   Hola                           WARNER, SMP, SonyATV, Warner, Zion, Lennox, Jhay Cortez, Haze                                  Copied Composition
Zion & Lennox   Hoy lo Siento                  Pina, SMP, Warner, SonyATV, Zion, Lennox                                                       Copied Composition
Zion & Lennox   Intro | El Sistema             WARNER, Zion, Lennox                                                                           Sample that copies composition and copied composition
Zion & Lennox   La Botella                     SMP, Warner, SonyATV, Zion, Lennox, MadMusick                                                  Copied Composition
Zion & Lennox   La Cita                        SONY, Pina, SonyATV, SMP, Zion, Lennox, Jowell, Randy                                          Copied Composition
Zion & Lennox   La Niña                        WARNER, Zion, Lennox, Chencho Corleone, Haze, Plan B                                           Copied Composition
Zion & Lennox   La Noche Es Larga              Warner, Zion, Lennox                                                                           Copied Composition
Zion & Lennox   La Player (Bandolera)          WARNER, SonyATV, SMP, Warner, Zion, Lennox, Gaby Music, Tainy, Haze                            Copied Composition
Zion & Lennox   Loco                           WARNER, SMP, Zion, Lennox                                                                      Copied Composition
Zion & Lennox   Me Arrepiento                  Warner, Zion, Lennox                                                                           Copied Composition
Zion & Lennox   Me Pones en Tension            SonyATV, SMP, Zion, Lennox, Luny Tunes                                                         Copied Composition
Zion & Lennox   Mi Tesoro                      WARNER, Kobalt, SMP, Warner, Zion, Lennox, Nicky Jam, Gaby Music, Chris Jedi                   Copied Composition
Zion & Lennox   Mírame                         Empire, SonyATV, SMP, UMP, Zion, Lennox                                                        Copied Composition
Zion & Lennox   Momentos                       Pina, UMP, SMP, Warner, SonyATV, Zion, Lennox, Arcangel, De La Ghetto                          Copied Composition
Zion & Lennox   Motivando la Yal (Intro)       Empire, Zion, Lennox                                                                           Copied Composition
Zion & Lennox   Mujer Satisfecha               WARNER, SonyATV, SMP, UMP, Zion, Lennox, Dimelo Flow                                           Copied Composition
Zion & Lennox   Mujeriego                      Pina, Zion, Lennox                                                                             Copied Composition
Zion & Lennox   No Amarres Fuego               SonyATV, SMP, UMP, Zion, Lennox                                                                Copied Composition
Zion & Lennox   No Dejes Que Se Muera          SONY, SMP, SonyATV, UMP, Zion, Lennox                                                          Copied Composition
Zion & Lennox   No Mas                         WARNER, Zion, Lennox, Slow Mike, Justin Quiles, Dimelo Flow                                    Copied Composition
Zion & Lennox   No Me Compares                 Empire, Zion, Lennox                                                                           Copied Composition

Zion & Lennox   No Me Llama                    WARNER, SonyATV, SMP, Zion, Lennox, Myke Towers, Dimelo Flow, Slow Mike, Justin Quiles, KEITYN Copied Composition
Zion & Lennox   No Pares                       Empire, SonyATV, SMP, Zion, Lennox, Luny Tunes                                                 Copied Composition
Zion & Lennox   No Pierdas Tiempo              SonyATV, SMP, UMP, Zion, Lennox                                                                Copied Composition
Zion & Lennox   Nuestro Amor                   WARNER, UMP, SMP, Zion, Lennox, Maluma, Urba                                                   Copied Composition
Zion & Lennox   Otra Vez                       WARNER, UMP, SMP, Warner, Zion, Lennox, J Balvin                                               Copied Composition
Zion & Lennox   Perdóname                      Empire, SonyATV, SMP, UMP                                                                      Copied Composition
Zion & Lennox   Perla                          WARNER, Zion, Lennox, Justin Quiles, Dimelo Flow, Slow Mike                                    Copied Composition
Zion & Lennox   Pierdo La Cabeza               SONY, SMP, SonyATV, Kobalt, Warner, Zion, Lennox, Urba                                         Copied Composition
Zion & Lennox   Prende en Fuego                WARNER, SonyATV, SMP, Warner, Zion, Lennox, Gaby Music, Jumbo                                  Copied Composition
Zion & Lennox   Prepárte                       Empire, Zion, Lennox, Luny Tunes                                                               Copied Composition
Zion & Lennox   Que Bien Se Siente             WARNER, SMP, Warner, Zion, Lennox, Farruko, Jumbo                                              Copied Composition
Zion & Lennox   Qué Vas A Hacer?               SONY, Rimas, UMP, Zion, Lennox                                                                 Copied Composition
Zion & Lennox   Quieren Acción                 Pina, Zion, Lennox                                                                             Copied Composition
                                 Case 2:21-cv-02840-AB-AFM Document 305-1 Filed 04/21/23 Page 33 of 33 Page ID
                                                                   #:2748

Zion & Lennox   Quiero Tenerte                    Empire, SonyATV, SMP, Zion, Lennox                                                       Copied Composition
Zion & Lennox   Reggae Reggae                     WARNER, Kobalt, SMP, SonyATV, Warner, Zion, Lennox                                       Copied Composition
Zion & Lennox   Se Puso Feo                       WARNER, SonyATV, SMP, Warner, Kobalt, Zion, Lennox, Urba                                 Copied Composition
Zion & Lennox   Sentir Ft Guelo Star              Zion, Lennox                                                                             Copied Composition
Zion & Lennox   Sere Yo                           SMP, Zion, Lennox                                                                        Copied Composition
Zion & Lennox   Sistema                           WARNER, UMP, SMP, SonyATV, Warner, Zion, Lennox, Justin Quiles, Dimelo Flow, Slow Mike   Copied Composition
Zion & Lennox   Solo Tú                           SonyATV, SMP, UMP, Zion, Lennox                                                          Copied Composition
Zion & Lennox   Soltera                           SONY, Pina, SonyATV, SMP, Zion, Lennox, J Balvin                                         Copied Composition
Zion & Lennox   Te Hago el amor                   UMG, SMP, UMP, Zion, Lennox                                                              Copied Composition
Zion & Lennox   Te Mueves                         WARNER, Kobalt, SMP, SonyATV, Zion, Lennox, Natti Natasha, Tainy                         Copied Composition
Zion & Lennox   Tengo Que Decir                   UMG, Machete, Zion, Lennox                                                               Copied Composition
Zion & Lennox   Trayectoria                       Cinq, Zion, Lennox                                                                       Copied Composition
Zion & Lennox   Tu Cuerpo Quiero                  SONY, SMP, SonyATV, Zion, Lennox                                                         Copied Composition
Zion & Lennox   Tu Movimiento Me Excita           SONY, Zion, Lennox                                                                       Copied Composition
Zion & Lennox   Tuyo y Mio                        WARNER, Kobalt, SMP, Warner, Zion, Lennox, DJ Nelson                                     Copied Composition
Zion & Lennox   Una Cita                          UMG, Machete, Zion, Lennox                                                               Copied Composition
Zion & Lennox   Una Nota                          WARNER, SonyATV, SMP, UMP, Zion, Lennox                                                  Copied Composition
Zion & Lennox   Vamos En Serio Ft Yaga & Mackie   SMP, Zion, Lennox                                                                        Copied Composition
Zion & Lennox   Vivimos Facturando                Zion, Lennox, Cosculluela                                                                Copied Composition
Zion & Lennox   Yo Soy Tu Hombre                  SONY, Zion, Lennox                                                                       Copied Composition
Zion & Lennox   Yo Tengo Una Gata                 SMP, Kobalt, Zion, Lennox, Daddy Yankee, Plan B, De La Ghetto                            Copied Composition
Zion & Lennox   Yo Voy                            Empire, Zion, Lennox, Luny Tunes, Daddy Yankee                                           Copied Composition
